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    EXHIBIT A
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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO


CLEVELAND BROWNS FOOTBALL
COMPANY LLC,
76 Lou Groza Boulevard
Berea, Ohio 44017

CLEVELAND BROWNS STADIUM
COMPANY LLC,                                    Case No. 1:24-CV-01857-DAR
76 Lou Groza Boulevard
Berea, Ohio 44017                               Judge David A. Ruiz

HASLAM SPORTS GROUP, LLC,
76 Lou Groza Boulevard
Berea, Ohio 44017

JHAC, LLC,
76 Lou Groza Boulevard                          SECOND AMENDED COMPLAINT
Berea, Ohio 44017

                      Plaintiffs,
vs.

THE CITY OF CLEVELAND,
c/o Mark D. Griffin, Law Director
601 Lakeside Avenue, Room 227
Cleveland, Ohio 44114

MARK D. GRIFFIN, in his official capacity,
601 Lakeside Avenue, Room 227
Cleveland, Ohio 44114

                      Defendants.

Please also serve:

OHIO ATTORNEY GENERAL,
c/o Dave Yost
30 East Broad Street, 14th Floor
Columbus, Ohio 43215
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                                        INTRODUCTION

       1.      The Cleveland Browns and their owner bring this action to secure a thriving future

for the team and its place in the City it calls home. In February 2029, less than four years from

now, the Browns’ thirty-year lease of Huntington Bank Field from the City will expire. The

Browns’ owner, the Haslam family, has been working for years to identify the best long-term

stadium for the team after their lease ends—one that will be worthy of the franchise and its fans

and also fiscally sensible for the City, the County, and the State.

       2.      At the request of the City and its then-Mayor Frank Jackson, the Browns spent four

years and several million dollars to produce a comprehensive economic development plan for the

City’s lakefront, long divided from the rest of downtown—one that would support the massive

renovation that Huntington Bank Field would need to serve as the Browns’ home after 2029. In

2021, the Browns unveiled that plan: a $450 million proposal to connect the lakefront to downtown

by land bridge over the Shoreway and create a new development of restaurants, shops, and offices

easily accessed by foot and car from Cleveland’s central business district. Again with the City and

Mayor’s encouragement, the Browns then spent years working with architects, engineers, and

public planners to create a detailed plan for a renovation of the stadium and related infrastructure

improvements to be completed by 2029.

       3.      But in the past four years, the City has made little effort to partner with the Browns

to realize these ambitious development plans. Despite years of discussions, the City still does not

have an actionable plan for connecting the lakefront to downtown on any timeline, let alone one

that can be executed by 2029. The City nevertheless clings to the idea of a lakefront stadium

renovation. The City thus proposes to pour its scarce dollars into refurbishing a stadium that is

already thirty years old, with no realistic prospect that the renovation will create either sustainable

economic development on the lakefront or a sustainable home for the Browns. This short-sighted


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proposal would cost its taxpayers hundreds of millions of dollars and leave them with nothing

more than they have now—a deteriorating open-air stadium that sits idle most of the year.

        4.        After years of study, the Haslam family has proposed a far superior solution: a

world-class domed stadium, the first in Ohio, anchoring an entertainment district at a site in Brook

Park less than a mile from the City line and next to Hopkins International Airport—all at zero cost

to the City. Because it will be covered, the Brook Park stadium could be used year-round, no

matter the weather, not just for Browns games, but also for other major sporting events, concerts,

and shows, attracting events and visitors that now bypass the City. And the City would be

unburdened of the expenses of the lakefront stadium—expenses it has struggled to fund and that

exceed the revenue generated by Browns’ home games there.

        5.        The Haslams’ proposal is a fiscally sound solution for the City that will keep the

Browns in the heart of the greater metropolitan area for at least another fifty years. Instead of

recognizing the benefits of the Haslams’ proposal, the City seeks to hold the Browns hostage to its

own failure of vision. Instead of a new domed facility that can drive significant economic activity

year-round, the City insists on sticking with an aging, uncovered stadium that is used only a dozen

or so times annually. Instead of a sustainable new home for the Browns, transformational for

Cleveland and Northeast Ohio, the City insists on a wasteful and expedient renovation at City

taxpayer expense. The City’s myopic approach harms not only the Browns, but also the County

and the City’s own residents. The City’s plan will cost Cleveland far more, and provide it far less.

Whatever interests the City is seeking to serve, they are not those of its taxpayers, its NFL club, or

its loyal fans.

        6.        To justify its ill-advised opposition to a stadium in Brook Park, the City invokes

the so-called “Modell Law”—named after Art Modell, the prior Browns owner who tried to take




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the team to Baltimore. But the Haslams are nothing like Art Modell, and the Modell Law has no

application here.    The Haslams—all three generations of them—are unwavering in their

commitment to Cleveland and the Browns. Faced with the City’s failure to make progress on a

plan to fund and execute the infrastructure improvements and other development initiatives

necessary to make the lakefront a plausible long-term home for the Browns, the Haslams have

identified a far better alternative—right here in Cuyahoga County, just over the City limit.

       7.      This is not a flight from Cleveland: it is a recommitment to Cleveland, promising

billions in regional private investment. The City’s invocation of the Modell Law must therefore

be rejected, as a matter of federal constitutional principles, statutory construction, and simple

common sense. The Cleveland Browns and their faithful fans are entitled to a world-class home

right here in the Cleveland area, without undue burden on the taxpayer, and in a forum that befits

the team and contributes to the community. Nothing in the Modell Law can or should operate to

defeat those salutary objectives.


                                           PARTIES

       8.      Cleveland Browns Football Company LLC owns and operates the Cleveland

Browns NFL franchise. It is a Delaware limited liability company with its principal place of

business at 76 Lou Groza Boulevard, Berea, Ohio 44017.

       9.      Cleveland Browns Stadium Company LLC is party to a lease of Huntington Bank

Field from the City of Cleveland. It is a Delaware limited liability company with its principal

place of business at 76 Lou Groza Boulevard, Berea, Ohio 44017.

       10.     JHAC, LLC, owned by the Haslam family, owns Cleveland Browns Football

Company LLC and Cleveland Browns Stadium Company LLC. It is a Delaware limited liability

company with its principal place of business at 76 Lou Groza Blvd, Berea, Ohio 44017.



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        11.      Haslam Sports Group, LLC is the managing member of JHAC, LLC. It is a

Delaware limited liability company with its principal place of business at 76 Lou Groza Blvd,

Berea, Ohio 44017.

        12.      Defendant City of Cleveland is a municipal corporation organized under the laws

of the State of Ohio.

        13.      Mark D. Griffin is the Law Director of the City of Cleveland and is named only in

his official capacity.


                                 JURISDICTION AND VENUE

        14.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and § 1367(a)

because this action presents federal questions arising under the U.S. Constitution and under 42

U.S.C. § 1983.

        15.      This Court has personal jurisdiction over the City because the City is an Ohio

municipal corporation. This Court has personal jurisdiction over Griffin because he is a resident

of Ohio and named in his official capacity as the Law Director of the City.

        16.      This Court has authority to order declaratory and injunctive relief under 28 U.S.C.

§ 2201 and § 2202, 42 U.S.C. § 1983, and Fed. R. Civ. P. 65.

        17.      Venue is proper under 28 U.S.C. § 1391(b)(1) and (2) because the City is located

in this District and Griffin is a resident of Ohio and because a substantial part of the events or

omissions giving rise to the claims occurred in this District.




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                                        BACKGROUND

        A.      Owner Art Modell tries to move the Browns to Baltimore—years before their
                stadium lease expires—and the City sues to enforce the full lease term

        18.     The Cleveland Browns have been a member of the National Football League since

1950. Each NFL team operates as a franchise, subject to the NFL’s rules and oversight. Because

member teams share certain revenues and jointly bear certain costs, their operations are financially

interdependent. NFL rules accordingly require the league’s approval of significant operational

changes by member teams, including a move or significant renovation of a team’s home stadium.

        19.     In 1973, an affiliate of the Cleveland Browns, then owned by Art Modell, entered

into a lease agreement with the City for Municipal Stadium. That lease, and the contemplated

sublease between the affiliate and the Browns, obligated the owners of the Browns to use the

stadium for the team’s regular season home games through the twenty-five-year term of the lease—

that is, until the end of 1998.

        20.     In 1995, however—three years before the lease expired—Modell announced that

he was moving the Browns to Baltimore. Modell (then represented by the same firm that

represents the City in this action) argued that a subsequent agreement between the affiliate and the

Browns relieved the team of its obligation to use the stadium during the lease term. And as Modell

saw it, even if the Browns were still subject to the lease, the City was entitled only to damages for

breach of the agreement.

        21.     The City sued to enforce the lease agreement. It sought not simply an award of

damages for breach of contract, but an order requiring Modell and the Browns to keep their

promise to play in Municipal Stadium for the full lease term. That specific promise, the City

argued, “is what the City bargained for in the Lease.” And “[t]o allow the Browns to repudiate the




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Lease agreement, three years before its expiration, would deny the City the essential benefit of its

bargain.”

       B.      The City, the NFL, and the Browns reach a new lease bargain on a new
               stadium

       22.     In February 1996, the City and the Browns reached a settlement that included the

NFL—a necessary party because its approval is required to move a franchise or create a new one.

       23.     Under the settlement, Modell was permitted to transfer the existing Browns

franchise to Baltimore, but was required to surrender the Browns’ name and records to a new

franchise, to be located in Cleveland. In exchange, the City was required to build, with funding

assistance from the NFL, a new stadium on the site of Municipal Stadium, to be leased to the new

Browns franchise for a thirty-year term.

       24.     That new bargain was memorialized in several interrelated agreements, including a

Stadium Financing Agreement, Lease by Way of Concession (attached as Ex. A), and Franchise

Commitment Agreement (attached as Ex. B).

       25.     The Lease by Way of Concession, dated April 26, 1996 (“Lease”), governed the

lease of the new stadium—today called Huntington Bank Field. The NFL executed the Lease “as

a nominee for the New Owner” of the Browns franchise and committed to assign the Lease to the

new owner, once identified. As a result of that assignment, the new owner would assume “all of

the terms of this Lease and all of the obligations and liabilities of Lessee.” See Ex. A, § 3.

       26.     The Lease provides that its term extends thirty years from “the February 1st prior

to the first season” in which the new Browns franchise participates in the NFL. See Lease, § 6(a),

(b). That season began in the fall of 1999. The Lease term thus ends on February 1, 2029.

       27.     Under the Lease, the City agreed to build a new stadium, subject to the NFL’s

financing commitments. See Ex. A, § 4.



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       28.     The City also agreed to pay for specified “Capital Repairs,” including emergency

capital repairs, during the Lease term. See Ex. A, § 14.

       29.     Under the Lease, the Browns’ owner agreed to pay $250,000 in annual rent and to

pay for routine stadium maintenance and for any stadium alterations or improvements. See Ex. A,

§§ 7, 11.

       30.     The Browns’ owner also agreed that the Browns would play “for not less than thirty

(30) years, all regular season home games” in the new stadium, as well as other games (such as

post-season games) that could be played in the new stadium. The Browns’ owner also agreed that

“during the Term of this Lease,” the Browns would play at least half of pre-season home games in

the new stadium. See Ex. A, § 9(a).

       31.     The Browns’ owner also agreed that, “throughout the Term of this Lease,” it shall

“maintain . . . its rights to play professional football in the City of Cleveland, Ohio,” and “be

obligated to play home games of the Franchise at the New Stadium in Cleveland, Ohio, as provided

in this Lease.” See Ex. A, § 9(b).

       32.     The Lease provisions obligating the Browns to play games in the new stadium

during the Lease term are expressly subject to “the City’s right to specific performance of [those]

obligations.” See Ex. A, § 22(e).

       33.     If the stadium is damaged, or the City fails to fulfill its repair obligations, such that

the Browns are prevented from playing at least half of their regular season home games there, the

Lease provides that the Browns’ owner has “the right to extend the Term of this Lease for one (1)

additional Lease Year.” See Ex. A, § 20(c).

       34.     With that single exception (which has not eventuated), neither party has the right

or obligation to extend or renew the Lease for any period beyond its term.




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       35.     The Lease provides that the Browns “shall, on the expiration of the term hereby

granted, or upon the earlier termination of the Lease, peaceably and quietly leave, surrender or

yield up unto the City the Leased Premises.” See Ex. A, § 28(a).

       C.      To deter a would-be Modell, Ohio passes the “Modell Law”

       36.     In June 1996—after the execution of the parties’ settlement, the Lease, and related

agreements—the Ohio General Assembly enacted R.C. 9.67. Born of outrage over Modell’s flight

to Baltimore—without warning and years before the Browns’ stadium lease with the City

expired—the law seeks to deter an owner tempted to try the same gambit. Known as the Modell

Law, it is a legislative response to the risk that another owner of a professional sports team might

seek to deprive the State or an Ohio city of the benefit of their bargains in supporting a team’s

home facility with taxpayer dollars.

       37.     In its entirety, the Modell Law provides:

       No owner of a professional sports team that uses a tax-supported facility for most
       of its home games and receives financial assistance from the state or a political
       subdivision thereof shall cease playing most of its home games at the facility and
       begin playing most of its home games elsewhere unless the owner either:

               (A) Enters into an agreement with the political subdivision permitting the
               team to play most of its home games elsewhere;

               (B) Gives the political subdivision in which the facility is located not less
               than six months’ advance notice of the owner’s intention to cease playing
               most of its home games at the facility and, during the six months after such
               notice, gives the political subdivision or any individual or group of
               individuals who reside in the area the opportunity to purchase the team.

       38.     The Modell Law—consistent with its nickname, text, and evident purpose—has

never been used to punish owners who act nothing like Modell. The Modell Law has never been

applied to an owner whose team has affirmed its intention to play games as required by its stadium

lease until the expiration of the lease. Nor has the Modell Law ever been applied to an owner who




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has publicly committed to keeping the team in the metropolitan area—and proposed investing well

over a billion dollars to build a new local stadium to uphold that promise.

       D.      The City builds the new stadium and the Browns’ new owner assumes the
               Lease

       39.     The City broke ground on the new stadium in 1997 and completed construction in

1999. Meanwhile, Al Lerner acquired the new Browns franchise in 1998. As required by the

Lease terms, the new Browns franchise assumed the Lease (through its affiliate, Cleveland Browns

Stadium Company LLC).

       E.      The Haslam family acquires the Browns and invests deeply in the team, in
               Cleveland, and in Ohio

       40.     The Haslam family acquired the Browns in 2012. Professional sports are not the

family’s first family business. Jim Haslam founded Pilot Corporation in 1958. His son, Jimmy

Haslam, started at the travel center company as a teenager, pumping gas, and eventually working

his way up to CEO and chairman. He built Pilot into the fifth-largest private company in the

country before selling it to Berkshire Hathaway in 2024. Jimmy and Dee Haslam’s daughter,

Whitney Haslam Johnson, worked at Pilot for twenty years before it was sold. Dee, meanwhile,

has built a successful career as an executive producer and founder of RIVR Media, a production

company that has produced over 3,000 television episodes for twenty-one different networks.

       41.     After buying the Browns, the Haslam family brought its business skills, financial

resources, and civic pride to Northeast Ohio. The Haslams currently own the Browns through the

Haslam Sports Group, headquartered just outside Cleveland, in Berea. Jimmy is the chairman and

Dee is the CEO, and both are managing partners. Whitney is also a managing partner, and her

husband, James Wood “JW” Johnson III, is executive vice president and a partner. The Johnsons

live with their three sons in Cuyahoga County.




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       42.     In his first press conference as a new owner of the Browns, Jimmy Haslam assured

the community that there was “zero chance” his family would “move the team out of Cleveland.”

Within a year of the purchase, the Haslams and the Browns announced a $120 million plan to

improve the stadium by reconfiguring seats to improve fan sightlines, modernizing the exterior,

adding escalators, and upgrading concession offerings. The Haslams agreed to fund upfront the

entirety of the expense—$120 million—to allow the upgrades to be made by 2015. The City

reimbursed just one-quarter of that cost, over fifteen years.

       43.     The Haslams have exhibited the same civic commitment in serving other great

Cleveland institutions. They have committed funding to install synthetic turf fields at sixteen

public schools in the metropolitan Cleveland area. They have been significant supporters of

Cleveland’s healthcare institutions—donating $20 million to University Hospitals to create the

Haslam Sports Innovation Center, and $30 million to the Cleveland Clinic in the last two years

alone. Led by Dee Haslam, the Cleveland Browns Foundation was a founding member of the Stay

in the Game! Attendance Network, a public/private partnership combatting chronic absenteeism

of schoolchildren throughout Ohio and now supporting nearly 380,000 students. Dee has also

been an enthusiastic supporter of the City and its most important business and cultural

organizations, serving as a director of the Greater Cleveland Partnership, the United Way of

Greater Cleveland (Executive Council), University Hospitals Systems, the Cleveland Orchestra,

and the Rock & Roll Hall of Fame. In all, the Haslams and the Browns have contributed more

than $150 million to worthy causes in Northeast Ohio since the family purchased the team.

       F.      The Haslam family expands its commitment to professional sports in Ohio

       44.     In 2017, the private operator of the Columbus Crew, a Major League Soccer team,

announced that it planned to move the team to Austin, Texas—even though the team had more

than five years left on its stadium lease with the State of Ohio. Faced with a professional sports


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team threatening to move to another state in the middle of its lease, the State of Ohio sued—

invoking the Modell Law to argue that the team was required to stay in Columbus or face a forced

sale process.

       45.      The Haslams stepped in, recognizing that the Crew “belong[ed] in Columbus.” In

December 2018, the Haslams reached an agreement to become co-investors in the team and keep

it in Columbus. And Haslam Sports Group promptly contributed more than $220 million toward

the construction of a new state-of-the-art stadium and training facility for the team. Lower.com

Field and the OhioHealth Performance Center opened in 2021.

       46.      Haslam Sports Group has not stopped at improving the facilities of the Crew. It

has committed $10 million to fund a public sports park in Northeast Columbus. And it has

supported Columbus City Schools and other neighboring school districts through soccer pitch

projects as well as its Stay in the Game! and Soccer in Schools programs. In 2024, the Haslams

continued their commitment to healthcare initiatives, donating $2 million to Pelotonia, a Columbus

organization devoted to raising funds for cancer research.

       G.       The City asks the Browns to develop a plan to create a vibrant lakefront
                economic development integrated with the downtown business district

       47.      Under its terms, the Browns’ Lease of their current stadium, Huntington Bank

Field, ends in February 2029. The stadium—hastily constructed in two years after Modell’s flight

to Baltimore—will by then be thirty years old. As both the Browns and the City have long

understood, that stadium will be incapable of serving as an adequate—let alone first-rate—home

for the Browns without an extensive and costly renovation and surrounding infrastructure

improvements.

       48.      As an open-air facility, the current stadium is used only for eight to ten Browns

games and a handful of non-Browns events per year. All in all, Huntington Bank Field is typically



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used for no more than a dozen events a year. The stadium, like the rest of the lakefront, is separated

from the downtown business district by the Shoreway—a 50 mile-per-hour highway—and rail

lines. Those site limitations have long made it impossible for the stadium or other lakefront

attractions to anchor a revitalized downtown, by blocking easy pedestrian and transit access that

could connect the central business district with the lakefront.

       49.     A comprehensive project to develop and integrate the lakefront with the downtown

business district has long been on the wish list of the City and its administrators. So in 2017,

knowing that the Browns would need to plan for a home that served their needs in 2029 and

beyond, Mayor Frank Jackson asked the Browns to present a vision to connect the lakefront to

downtown and transform it into an area of economic vitality.

       50.     Working with the City, Dee and Jimmy Haslam led that project. They spent years

generating a plan that would serve the public’s interest in economic renewal and create a lakefront

neighborhood that could support a home for the Browns in the decades following the Lease

expiration. The Browns commissioned and funded a planning study by Nelson Byrd Woltz, a

renowned landscape architecture firm known for ambitious public development projects across the

country.

       51.     The Browns unveiled the plan in May 2021. It contemplated transforming the

Shoreway into a wide, attractive boulevard and building a wide landscaped land bridge over the

boulevard as well as a new transit hub, which would link the downtown business district to a

lakefront revitalized by new mixed-use development.

       H.      Encouraged by the City, the Browns present a plan for a renovated stadium
               in a redeveloped lakefront newly connected to downtown

       52.     In November 2021, the Browns met with Mayor-elect Justin Bibb to discuss his

priorities and plans for the lakefront. Encouraged by his stated support for a redeveloped lakefront



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with new infrastructure links to downtown, the Browns began investigating a potential renovation

of the existing stadium for use after the Lease ended in 2029. The Browns assembled and funded

a team of experts—real estate developers, financial advisors, architects, designers, engineering

firms, construction companies, and consultants—to create detailed renovation plans and cost

estimates.

       53.     After more than a year of work, in early 2023, the Browns presented a renovation

plan to the City and County. The more modest version of that plan would adequately renovate the

aging stadium to extend its life by about twenty years.           But even that plan would cost

approximately $1 billion in upfront funding. That renovation plan depended on substantial

infrastructure improvements, such as the land bridge over the Shoreway and new transit hub, that

would not only link the renovated stadium and surrounding development to the central business

district, but also drive economic activity in the lakefront that would help fund the renovation costs,

either through taxes on increased revenues or private financing.               Those infrastructure

improvements would cost hundreds of millions of dollars—in addition to the $1 billion cost of

renovating the stadium.

       I.      After the City repeatedly fails to step up with a viable funding plan for a
               renovated stadium in a lakefront linked to downtown, the Browns begin
               exploring a new domed stadium alternative that can generate greater
               revenue

       54.     Serious engagement on the renovation plan thus required the City and the County

to present a clear path to obtaining the necessary public funding on the necessary timeline—that

is, in time to complete renovations by the 2029 NFL season. Although the Browns engaged in

months of back-and-forth with the City and the County, neither offered a viable proposal to provide

the public funding on which the renovation plan depends.




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       55.     If renovation of the lakefront stadium were indeed the priority the City claims it is,

the City would have responded to the funding challenge with creativity and urgency. But as

months passed, it became clear to the Browns that it was imperative to develop a plan for a new

home for the Browns that did not depend on significant public funding from the City—public

funding that the City appeared to have neither the will nor the ability to offer.

       56.     The Browns therefore took a hard look at other sites for a new stadium in Cleveland

and its immediate vicinity, ultimately focusing on the possibility of constructing a new domed

stadium. A dome is an economic game-changer for the increasingly forbidding math required to

justify the massive private and public investment of a major stadium renovation or construction—

especially for an NFL stadium, which hosts only eight to ten team home games a year. A dome

makes a stadium an all-weather, all-season facility—one that can be used year-round for dozens

of major events. The revenue generated by a regular schedule of events—summer and winter, rain

or shine—and the related boost to restaurants, shops, and hotels makes private financing cheaper

and easier to attract. And more important, because a dome multiplies by several times the

economic impact and tax revenues a stadium can generate, it significantly relieves the burden of

public funding that a new stadium or stadium renovation would otherwise impose on local

taxpayers. Among the multiple positive follow-on effects of this economic development: more

jobs for City and area residents.

       57.      None of this is possible at the lakefront, because putting a dome on Huntington

Bank Stadium is not feasible. Because the stadium sits close to Burke Lakefront Airport, building

height restrictions imposed by the Federal Aviation Authority foreclose a renovation that would

add a dome. There are no plans to close that airport. And even if it is possible to secure the

necessary regulatory and other approvals to shut it down (an open question), the timeline for doing




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so is highly speculative. What’s more, adding a dome to an existing facility is an expensive and

structurally complicated undertaking. It’s doubtful that the returns would justify the massive

investment when the facility is already thirty years old.

       58.     In October 2023, the Browns informed the City that they were considering other

sites—in or near Cleveland—that could support a domed stadium.

       J.      The Browns propose a new domed stadium a few miles southwest of
               Cleveland that will cost the City and its taxpayers nothing

       59.     A vacant site in Brook Park, a suburb bordering Cleveland to the southwest, looked

especially promising. The site lies less than a mile from the City limits, near Hopkins International

Airport, and close to the Browns’ training facility in Berea. And it has ample space for mixed-use

development that would benefit from a year-round calendar of events, as well as substantial room

for parking—a perennial challenge at the existing stadium site. And its proximity to two major

highways makes it easily accessible not only to fans throughout the Cleveland area, but also to

those in Central Ohio and the rest of the state. In March 2024, the Browns acquired an option to

purchase the Brook Park site to ensure its availability for future stadium development.

       60.     In April 2024, the Browns presented the County with a detailed proposal for a new

stadium on the Brook Park site—along with a plan for funding it. Construction of a new domed

stadium that will last at least fifty years with proper capital maintenance was projected to take

approximately three and a half years and cost $2.4 billion. In recent years, new NFL stadiums

have been financed with a majority of public investment. But the Haslams proposed that private

funding contribute at least half the construction cost—$1.2 billion, plus any cost overruns. As for

the other half to come from public funding, the Haslams proposed that it be divided among the

State, the County, and Brook Park—with the vast majority supported by incremental taxes and

fees on revenues generated by the new stadium development, and the remainder supported by



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modest new taxes that would be paid by visitors. That fiscally disciplined allocation is possible

only because of the dome and the adjacent mixed-use development it will anchor. The state and

local revenues from additional year-round use of the stadium beyond Browns games—projected

to be more than $6.3 billion over a thirty-year lease term—will enable construction of a world-

class sports and entertainment facility that in time will pay for itself.

        61.     A new stadium development in Brook Park would give the City and its residents

the benefits of one of the most ambitious and spectacular NFL stadium projects less than a mile

from City limits at zero cost to the City and its taxpayers. The Browns appreciate that even today,

the City is struggling to satisfy its obligations to fund capital repairs to the existing stadium, as

well as to the facilities of other professional sports teams in Northeast Ohio. The Brook Park

proposal frees the City and its taxpayers from any stadium funding obligations, as well as the

substantial expenses the City incurs as a result of operations on Browns game days. A new stadium

in Brook Park would also expand the City’s options for redeveloping the lakefront—by freeing up

prime lakefront real estate currently occupied by the stadium for other public and commercial uses.

        62.     Careful attention to Cleveland’s fiscal resources and how they can best be deployed

counsels in favor of City and County officials giving the Brook Park proposal fair consideration.

Certainly, the City’s taxpayers and residents deserve that.

        63.     Yet the City responded with knee-jerk hostility to the Brook Park plan—though it

still had not presented a viable funding plan of its own for a stadium renovation or new lakefront

development. On May 6, the City passed Emergency Ordinance 391-2024, “direct[ing]” its

lawyers to “fully enforce” the Modell Law “to keep the Cleveland Browns in the City of Cleveland

and to protect the interests of the taxpayers of the City with regard to their investment in the

lakefront stadium.”




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       64.     The City did not explain how the Browns could possibly violate the Modell Law

by looking for a new stadium home in the Cleveland area after their Lease of the current stadium

expires. Or how the City’s refusal to consider a plan to build a world-class stadium less than a

mile from City lines, at no expense to City taxpayers, could possibly be in taxpayers’ interests.

       K.      The City presents a proposal for funding a stadium renovation that would
               cost Cleveland taxpayers hundreds of millions of dollars and do nothing to
               make the stadium a magnet for economic development

       65.     In August 2024—more than a year after the Browns had presented a stadium

renovation plan and its costs to the City—the City publicly released its funding proposal. That

proposal confirmed what the Browns already suspected—that the City does not have a realistic or

fiscally sensible solution to the massive public and private investment required to fund a stadium

renovation.

       66.     The City’s funding proposal acknowledged that a stadium renovation would cost at

least approximately $1 billion. But the City proposed to contribute just $20 million—less than

2%—in upfront construction costs, then dribble out $347 million over the thirty-year term of a

new lease. And the City offered only the speculative hope, not a clear plan or commitment, that

the State and County would help shoulder the City’s public funding contribution. The City’s

proposal thus left to the Haslams and the Browns the responsibility of generating a plan to fund

virtually the entire upfront cost of renovating the City-owned stadium. None of the public-private

partnerships that have funded NFL stadium projects in recent history have forced the team to bear

such heavy costs at the outset of the project.

       67.     The City’s proposal also capped its responsibility to pay for capital repairs, at $94

million. But it has long been standard for NFL stadium leases to divide the burden of repair and

maintenance costs between team owners and the government lessors—with no cap. The existing




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Lease, for example, requires the Browns’ owner to pay for all routine maintenance and any

alterations or improvements, while the City is responsible for all capital repairs.

       68.      And the City’s proposal came with no plan for funding all of the hundreds of

millions of dollars in infrastructure improvements necessary to connect the lakefront and a

renovated stadium to downtown—or even a date for delivering that plan. An open-air stadium cut

off from downtown is what the City has now. And such a stadium cannot generate the revenue

needed to fund a massive private or public investment in a stadium renovation. The City’s proposal

is based on the unrealistic idea that the Browns will nonetheless pay the majority of the more than

$1 billion necessary to fund a renovation of a stadium in an isolated lakefront.

       69.      Recognizing that a domed stadium offers substantial economic benefits that an

open-air stadium never can, the City asked the Browns in September 2024 to evaluate the

feasibility of building a domed stadium adjacent to the current stadium, on the site of Burke

Lakefront Airport. But the City has no authority to shut down Burke Lakefront Airport to replace

it with a stadium. Nor does the City have any way to ensure that it will ever obtain the regulatory

approvals required to do so, let alone soon enough to make Burke Lakefront Airport an alternative

stadium site.

       70.      The Haslams and the Browns, however, remain committed to working with the City

and County to find the best new home for the Browns in the Cleveland area—not just the best

home for the team and their fans, but the most fiscally responsible solution for local residents and

taxpayers. So they spent hundreds of thousands of dollars working with engineering firms and

consultants to determine if a domed stadium at Burke Lakefront Airport is a realistic alternative to

one in Brook Park.




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       71.     It isn’t. Because of ground characterizations and other site disadvantages, building

a domed stadium at Burke Lakefront Airport would cost $3.3 billion—far more than the $2.4

billion cost of a domed stadium in Brook Park. And even that figure assumes construction begins

in 2026—unrealistic given the regulatory approvals necessary to shut down and potentially

relocate the airport—again, approvals that might never be obtained. With each year of delay, that

$3.3 billion estimate, already prohibitively high, rises substantially. And, like a renovation of the

current stadium, a new stadium at Burke Lakefront Airport would require hundreds of millions of

dollars in associated infrastructure investment—in highway connections, transit access, and

parking facilities. A stadium in Brook Park, situated just off the highway, would require less than

$100 million in infrastructure investment.

       72.     After the impracticality of replacing Burke Lakefront Airport with a new stadium

became clear, the Haslams issued a public statement explaining their decision to focus their

planning efforts on a new stadium in Brook Park. As they explained, they had worked since 2017

with the City and Mayor “to find the optimal long-term solution for our stadium.” And they had

“learned through our exhaustive work that renovating our current stadium will simply not solve

many operational issues and would be a short-term approach.”

       73.     “With more time to reflect,” they explained, “we have also realized that without a

dome, we will not attract the type of large-scale events and year-round activity to justify the

magnitude of this public-private partnership.”         Ultimately, the Haslams explained, “[t]he

transformational economic opportunities created by a dome far outweigh what a renovated stadium

could produce with around ten events per year.” And, the Haslams added, whether the Browns’

home is inside City lines or just beyond them, “Cleveland and Northeast Ohio are the fabric of the

Browns and that will always be the case.”




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       L.      The City tries to invoke the Modell Law—against owners nothing like Modell

       74.     Days after the Haslams’ statement, Cleveland Law Director Mark Griffin said the

City would “move forward” with enforcing the Modell Law against the Browns and the Haslams.

Again, the City did not explain how the Modell Law could possibly apply to them—a team and

owner who are facing a lease expiration on an aging stadium and doing nothing more than

prudently searching for the best long-term stadium home in the Cleveland area, well within the

team’s NFL-defined home territory.

       75.     Planning a new stadium in Brook Park, less than a mile from Cleveland’s

southwestern border, for use after the Browns’ current stadium lease expires, bears no resemblance

to Modell’s attempt to remove the Browns to another state, years before their stadium lease

expired. The City may seek to score cheap points by implausibly casting the Haslams as today’s

Modell, abandoning Cleveland. But the City should know better—especially since it is now

represented by the very same firm that represented Modell when the City sued to enforce the

Browns’ stadium lease in 1995. No one thinks an NFL team leaves its city by building a stadium

within a metropolitan area, rather than within city lines. The NFL’s rules, in place long before the

Browns signed their current stadium Lease, make this clear: they define a team’s home territory as

encompassing a 75-mile radius beyond the franchise city. Brook Park is less than a mile from

Cleveland. Plenty of NFL teams have their home stadium in suburbs of their home city. The

Dallas Cowboys play in Arlington. The San Francisco 49ers play in Santa Clara. The Los Angeles

Rams and Chargers play in Inglewood. The Buffalo Bills play in Orchard Park. The Washington

Commanders play in Summerfield, Maryland. And the New York Giants and Jets don’t even play

in New York State, but in Rutherford, New Jersey. But no one is confused about which city any

of these teams calls home.




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       76.     The City’s threats prompted the Brown to seek to protect their right to find the best

new home for their franchise after the expiration of the Lease, whether within Cleveland or in the

broader metropolitan area that has always claimed the City and the Browns as its own. They

therefore brought this suit in October, seeking to stop the enforcement of the Modell Law against

them as unconstitutional and plainly contrary to the Modell Law’s plain words and intended

application.

       77.     The Haslams and the Browns, however, have been and remain committed to

working together with the City and County “to find the optimal long-term solution for our

stadium.” Even as the City has threatened them with the Modell Law, they have continued to seek

a dialogue with the Mayor and County officials. They have not simply urged the City and County

to fairly consider the Brook Park proposal. They have for their part also continued to engage with

the City on its preferred proposal—a stadium renovation—by seeking answers from the City about

their concerns so they can be sure to accurately assess each proposal’s costs and benefits.

       78.     The Browns have also sought to collaborate with the City to objectively evaluate

both the renovation proposal and the Brook Park proposal, offering detailed answers—in writing—

to the City’s questions and urging continued engagement to find a solution satisfactory to all. The

City reciprocated with its own lawsuit. In mid-January, making good on its threat, the City sued

the Haslams and the Browns in state court, claiming that they violated the Modell Law.

       79.     Even now, the City has not explained how the Modell Law could apply to a team

that has complied and will comply with each of its contractual commitments to the City, that has

played and will play its home games in its stadium until the expiration of its lease, and whose

owners have committed to keeping the team in the Cleveland area long after the lease expires. The

City appears to believe that a law passed after the Browns signed a contract with the City can




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somehow render the contract’s terms meaningless, and require the Browns to play all their home

games, forever, in a stadium of the City’s choosing, without regard to fiscal responsibility, the

needs of the team and its fans, or the condition of the facility.

       80.      The City’s threatened application of the Modell Law is unreasonable on its face—

as well as unconstitutional. The City’s suit is a legally meritless and fiscally irresponsible attempt

to handcuff the Browns to an aging stadium long after their contractual obligations end. Its strategy

is apparently to run out the clock so the Browns are unable to bring the Brook Park stadium to

fruition by 2029, and so hold the team, its fans, and the community hostage to an inferior

alternative and the political whims of city managers. The City’s obstinance is hurting the very

people it is claiming to help—not just the Browns and their fans in the City, its suburbs, and

beyond—but also Cleveland residents and taxpayers.

       81.      The Browns thus require prompt relief from the City’s unlawful campaign to

enforce the Modell Law. Because the current stadium lease expires after the 2028 season, the new

stadium must be completed by mid-2029 for the Browns to be able to use it in time for the 2029

season. Because a new stadium in Brook Park is expected to take at least forty months to construct,

the Browns will need to break ground by early 2026 to meet that deadline. Absent prompt relief,

the uncertainty created by the City’s attempt to enforce the Modell Law against them will

unlawfully impair their ability to exercise their contractual and legal rights to call a new stadium

home in 2029.




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                                      CAUSES OF ACTION

                                       FIRST CLAIM
 Violation of Art. 1, § 8 and § 10, and the Fourteenth Amendment of the U.S. Constitution
                                (Against the City of Cleveland)

        82.     Plaintiffs re-allege each of the preceding paragraphs as if set forth again in full.

        83.     The Browns’ Lease of the stadium, now called Huntington Bank Field, from the

City became effective on April 26, 1996 and expires on February 1, 2029.

        84.     The Lease does not impose any obligation on the Browns to play games in, or

otherwise use, the stadium after its term ends.

        85.     The City has no right to unilaterally extend the Lease for any period, and the parties

have not agreed to any extension or renewal of the Lease.

        86.     On May 6, 2024, the City passed Emergency Ordinance 391-2024, through which

“the Director of Law,” Mark D. Griffin, was “authorized and directed to fully enforce the

provisions of” the Modell Law against Plaintiffs.

        87.     The City contends that the Modell Law may be enforced to either prevent the

Browns from exercising their rights to move to a new home stadium or to force their sale to a new

owner, in direct contravention of the terms of the Lease and related agreements, including among

others the Franchise Commitment Agreement.

        88.     The City’s attempt to enforce the Modell Law against Plaintiffs violates their

bargained-for rights under the Lease and related agreements, in violation of the Contracts Clause

of Article I, Section 10 of the U.S. Constitution, which states, in relevant part, “[n]o state shall . . .

pass any . . . Law impairing the Obligation of Contracts.”

        89.     The City contends that the Modell Law may be enforced to discriminate between

in-state and out-of-state economic interests by, among other things, giving Ohio political




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subdivisions and residents preferential treatment and special rights with respect to the purchase of

professional sports organizations.

       90.     The Modell Law also interferes with the financial relationships within the NFL,

including between and among NFL franchises and their owners.

       91.     The Modell Law places excessive burdens on interstate commerce without

advancing any legitimate local interest.

       92.     The Modell Law, and the City’s attempted enforcement thereof, violates both

facially and as applied to Plaintiffs here, the Commerce Clause of Article 1, Section 8 of the U.S.

Constitution, which grants Congress the power to “regulate Commerce . . . among the several

States.”

       93.     The Modell Law is so vague and indefinite that it fails to provide the Browns and

their owner fair notice whether their contemplated conduct is forbidden by the statute and thus

encourages arbitrary and erratic enforcement in violation of the Due Process Clause of the

Fourteenth Amendment of the U.S. Constitution.

       94.     The statute is impermissibly vague and indefinite because, among other things, it

fails to provide adequate notice as to whether its requirements are triggered when the Browns have

complied and will comply with all game usage obligations of the lease agreement for the facility

in which they are currently playing most of their home games; what agreements can satisfy its

requirement of “an agreement with the political subdivision permitting the team to play most of its

home games elsewhere”; the nature, including the timing, of any financial assistance the Browns

must receive for their owner to be presently subject to the Modell Law; any discernible or

consistent standard for determining the time of “the owner’s intention to cease playing most of its

home games at the facility”; the nature of the required “six months’ advance notice” and the




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manner in which it can be adequately provided; any definition of the “area” in which a “group of

individuals” must reside in order to be entitled to an “opportunity to purchase the team”; and the

nature of the “opportunity to purchase the team” that must be given by the owner, including any

actions the owners must affirmatively undertake, in order to satisfy the statute.

       95.     The City’s attempt to enforce the Modell Law against Plaintiffs violates the Due

Process Clause of the Fourteenth Amendment of the U.S. Constitution.

       96.     The City is also liable to Plaintiffs for redress under 42 U.S.C. § 1983 because the

City’s attempt to enforce the Modell Law deprives Plaintiffs of rights, privileges, or immunities

secured by the Constitution and laws of the United States.

       97.     The City’s attempt to enforce the Modell Law against Plaintiffs is causing and will

cause Plaintiffs to suffer damages, including costs incurred as a result of any delays in obtaining

approvals and financing for, or in commencing the construction of, a new stadium at Brook Park.

       98.     Plaintiffs seek a declaration that the City’s attempt to enforce the Modell Law

against them violates the U.S. Constitution.

       99.     Plaintiffs seek injunctive relief to enjoin the City from enforcing the Modell Law

against them, including by bringing or prosecuting suit, in violation of the U.S. Constitution.

       100.    Absent declaratory and injunctive relief, Plaintiffs will suffer irreparable harm.

                                      SECOND CLAIM
 Violation of Art. 1, § 8 and § 10, and the Fourteenth Amendment of the U.S. Constitution
(Against Mark D. Griffin, in his official capacity as Law Director of the City of Cleveland)

       101.    Plaintiffs re-allege each of the preceding paragraphs as if set forth again in full.

       102.    The Browns’ Lease of the stadium, now called Huntington Bank Field, from the

City became effective on April 26, 1996 and expires on February 1, 2029.




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       103.    The Lease does not impose any obligation on the Browns to play games in, or

otherwise use, the stadium after its term ends.

       104.    The City has no right to unilaterally extend the Lease for any period, and the parties

have not agreed to any extension or renewal of the Lease.

       105.    On May 6, 2024, the City passed Emergency Ordinance 391-2024, through which

“the Director of Law,” Mark D. Griffin, was “authorized and directed to fully enforce the

provisions of” the Modell Law against Plaintiffs.

       106.    The City, by and through its Director of Law, contends that the Modell Law may

be enforced to either prevent the Browns from exercising their rights to move to a new home

stadium or to force their sale to a new owner, in direct contravention of the terms of the Lease and

related agreements, including among others the Franchise Commitment Agreement.

       107.    The City’s attempt to enforce the Modell Law, by and through its Director of Law,

against Plaintiffs violates their bargained-for rights under the Lease and related agreements, in

violation of the Contracts Clause of Article I, Section 10 of the U.S. Constitution, which states, in

relevant part, “[n]o state shall . . . pass any . . . Law impairing the Obligation of Contracts.”

       108.    The City, by and through its Director of Law, contends that the Modell Law may

be enforced to discriminate between in-state and out-of-state economic interests by, among other

things, giving Ohio political subdivisions and residents preferential treatment and special rights

with respect to the purchase of professional sports organizations.

       109.    The Modell Law also interferes with the financial relationships within the NFL,

including between and among NFL franchises and their owners.

       110.    The Modell Law places excessive burdens on interstate commerce without

advancing any legitimate local interest.




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       111.    The Modell Law, and the City’s attempted enforcement thereof, by and through its

Director of Law, violates both facially and as applied to Plaintiffs here, the Commerce Clause of

Article 1, Section 8 of the U.S. Constitution, which grants Congress the power to “regulate

Commerce . . . among the several States.”

       112.    The Modell Law is so vague and indefinite that it fails to provide the Browns and

their owner fair notice whether their contemplated conduct is forbidden by the statute and thus

encourages arbitrary and erratic enforcement in violation of the Due Process Clause of the

Fourteenth Amendment of the U.S. Constitution.

       113.    The statute is impermissibly vague and indefinite because, among other things, it

fails to provide adequate notice as to whether its requirements are triggered when the Browns have

complied and will comply with all game usage obligations of the lease agreement for the facility

in which they are currently playing most of their home games; what agreements can satisfy its

requirement of “an agreement with the political subdivision permitting the team to play most of its

home games elsewhere”; the nature, including the timing, of any financial assistance the Browns

must receive for their owner to be presently subject to the Modell Law; any discernible or

consistent standard for determining the time of “the owner’s intention to cease playing most of its

home games at the facility”; the nature of the required “six months’ advance notice” and the

manner in which it can be adequately provided; any definition of the “area” in which a “group of

individuals” must reside in order to be entitled to an “opportunity to purchase the team”; and the

nature of the “opportunity to purchase the team” that must be given by the owner, including any

actions the owners must affirmatively undertake, in order to satisfy the statute.




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       114.     The City’s attempt to enforce the Modell Law, by and through its Director of Law,

against Plaintiffs violates the Due Process Clause of the Fourteenth Amendment of the U.S.

Constitution.

       115.     The City, by and through its Director of Law, is also liable to Plaintiffs for redress

under 42 U.S.C. § 1983 because the City’s enforcement of the Modell Law, by and through its

Director of Law, deprives Plaintiffs of rights, privileges, or immunities secured by the Constitution

and laws of the United States.

       116.     Plaintiffs seek a declaration that the City’s attempt to enforce the Modell Law, by

and through its Director of Law, against them violates the U.S. Constitution.

       117.     Plaintiffs seek injunctive relief to enjoin the City’s Director of Law from enforcing

the Modell Law against them, including by bringing or prosecuting suit, in violation of the U.S.

Constitution.

       118.     Absent declaratory and injunctive relief, Plaintiffs will suffer irreparable harm.

                                        THIRD CLAIM
                      In the alternative to the First and Second Claims
(Against the City of Cleveland and Mark D. Griffin, in his official capacity as Law Director
                                   of the City of Cleveland)

       119.     The Browns incorporate the allegations set forth in the preceding paragraphs of this

Complaint as if fully rewritten herein.

       120.     The requirements of the Modell Law have no application to any action the Browns

or their owner take to cease the playing of their home games at Huntington Bank Field after the

Browns’ lease of that facility from the City of Cleveland expires by its terms.

       121.     The Modell Law does not require a professional sports team or its owner to play

in a facility without a lease agreement or to enter into a new lease agreement for a facility. As

confirmed by the circumstances of its enactment, the Modell Law is plainly intended to prevent


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a team that is playing in a tax-supported facility from abandoning that facility during the term of

the applicable lease. The Browns have no intention of playing, and will not play, most of their

home games at another facility during the term of their lease of Huntington Bank Field.

       122.    Plaintiffs are therefore entitled to a declaration that any action by the Browns to

cease playing most of their home games at Huntington Bank Field after their lease of that facility

expires does not trigger or violate the Modell Law.

        WHEREFORE, the Browns pray for an order and judgment:

               A.      Declaring, pursuant to 28 U.S.C. § 2201, that the Modell Law violates the

                       U.S. Constitution and is unenforceable;

               B.      Declaring, pursuant to 28 U.S.C. § 2201, that any action by the Browns to

                       cease playing most of their home games at Huntington Bank Field after their

                       existing lease of that facility expires does not trigger or violate the Modell

                       Law;

               C.      Granting permanent injunctive relief prohibiting the Defendants and their

                       officers and agents from attempting to enforce the Modell Law against

                       Plaintiffs on the basis of any action by the Browns to cease playing most of

                       their home games at Huntington Bank Field after their existing lease of that

                       facility expires;

               D.      Awarding Plaintiffs damages for the costs incurred as a result of the City’s

                       attempted enforcement of the Modell Law;

               E.      Awarding Plaintiffs their costs and attorneys’ fees pursuant to 42 U.S.C.

                       § 1988 and any other applicable statute or regulation;

               F.      Granting such further relief as the Court may deem proper.




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Dated: March 18, 2025


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     EXHIBIT A
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                                                LEASE BY WAY OF CONCESSION



                                                              between



                                                      CITY OF CLEVELAND



                                                                 and



                                            NATIONAL FOOTBALL LEAGUE,
                              individually as to Section 3, and as nominee for the New Owner


                                                                as of
                                                          April 26, 1996




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                                   LEASE BY WAY OF CONCESSION



                      This Lease by Way of Concession ("Lease") is made and entered into at

       Cleveland, Ohio as of the 26th day of April, 1996 by and between the CITY OF CLEVELAND,
       a municipal corporation 'and political subdivision of the State of Ohio (the "City"), through its
       Mayor and Director of Parks, Recreation and Properties pursuant to the authority of Ordinance
       No. 303-96, passed by the Council of the City on March 8, 1996, and the NATIONAL
       FOOTBALL LEAGUE, an unincorporated, non-profit association organized in accordance with

       the NFL Constitution, individually as to Section 3, and as nominee for the New Owner, with

       its principal office located in New York, New York, through its Commissioner pursuant to the
       authority of 1996 Resolution G-1 (such New Owner as the assignee of as this Lease is referred
       to as the "Lessee").


                                                  RECITALS


                      A.      The City has provided and wishes to continue to provide a source of public
       relaxation and entertainment through the construction, ownership and leasing of a sports facility
       as that term is defined in Sec. 307.673 of the Revised Code (the "Act") for the play of
       professional football games and the presentation of other entertainment and public attractions.


                      B.      The maintenance of public safety and order during the operation of a sports
       facility will require policing and regulation by the City which can best be achieved by the City's

       acquisition and construction of that sports facility.


                      C.      The City has reviewed various economic feasibility reports which conclude
       that the acquisition and construction of a sports facility and the leasing of it for the play of

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             that a professional football team will improve the economic welfare of the City and its people

             through increased spending of individuals residing both inside and outside the City.


                                D.       The attraction of a professional football team to the City will not only

             enrich the City and serve as a catalyst for development, but also will project an image of civic
             pride and commitment.



                                E.       The City has entered into the Franchise Commitment Agreement dated as

             of April 26, 1996 ("NFL Agreement's) with the National Football League (the "NFL") under the
             terms of which the NFL has agreed, among other things, to provide an NFL franchise in

             Cleveland in consideration of the City's agreement to construct a new stadium as described in

            Section 4 (the "New Stadium"), to enter into this Lease with the City pending the identification

            of the owner of the Cleveland NFL franchise, and to assign this Lease to such new owner ("New

             Owner").



                                F.       The New Stadium to be acquired and constructed by the City will be a
            sports facility within the meaning of the Act, and the NFL and the New Owner each is an owner
             within the meaning of the Act.



                                G.       The• New Stadium will be located in an urban renewal area of the City
             known as the North Coast Harbor Community Development Plan Area and the City's

             development of the New Stadium in that area and the lease of the New Stadium to the NFL
             and the New Owner pursuant to this Lease will be undertaken for the foregoing purposes and

             for the elimination of conditions of blight determined to exist in that Plan Area and to prevent

             the reoccurrence of such conditions of blight.




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                               H.        The New Stadium will create activity centers around the downtown office

          and retail core, enhance the visual quality of downtown of the City, and enhance the downtown
           tourism market.


                               I.        It will be necessary for the City to enter into certain financing

          arrangements and other agreements all in accordance with the Charter of the City and the

          Constitution and laws of the State, including the Act, in order to finance the cost of the New
          Stadium.


                               J.        The Lessee will undertake to operate and maintain the Leased Premises
          (hereinafter defined) and to promote its use by the general public for the above described
           purposes.



                               K.        The City wishes to lease the Leased Premises to the Lessee and the Lessee
           wishes to lease the Leased Premises from the City on the terms and conditions contained herein.


                               L.        It is the intention of the Lessee and City that the improvements to the
          Leased Premises be exempt from taxation under Ohio Revised Code Section 5709.081 and this
           Lease has been structured to qualify for that exemption.



                               NOW, THEREFORE, in consideration of the mutual promises and covenants
           herein contained, the parties hereby agree as follows:


                               1.        Public Purpose. The City is entering into this Lease in furtherance of the
           public purposes stated in the recitals, and including, without limitation, the public purposes of

           (a) providing to the citizens of the City and the State public attractions for their relaxation,

           entertainment and recreation, (b) the creation of jobs and employment opportunities that will
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            Improve we economic wenare of the City     on and the State, (c) the elimination of the conditions of

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           blight determined to exist in the Plan Area and the prevention of the reoccurrence of such
           conditions of blight, (d) stimulating further economic development in the City through, among

           other benefits resulting from having an NFL franchise in the City, the free advertising of the

           City as a tourism and business location in the media coverage of NFL games played in the New
           Stadium, the community pride and solidarity engendered by retaining the Cleveland Browns
           football team in the City, and the enhancement of community relations through the association
           of persons of differing racial, religious, and ethnic backgrounds in the New Stadium for a
           common cause.


                              2.        Definitions. The following defined terms will have the meanings ascribed

           to them in this Section 2 unless the context clearly indicates otherwise.


                              "Best efforts" as applied to the City does not require the City to undertake
           fruitless acts or to undertake commercially unreasonable expenditures considering the aggregate
           benefit to both parties or to exercise its power of eminent domain.


                              "Browns" means the Franchise (currently held in trust for the benefit of the people
           of the City under the Browns Holding Trust and to be assigned to the New Owner), its players,

           coaches, trainers, office and related personnel.



                              "Browns Holding Trust" has the meaning set forth in the Trust Agreement by and
           between the Baltimore Ravens, Inc. (formerly known as the Cleveland Browns, inc.), as Settlor,
           and Paul J. Tagliabue, as Trustee, dated as of April 26, 1996.


                              "Capital Repair Fund" has the meaning set forth in Section 14.



                              "Capital Repairs" has the meaning set forth in Section 14:
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                               "Capital Repairs Standard" has the meaning set forth in Section I4(c).


                               "City Events" has the meaning' set forth in Section 24.


                               "Commencement Date" has the meaning set forth in Section 6(a).



                              "Common Area Maintenance Agreement" means the agreement relating to

            maintenance of certain property in the Plan Area, to be entered into by the City and the Lessee

            and to address the matters set forth in Exhibit D.


                               "Community Development Plan" means the North Coast Harbor Community
            Development Plan, approved by the Council of the City by and through Ord. No. 1346-91
            passed June 17, 1991.


                               "Construction Contract Documents" means the "Contract Documents" as defined

            in Condition B-1 of the City of Cleveland General Conditions For a Public Improvement.



                               "Environmental Law(sr means each and every law, statute, ordinance, regulation,
            rule, judicial or administrative order or decree, permit, license, approval. authorization or
            similar requirement of each and every federal, state and local governmental agency or other

            governmental authority relating to any Hazardous Substances, and including but not limited to
            the Comprehensive Environmental Response, Compensation and Liability Act of 1980, as
            amended, the Hazardous Materials Traniportation Act, the Resource Conservation and Recovery
            Act, the Hazardous Substances Account Act, the Hazardous Substances Act, and the
            Underground Storage Tank Act of 1984.




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                                "Final Acceptance Date" has the meaning set forth in the definition of

         . "Substantially Completed."


                                "Financing Agreements" means the agreements to be entered into by the City to

            provide for the financing of the New Stadium.


                                "Franchise" means the Cleveland NFL franchise called the Cleveland Browns as

            described in the NFL Agreement.


                                "Hazardous Substance(s)" means any substance, material, condition, mixture or
            waste which is now or hereafter (a) defined as a "hazardous waste," "hazardous material,"
            "hazardous substance," "extremely hazardous waste," or "restricted hazardous waste" under any

            provision of the State, federal or other applicable law; (b) classified as radioactive materials; (c)
            designated as a "hazardous substance" pursuant to Section 311 of the Clean Water Act, 33
            U.S.C. Section 1251 et seg. (33 U.S.C. Section 1321) or listed pursuant to Section 307 of the
            Clean Water Act (33 U.S.C. Section 1317); (d) defined as a "hazardous waste" pursuant to the

            Resource Conservation and Recovery Act, 42 U.S.C. Section 6901 et seg. (42 U.S.C. Section
            6903); (e) defined as a "hazardous substance" pursuant to Section 101 of the Comprehensive
            Environmental Response, Compensation and Liability Act, 42 U.S.C. Section 9601 et                (42

            U.S.C. Section 9601); (f) determined to be a "hazardous chemical substance or mixture"

            pursuant to the Toxic Substances Control Act, 15 U.S.C. Section 2601 11 Ee_q. (15 U.S.C.
            Section 2605); (g) identified for remediation, storage, containment, removal. disposal or
            treatment in any City plan for the Plan Area; or (h) determined by the State, federal or local
            governmental authorities to pose or be capable of posing a risk of injury to human health, safety
            or property (including but not limited to petroleum and petroleum byproducts; asbestos;
            polychlorinated biphenyls; polynuclear aromatic hydrocarbons; cyanide; lead; mercury; acetone,
            styrene; and "hazardous air pollutants" listed pursuant to the Clean Air Act, 42 U.S.C. Section

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                             "HOK" means Hel'myth, Obata & Kassabaum, Inc., Sports Facilities Group.


                             "Lease Commencement Certificate" has the meaning set forth in Section 6(c).


                             "Leased Premises" has the meaning set forth in Section 5(a).


                             "Lessee" means the New Owner.


                             "Material Capital Repairs" shall mean those Capital Repairs (excluding, for

           purposes of this definition, Capital Improvements) necessary, in the City's reasonable and

           prudent judgment as the owner of the New Stadium, (i) to protect the health and safety of the

           people working or attending events in the New Stadium; (ii) to prevent permanent damage to the
           roof, foundation, or structure of the New Stadium; or (iii) to assure basic building systems and
           utilities necessary for the use of the New Stadium.


                             "NFL" refers to the National Football League as presently constituted and to any
           successor entity or entities.


                             "NFL agreement" means the Franchise Commitment Agreement dated as of April
           26, 1996 between the City and the NFL.



                             "Net Proceeds" means, with respect to PSLs, all proceeds received in connection
           with the sale or marketing of PSLs net of any direct or indirect expenses incurred in connection
           with such sales or marketing including, but not limited to, expenses of marketing, legal expenses
           in connection with marketing and, if required, securities registration of PSLs, escrow fees in

           respect of the PSL Trust (as defined in the Stadium Financing Agreement), and taxes payable
           in respect of PSL proceeds.
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                                "New Owner" means the Lessee as the owner or owners of the Franchise as

              described in the NFL Agreement.


                                "New Stadium" has the meaning set forth in Section 4.


                                "PSL" has the meaning set forth in Section 12(f).


                                "Plan' Area" means the urban renewal area described in the Cornmuniry
              Development Plan.


                                "Regular season" means the number of football games counting in the standings

              for the purpose of determining the NFL teams that will participate in NFL post-season play.


                                "Regular season home game" means any football game scheduled to be played by
              the Browns following the Final Acceptance Date during the regular season as a part of the
             competition for the NFL Championship, which is designated by the NFL in the official NFL
             schedule to be a home game and, subject to Section 2.7 of the NFL Agreement with respect to
              the first season of play in the New Stadium, shall not be less than one-half the number of regular
             season games; provided that notwithstanding the foregoing, once every two (2) calendar years,
              the NFL may schedule one game less than one-half the number of regular season games to be
              played at a location other than the New Stadium.


                                "Rules of the NFL" means those rules and regulations established and promulgated
              from time to time that are applicable to the ownership and operation of a Franchise, including
              any collective bargaining agreement, the NFL Constitution and By-laws, the Standard Player

              Contract, the NFL Player Contract and the Bert Bell NFL Player Retirement Plan and Trust
              Agreement.

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                               "Stadium Financing Agreement" means the Stadium Financing Agreement dated

           as of April 26, 1996 between N                     rises, L.P. and the City of Cleveland.


                               "Stadium Standards" has the meaning set forth in Section 11(f)(ii).


                              "State of Ohio Lake Erie Submerged Land Lease" means the Lease of Lake Erie

           Submerged Lands entered into by the State of Ohio and others which grant leasehold interests
           in submerged lands that are a part of and adjacent to Lake Erie.


                              "Substantially completed" means, with respect to the construction of the New

           Stadium, that all final use and occupancy permits have been obtained by the City and delivered
           to Lessee, and the work on the New Stadium has been finally accepted by the Director of Parks,
           Recreation and Properties, as evidenced by his signature upon his Certificate of Completion and

           Acceptance filed in the Office of Commissioner of Accounts of the City, a copy of which shall

           be sent to the City's contractor, less only minor punch list items which do not materially

           interfere with Lessee's use and occupancy of the New Stadium for its intended purposes
           (including, without limitation, use of all Club Seats, private suites and other seating, and the use
           and function of all restrooms, concessions, entrances, passageways and parking lots) and which
           do not materially adversely affect the New Stadium's appearance as a complete and fully

           operational stadium, and which may be completed within sixty (60) days following the date of
           such certificate. Such acceptance shall be deemed to have taken place as of the date so stated
           in such certificate (the "Final Acceptance Date").



                               "Term" shall have the meaning set forth in Section 6(b).


                               "Work" shall mean, with respect to construction, alterations, or Capital Repairs,
           the furnishing of all Iabor, materials, tools, equipment, incidentals and any other thing necessary
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           or required for the full performance of the Construction Contract Documents by the contractor,
           including all such required or necessary as called for in any proper subsidiary agreement.


                               3.        Assignment and Assumption of Lease by New Owner. Other than the

           obligations of the NFL described in this Section 3, it is understood and agreed that the NFL is

           executing this Lease as a nominee for the New Owner and, as such, shall have no liability under
                                                                      erns
           this Lease. Pursuant to the provisions  of the NFL Agreement, the NFL agrees to assign all of

           its interest in and to this Lease to the New Owner, after the New Owner is identified by the
           NFL, and to cause the New Owner promptly to sign and deliver to the City such written
           instruments as are necessary and appropriate to evidence the assumption by the New Owner of
           all of the terms of this Lease and all of the obligations and liabilities of Lessee hereunder which
           arise after the date of assignment, such written instruments to include, without limitation, an
           Assignment and Assumption of Lease in the form of Exhibit A attached hereto and made a part

           hereof. Any provision hereof or of law to the contrary notwithstanding, the NFL acknowledges
           that the City has the right to specific performance of the NFL's obligations under this Section
           3 as provided in Section 22(e) of this Lease. In connection with such assignment, the City shall
           be under no obligation to make any payment or provide any consideration to the New Owner
           or the NFL other than as provided in this Lease.


                              4.        Construction of New Stadium. As additional consideration for the NFL's
           willingness to execute and deliver this Lease, the City is willing to construct buildings and other
           improvements on the Leased Premises (sometimes hereinafter collectively referred to as the
           "New Stadium") subject to the consummation of the Financing Arrangements as defined in the
           Stadium Financing Agreement. The New Stadium is to be constructed by the City in accordance
           with the NFL Agreement, the Stadium Financing Agreement and the Construction Contract
           Documents. Any failure by the City to perform such obligations shall be governed by the
           provisions of the NFL Agreement and the Stadium Financing Agreement, and the Lessee

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          specifically consents and acknowledges that it is a third-party beneficiary only of the liquidated
          damages provision contained in Construction Contract Documents.


                              The provisions of this Section 4 shall not in any manner be deemed or construed

          to grant the Lessee any independent claim against the City.



                              5.        Leased Premises.


                                        (a)       seal Estate and Improvements. The City does hereby demise and

          lease unto the Lessee, and the Lessee does hereby take and lease from the City the real property
          described in Exhibit B attached hereto and made a part hereof, together with the buildings,
          structures and improvements that may be constructed thereon and any replacements, alterations
          and additions thereto, and, all rights, privileges and easements now or hereafter appurtenant to

          the premises described in Exhibit B hereto, the said premises, buildings, structures and
          improvements being sometimes hereinafter collectively referred to as the "Leased Premises"),
          subject to the Financing Agreements, all liens, encumbrances, easements, and clouds of title,
          covenants, conditions and restrictions, zoning ordinances, current taxes and assessments not yet
          due and payable, the terms and provisions of the Community Development Plan, and the rights

          of others' under any State of Ohio Lake Erie Submerged Land Leases, none of which shall

          materially impair the Lessee's use or quiet enjoyment of the Leased Premises. Within twenty
          (20) days of the execution of this Lease, the City shall provide to the NFL a title report relating
          to the Leased Premises, together with copies of all tide documents referenced therein. Within

          thillY (30) days following receipt of such title report and documents, the NFL shall identify any
          items which, if not cured by the City, would, in its reasonable judgment, interfere with the
          Lessee's use of the Leased Premises for the play of professional football, and would, therefore,
          constitute a breach of quiet enjoyment pursuant to Section 38 of this Lease. The NFL shall
          identify any such items in writing, together with a detailed explanation of reasons why such
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                                                                        w ipe wksis a breach of quiet enjoyment

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            hereunder shall be deemed to have been accepted by the NFL. The City shall present such
            detailed explanation to the City architect, who shall determine whether such items will interfere
            with the Lessee's use of the Leased Premises for the play of professional football. The City
            shall promptly remove all monetary liens or encumbrances therefrom, and shall remedy all other
            matters that the City's architect determines will interfere with the Lessee's use of the Leased
            Premises for the play of professional football.


                                In the event that the City enters into a ground lease of the Leased Premises, the

            ground lessor and the NFL or the Lessee, as the case may be, shall execute a non-disturbance
            and attornment agreement in a form reasonably acceptable to the parties.


                                           (b)         Air Rights. The City hereby reserves all air rights over the Leased
            Premises. The City is reserving the air rights described above in connection with the needs and
            requirements related to the operation of Burke Lakefront Airport. The City covenants that it will
            not construct any structures or improvements within the area of such air rights other than
            facilities in aid of arrival and departure of aircraft at Burke Lakefront Airport required by the
            Federal Aviation Administration.


                                           (c)         Parking. The City shall make available to the Lessee, free of
            charge, for home game days plus nine (9) additional days per year, parking spaces for four
            hundred fifty (450) passenger vehicles, which spaces shall be located north of Erieside
            Boulevard. The City agrees to cooperate in accordance with law with the Cleveland-Cuyahoga
            County Port Authority (the "Port Authority") to cause the Port Authority to enter into long-term
            parking agreements with the Lessee, at LPqtee's expense, at reasonable rates (for leasing of
            entire lots), for an additional twenty-two hundred (2200) parking spaces for passenger vehicles.
            The City shall use its best efforts to help the Lessee obtain parking spaces for five hundred fifty

            (550) additional passenger vehicles to be located within reasonable proximity to the passageways
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            and walkways to the New Stadium for private suite and club seat ticket holders. In no event

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            shall the Lessee take any action that would restrict Willard Park Garage for the use by the

           • general public. The City shall also use its best efforts to help the Lessee obtain such additional
            parking spaces for passenger vehicles as may be necessary to comply with laws, rules and
            regulations relating to the required number of handicapped parking spaces.


                                        (d)      Amendment of Legal Descriptions. After construction of the New

            Stadium is completed and a new legal description for the parcel on which the New Stadium is
            located is available, the parties agree to amend this Lease to revise the legal descriptions of such
            parcel.


                              6.        Lease Term.


                                        (a)      Commencement of Term. The term of this Lease shall commence

            (hereinafter referred to as the "Commencement Date") on the later of (i) the Final Acceptance
            Date, or (ii) the date the City of Cleveland has issued a temporary, partial or permanent
            certificate of occupancy or (iii) the date of official acknowledgment by the NFL of its approval
            of the granting of an NFL franchise for the location of a professional football team whose
            regular season home games are to be played in the New Stadium. Prior to the Commencement
            Date, the City acknowledges and agrees, subject to prior notice from Lessee to the City, that
            it shall permit Lessee to occupy and use the Leased Premises prior to substantial completion of

            the New Stadium construction in order to begin its operations in preparation for its first NFL

            pre-season and regular season games, provided that such use and occupancy does not interfere
            with the completion of construction of the New Stadium and provided further that the Lessee
            shall have obtained all insurance coverage as required pursuant to Section 19 hereunder. No
            later than the Commencement Date, the City shall provide to the Lessee an updated title report
            relating to the Leased Premises, which report shall be dated within sixty (60) days prior to the

            Commencement Date and shall show all matters of record. No later than the Commencement
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            Dare, the City shall have removed, released or otherwise terminated all monetary liens or

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         monetary encumbrances therefrom except those in connection with the Financing Agreements
         and taxes and assessments not yet due and payable.


                                         (b)        Term.     The term of this Lease shall commence on the

         Commencement Date and continue thereafter to a date thirty (30) years (each full year and the
         period prior to the February 1st following the Commencement Date, a "Lease Year") from and
         after the February 1st prior to the first season in which the Browns commence participation in
         the NFL regular season games ("Term"), subject to extension pursuant to Sections 20 and 21
         hereof.



                                         (c)        Lease Commencement Certificate. Within ninety (90) days

         following the Commencement Date, the parties shall enter into a Lease Commencement

         Certificate confirming the Term of this Lease, the monetary contribution of the NFL or the
         Lessee to the cost of the Leased Premises, the net proceeds, as of such date, from the sale-of
         permanent seat licenses in the Premium Seating Campaign (as defined in the Stadium Financing

         Agreement), whether any club seat revenues are the subject of a waiver of Lessee's gate-sharing
         obligations under the NFL Constitution and, if so, the projected amount of the waiver.
         identification of any fixtures or personal property included within the Project Budget (as defined
         in the Stadium Financing Agreement) and such other informational matters as either party may
         reasonably request.



                              7.         Rental. The rent to be paid by Lessee during the term of this Lease shall
         be an amount equal to (a) Two Hundred Fifty Thousand Dollars ($250,000.00) per year during
         the Tenn of this Lease, which shall be payable on or before February 1 of each Lease Year
         except for the first Lease Year, for which such rent shall be prorated based on the number of
         days comprising the first Lease Year and shall be payable no later than thirty (30) days following
         the Commencement Date; plus (b) the amount of the expenses of operation and maintenance of
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                                                            urr-zsgile: MEMAISilaifdditEd maintenance obligations are
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          further described in Section 11.             The City and the Lessee intend that all costs, charges,

          expenses, impositions and obligations of every kind and nature whatsoever relating to the use,

          occupancy, repair and maintenance of the Leased Premises, including but not limited to, taxes

          (other than real property taxes), assessments, utility charges and expenses, insurance, operation,
          maintenance and repairs (other than those items which are defined as "Capital Repairs"), which
          may arise or become due during the term of this Lease shall be paid by Lessee, and Lessee
          hereby agrees to indemnify and save harmless the City from and against the same.


                              8.        Lessee's Representations. Lessee represents and warrants that (a) the

          execution, delivery and performance by Lessee of this Lease are within the power of Lessee,
          and have been authorized by all necessary action; (b) this Lease has been duly executed and

          delivered by Lessee; and (c) this Lease and the documents referred to herein constitute valid and
          binding obligations of Lessee. The Lessee acknowledges and agrees that except as expressly set

          forth in this Lease, there have been no representations or warranties made by or on behalf of
          the City with respect to the Leased Premises or with respect to the suitability of the Leased
          Premises for the conduct of the Lessee's business.


                              9.        Lessee's Covenants. Lessee hereby covenants that it shall comply with the
          following:


                                        (a)       Play of Games.   As additional consideration for the City's
          willingness to execute and deliver this Lease, the Lessee specifically agrees that the Browns will
          play, in the New Stadium, for not less than thirty (30) years, all regular season home games.
          Lessee also specifically agrees that the Browns will play in the New Stadium, for not less than
          thirty (30) years, all post-season, exhibition, all-star, wild-card, divisional playoff, conference

          championship, NFL Championship or other professional football games as may be scheduled,
          required, or authorized to be played in the New Stadium by the rules of the NFL, which are

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             consecutive four (4) year-period during the Term of this Lease, the Lessee specifically agrees

             that the Browns will play, in the New Stadium, no less than one-half of the number of all pre-
             season games which are played at a participating team's home stadium.


                                       (b)         Obligation to Maintain Franchise. Lessee represents that it shall

             be, as of the Commencement Date, a member in good standing of the NFL and agrees that,
             throughout the Term of this Lease, it shall:


                                                   (1)    maintain its membership and franchise in the NFL in good
                                               •
                              standing;


                                                   (2)    (i) hold, maintain and defend its rights to play professional
                               football in the City of CIeveland, Ohio, in accordance with the Rules of the NFL,
                              be obligated to play home games of the Franchise at the New Stadium in
                              CIeveland, Ohio, as provided in this Lease, (ii) not negotiate with any person or

                              do or suffer to be done anything which will cause such rights to be lost or
                              impaired or diminished in any respect, or transferred, relocated or otherwise
                              moved or (iii) not sell the Franchise to another person or entity which has the
                              then present intent to relocate, transfer or otherwise move the Franchise to any
                              other city or location, and (iv) not modify the Franchise to permit the Browns to
                              play regular season home games or post-season home games (other than as
                               required by the Rules of the NFL) in any such other city or location; and


                                                   (3)    not assign or otherwise transfer its membership and
                               franchise in the NFL unless the assignee or transferee assumes the obligations
                               without modification of Lessee under this Lease arising or accruing from and

                               after the effective date of such assignment or transfer.
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                                         (c)      Number of Games. To the extent within the control of the Lessee,

            the Lessee covenants that during the Term of this Lease, the number of regular season home
            games during any NFL season shall not be less than eight (8).


                                         (d)      Compliance with Community Development Plan. Lessee hereby

            agrees on behalf of itself, its successors and assigns that it shall, for the duration of the

            Community Development Plan, devote the Leased Premises to, and only to and in accordance

            with, the uses specified in the Community Development Plan, as the same may be amended from
            time to time. All additions, modifications and replacements made to the Leases Premises during
            the duration of the Community Development Plan shall conform thereto. Without limitation of
            Lessee's other remedies hereunder, the City's modification of or amendment to the Community
            Development Plan in a way that materially adversely affects Lessee's use of the facility as the
            venue for professional football games shall constitute a breach of Lessee's quiet enjoyment
            pursuant to Section 38.



                                         (e)      Nondiscrimination. Lessee agrees on behalf of itself, its successors
            and assigns not to discriminate against any person' or group of persons on account of race,
            religion, color, sex, sexual orientation, national origin, age, disability, ethnic group or Vietnam-
            era or disabled veteran status in the sublease, use, occupancy, maintenance, improvement, tenure
            or enjoyment of the Leased Premises.


                                         (0       Signage Plan. A complete signage plan for the Leased Premises
            shall be submitted to and approved by the City Planning Commission. That plan shall be site
            specific but shall be generally consistent with and encompass the matters addressed in the
            signage plan standards for the Gateway Sports Complex, which standards are attached as Exhibit
            C hereto.


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                                         (g)      Right of Specific Performance.         Any provision of law to the

             contrary notwithstanding, Lessee acknowledges that the City has the tight to specific
             performance of the Lessee's obligations under paragraphs (a), (b)(2), and (b)(3) and (c) of this
             Section 9 as provided in Section 22(e) of this Lease.



                               10.       Taxes and Assessments.



                                         (a)      Taxes Paid by City. The City shall be responsible for the payment

             of all real property taxes and assessments, general or special, and all impositions by any

             governmental entity or authority in the nature of or as a replacement for real property taxes
             relating to the Leased Premises. The Lessee shall cooperate with the City (but shall not be
             required to incur out-of-pocket expenses) in any application or application process relating to the

             exemption of the Leased Premises from taxation; provided that the Lessee shall not thereby be
             required to increase its obligations or reduce its rights under this Lease.



                                         (b)      City's Expenses Prior to the Commencement Date. The City, and
              not the Lessee, shall be responsible for unpaid bills or payroll of the City for work done or

             services performed at the Leased Premises prior to the.Commencement Date.



                               11.       Costs of Operations and Maintenance of the Leased Premises. All costs,
             expenses and obligations of any kind relating to the operation or maintenance of the Leased

              Premises which may arise or become due and payable during the Term of this Lease shall be

             paid by the Lessee.




                                         (a)      Costs of Operations and Maintenance. Such costs, expenses and
             obligations shall include, without limitation:
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                                                   (1)   An amount equal to the admissions tax, if any, paid or
                               payable by Lessee to the City pursuant to "Chapter 195 of the Codified
                              Ordinances of Cleveland, Ohio 1976," as amended from time to time;


                                                   (2)   The amount of any similar tax which is imposed directly on
                               the sale of tickets, and which is paid or payable by Lessee, whether city, county,
                              state or federal, and whether in the nature of an admissions tax, sales tax or
                              otherwise (other than federal, state or local income taxes, or other taxes measured

                              by income or imposed upon the privilege of carrying on or conducting business

                               in general);


                                                   (3)   The amount of any other taxes or governmental impositions

                              and charges of every kind and nature whatsoever, whether or not now customary
                              or within the contemplation of the parties, (including, without limitation, any
                              parking tax) other than the taxes that the City has agreed to pay pursuant to
                              Section 10.


                                                   (4)   Any commissions or fees paid or payable or any rebates or
                              donations given to any sponsor, promoter, charity or other person or entity for
                              or in connection with the sale or other distribution of tickets or other rights for
                               the admission of spectators to the New Stadium;


                                                   (5)   The cost of footballs, helmets or any other items distributed,
                              or any fees or charges paid or payable to any promoter, for or in connection with
                              any promotions related to admissions to the New Stadium: and



                                                   (6)   Any other costs or expenses incurred in connection with the
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                                 Without limitation of the Lessee's other remedies hereunder, the City's

              amendment or modification of the existing admissions tax ordinance or enactment of a -new .

              admissions tax ordinance such that taxes are imposed in whole or in part on admissions to the
              New Stadium that are not imposed on admissions to other entertainment venues that are subject
              to the admissions tax generally and, in particular, that are not imposed on admissions to all
              professional sports events generally shall constitute a breach of Lessee's quiet enjoyment-

              pursuant to Section 38.



                                            (b)     Services. All New Stadium services shall be operated, managed,

              supervised and paid for by Lessee. Such services shall include, without limitation:



                                                    (i)       Services for Games. Lessee shall provide, at its own cost
                                 and expense, the services for all professional football games and other events to

                                 be played in, held at, or to take place in, and to be exhibited to the public in, the

                                 New Stadium, including, without limitation:



                                                              (A)    The sale and taking of tickets for admission to each
                                            such game or event;



                                                              (B)    Customary precautions for crowd control within the
                                            New Stadium by means of providing such ushers, doormen, security

                                            personnel, emergency personnel, and special police as reasonably may be

                                            appropriate for projected attendance at each such game or event, and the

                                            City and the Lessee agree that police protection outside of the New

                                            Stadium (both on and off the Leased Premises) shall be provided at the
                                            City's sole cost and expense and that police protection at the gates to the
                                            New Stadium shall be deemed to be within the New Stadium and therefore
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                                          City shall bear the cost of any extraordinary level of police protection
                                          within the New Stadium over and above normal levels of security, which
                                          is necessitated by events outside of Lessee's control, as the City may, in
                                          its sole discretion, deem appropriate;


                                                         (C)     First-aid service for spectators at each such game or

                                          event;


                                                         (D)     Technical personnel for the operation of New

                                          Stadium systems, including public address, sound, video replay and

                                          electronic scoreboard systems for each such game or event;


                                                         (E)     Services for the use of public toilets and washrooms,
                                          and similar facilities for the media and press, and for the use of the team
                                          rooms and officials' room and adjoining showers, bathrooms and toilets,

                                          by means of providing such attendants, together with towels, soap, toilet
                                          paper and other supplies, therefor as reasonably may be necessary or
                                          appropriate;


                                                         (F)     Such other customary services pertaining to the
                                          admission of spectators to, and the use by spectators of, the premises of
                                          the New Stadium for each such game or event, as may be deemed

                                          necessary or appropriate by Lessee; and


                                                         (G)      Subject to the provisions of Section 11(b)(i)(B),
                                          coordinating, supervising, implementing and enforcing vehicular and
                                          pedestrian traffic flow into and out of the New Stadium;
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                                                (ii)   Groundskeeping. Lessee shall provide all groundskeeping

                             services with respect to the. playing area of the New Stadium and appurtenant
                             facilities. Lessee shall, at its own cost and expense, obtain and provide staff,
                             equipment and supplies as are necessary or appropriate to the provision of
                             groundskeeping services, which shall include specifically, but without limitation:


                                                       (A)   The entire cost of maintaining the surface of the
                                      playing area in a condition satisfactory for playing professional football,
                                      and all overhead costs of maintaining a groundskeeping crew and

                                      equipment.


                                                       (B)    The entire cost of preparing the surface of, and
                                      marking lines on, the playing area, and of installing and removing goal
                                      posts, team benches and otherwise.


                                                       (C)    The cost of leasing or otherwise obtaining special
                                      equipment and supplies, including field covers, for use in connection with
                                       preparing or maintaining the surface of the playing area.


                                                       (D)    The entire cost of preparation. conversion and/or
                                       restoration of the surface of the playing area with respect to any related
                                       event or activity scheduled or arranged by Lessee to be held at, or to take
                                       place in the New Stadium.



                                                       (E)    After initial construction of the New Stadium and the
                                       original placement of the surface of the playing field, the entire cost of
                                       preparing the surface of the playing area for the playing of professional
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                                                            (F)     The cost of repairing any damage to or destruction

                                           of the surface of the playing area.


                                                            (G)     The cost of providing, repairing, maintaining and

                                           replacing all lawn mowing equipment, snow removal equipment, material
                                           handling equipment and other similar equipment necessary or advisable,
                                           in the Lessee's reasonable discretion, for the proper operation and
                                        • maintenance of a football stadium.


                                                    (iii)   Cleaning and Janitorial.    Lessee, at its own cost and

                                 expense, shall provide such cleaning, janitorial and ordinary maintenance services
                                 as may be necessary or appropriate to keep the Leased Premises clean and in

                                 good order for the purposes for which Lessee has been granted the right to use
                                 and occupy the same.


                                                    (iv)    Utilities.
                                                            (A) The City shall cause to be supplied such water and
                                          electric utility services, sewer, drainage or other utility services as may
                                           be necessary or appropriate for the operation of the Leased Premises. The
                                           City shall supply such utility services as are necessary for the operation
                                           by the Lessee, at Lessee's expense, of lighting and operating spectator
                                           facilities, for television and radio broadcasting for cable television and
                                           telephone and for the operation of all other New Stadium services,
                                           premises and facilities, including without limitation, ordinary heating and
                                           air conditioning, ventilating, hot water, water, plumbing and drainage

                                           services and facilities for the home and visiting team rooms and officials
                                           room, and field lighting for the playing area satisfactory for the playing
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                                         utility services at its own cost and expense. The City shall cause the

                                         services for utilities at the New Stadium to be separately metered, and
                                        shall cause the same to be billed directly to Lessee. Lessee shall obtain
                                         and maintain at its sole cost and expense such telephone service, including

                                         field telephones,' as it may deem appropriate, provided that it shall be
                                        entitled to use, at its own cost and expense, all appliances included in the
                                         construction of the New Stadium. Lessee shall also be solely responsible

                                         for obtaining, and for the payment of all charges (including deposits),
                                        programming fees and service charges for the use of, cable television
                                         incurred by Lessee or its sublessees.


                                                       (B) The City shall use its best efforts to assure that such
                                        services are provided or supplied pursuant to the foregoing provisions of

                                        this Section 11, free from any interruption or suspension. In the event of
                                        the failure or inability of the City to obtain, procure, supply or provide

                                        any such service for a period of ten (10) consecutive days or less, or in
                                        the event of any interruption or suspension in the provision or supply
                                        thereof for a period of ten (10) consecutive days or Iess, due to the
                                        making of the improvements and repairs described in Section 14 below,
                                        or due to any necessary repairs, renewals, extensions or improvements to
                                        the facilities required to be made by the City hereunder which are used in
                                        providing any such service, or any shortage of fuels or supplies, or any
                                        strike, lockout, act of God or war, governmental rules, regulations,
                                        decrees or statutes, or any other cause or causes reasonably beyond the
                                        control of the City, the City shall not thereby be deemed or considered to
                                        have incurred any liability to Lessee for damages whatsoever, so long as

                                         it has complied with the provisions of this Section 11(b)(iv)(B), nor shall
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                                         Lessee be deemed to have been evicted or unreasonably disturbed in its

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                                  use and occupancy of the Leased Premises, or be entitled to any deduction
                                  or setoff against the charges to be paid to the City hereunder, or, except
                                  as hereinafter provided, otherwise relieved from the performance of its
                                  covenants, duties and responsibilities hereunder.     Notwithstanding the
                                  foregoing, the City shall undertake and diligently pursue all reasonable

                                  steps to minimize the effect of any such failure, interruption or suspension
                                  of service and to restore the same. In the event that any interruption or
                                  suspension in the provisions or supply of services for utilities at the New
                                  Stadium renders the New Stadium unusable for the playing of regular
                                  season home games, Lessee's covenant under Section 9(a) of this Lease
                                  shall be suspended commencing on the date of such interruption or
                                 suspension and continuing, based on the nature and severity of the
                                  interruption, but in no event beyond the date that is fourteen (14) calendar
                                  days after the date the provision or supply of services is fully restored.

                                  Moreover, in the event of such an interruption or suspension, the City
                                 shall work cooperatively with the Lessee to identify substitute facilities

                                  reasonably acceptable to the Lessee for the playing of Lessee's regular
                                 season home games and shall facilitate the arrangements between the
                                  Lessee and the owner of such site.


                                         (v)     Services to Suites and Club Seats. Lessee, at its own cost
                          and expense, shall provide all guest services to the suites and club seats.


                                         payment by Lessee. The Lessee covenants and agrees from and
           after the Commencement Date, at its own cost and expense, to pay to the utility company or
           companies supplying the same, as the same become due and payable and before any fine,

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             gas, electric and sewer rents, rates and charges, charges for utilities, becoming due and payable
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             out of, or in respect of, or becoming a lien on the Lease or Leased Premises, payable as a result
             of Lessee's use or occupancy of the Leased Premises.


                                         The Lessee may, if it disputes the amount or validity of any charges,

             penalties or claims, described in Section 11(c), contest and defend against the same at its cost,

             and in good faith diligently conduct any necessary proceedings to contest, prevent, and avoid

             the same, and to withhold the payment thereof pending final determination and shall immediately
             discharge and remove any lien arising or attaching. On final determination of any claims, the

             Lessee shall immediately pay any judgment rendered with all proper costs and charges and at

             the Lessee's sole expense.



                                         (d)       Maintenance and Repairs. The maintenance and repair obligations

             of the Lessee pursuant to this Section 11(d) shall include all Work not defined as a Capital
             Repair pursuant to Section 14(a).


                                                   (i)    The Lessee shall, at its own cost and expense, provide all

                                routine maintenance to ensure compliance with the terms of this Lease and in

                                order to maintain the Leased Premises. Such routine maintenance shall comprise

                                and include, without limitation, providing routine maintenance to the Leased

                                Premises, and all alleyways, passageways, walkways, promenades, parking areas,

                                plazas, sidewalks, curbs and vaults contained on the Leased Premises, and Lessee
                                shall keep the same in good order and clean, sanitary and safe condition, except
                                for reasonable wear and tear.             All repairs, maintenance, replacements,
                                restorations or renovations made by Lessee shall be at least equivalent in quality,
                                workmanship and class to the original work.



                                                   (ii)   Lessee shall put, keep and maintain all portions of the
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                                           rremises ana       e sideways, walkways, promenades, parking areas,

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                              plazas, curbs, alleyways, vaults and passageways adjoining the same in a clean,
                              safe and orderly condition, free of accumulations of dirt, rubbish, snow, ice and
                              unlawful obstructions. Maintenance shall be performed in a nonintrusive and
                              noncorrosive manner.


                                                 (iii)    The Lessee shall, at its own cost and expense, keep, replace
                              and maintain in good and safe repair, order and condition all present and future

                              improvements on the Leased Premises including, but not by way of limitation, the
                              playing surfaCe of the New Stadium, building, fixtures, windows, doors, parts

                              and, equipment, electrical systems, plumbing, ventilation, heating and air

                              conditioning, sprinkler systems, lighting and seating, scoreboard and signage,
                              irrigation and sewage system, parking areas, landscaping on the Leased Premises,
                              driveways and access roadways on the Leased Premises, and utility lines and
                              connections, both inside and outside, extraordinary and ordinary.


                                                 (iv)     The Lessee shall not suffer or permit wasting, damages or
                              injury and shall, at its own cost and expense, use all reasonable precautions to

                              prevent waste, damage or injury.



                                                 (v)      The Lessee shall, at its own cost and expense, operate the
                              illumination systems for parking or pedestrian areas situated on the Leased
                              Premises during and for a reasonable time before and after events at the New

                              Stadium.


                                       (e)       Permits and Authorizations. The Lessee shall, at its own cost and
          expense, make all required applications, petitions and other filings as necessary and shall obtain
          and maintain all permits, licenses and other authorizations necessary fully to enjoy the uses and
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             penetits or the i.e             Premises other than the permits and authorizations        for the initial
                                                         :.
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           construction of the New Stadium or otherwise relating to periods prior to the Commencement
            Date, which shall be the obligation of the City.


                                        (0        Alterations.
                                                  (I)    The Lessee shall, at its sole cost and expense, be permitted

                               to make changes to or alterations in, or additions or, improvements to, the Leased
                               Premises as provided in this subsection. Alterations, additions or improvements
                               affecting the structure of the New Stadium shall not be made without the prior

                               written consent of the City. The Lessee shall deliver to the City, with a copy to
                               the President of the Council of the City, written notice of any such other change,
                               alteration, addition or improvement in excess of $100,000. Lessee shall make no

                               structural changes or alterations in, or additions or improvements to, all or any
                               part of the New Stadium or the Leased Premises without, in each such instance,

                               first making a written proposal to the City specifying the proposed work. The
                               City shall review such request, through its Director of Parks, Recreation and
                               Properties, and determine, in its reasonable judgment, whether to permit such
                               alteration to be made. The City agrees that it will not unreasonably withhold,
                               delay or condition its review and determination. The City shall make such
                               determination within thirty (30) days of its receipt of the written request from the

                               Lessee. If The City determines that such structural alteration may be made, the

                               City shall so notify the Lessee, within such thirty-day period.           If the City •
                               determines that such alteration may not be made, the City shall deliver, within
                               such thirty-day period, a written determination to that effect to the Lessee
                               including its reasons for such determination. The Lessee may, but shall not be
                               required to, make any modifications or revisions to its request and resubmit such
                               request to the City for determination in the same manner provided above.


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                                                     (ii)      The Lessee shall work with the City's architect to prepare

                                construction drawings and specifications for making all alterations requiring the

                                City's consent (the "Alteration Plans"). The Lessee shall be responsible for
                                paying the architect's fees and expenses and all other costs associated with
                                making the alterations.            The Lessee agrees that such Alteration Plans shall

                                conform to the minimum standards at such time for then-existing NFL stadia
                                generally (the "Stadium Standards"). The Lessee shall cause the Alteration Plans

                                to be prepared and delivered to the City within thirty (30) days after the City's
                                determination pursuant to Section 11(0(i) above. The City shall have the right

                                to review the Alteration Plans to assure compliance with the Stadium Standards.

                                In the event the City reasonably believes that the Alteration Plans do not conform
                                to the Stadium Standards, the City shall so notify the Lessee of its determination

                                within thirty (30) days after the Alteration Plans are delivered to the City. The

                                City agrees that it will not unreasonably withhold, delay or condition its review
                                and approval. In the event that the City and the Lessee disagree concerning any
                                portion of the Alteration Plans, such dispute shall be. settled in accordance with
                                Section 14(e).              The Lessee shall not have the right to proceed with the
                                construction of the alterations as proposed in the Alteration Plans until it has
                                obtained all necessary consents and approvals from the City and its various
                                departments, commissions, agencies, boards and officers in accordance with the
                                terms of this Lease.


                                                     (iii)     After the Alteration Plans have been reviewed and
                                approved, the Lessee agrees to cause the alterations to be made and carried out

                                 in accordance with such Alteration Plans. The Lessee shall have the right to
                                select and enter into contracts with any and all contractors, subcontractors,
                                suppliers, vendors, architects, engineers, construction manager, project managers,
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                                consultants or other entities or individuals with respect to the completion of the

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                             alterations, all with the prior reasonable approval of the City. The Lessee shall

                             require and obtain from its contractor(s) engaged to construct the alterations
                             performance and payments bonds (or insurance or other security), in an amount

                             equal to one hundred percent (100%) of the amount of the contracts if reasonably
                             available or otherwise in an amount that is reasonably available, for recovery of
                             actual and liquidated damages, including but not limited to damages for delay that
                             may be claimed by the Lessee or the City. In addition, the Lessee shall require
                             and obtain from its contractor(s) and subcontractor(s) engaged to construct the
                             alterations insurance with the same types of coverages, terms and conditions as
                             provided in Section 19, with the City as an additional insured, except that the
                             limits of coverage may be adjusted and the types of coverage may be increased,
                             as reasonably acceptable to both the City and the Lessee, in accordance with the

                             cost and nature of the work to be performed by the contractor(s) or
                             subcontractor(s) in order to protect the interests of the Lessee and the City,

                             respectively. The Lessee shall use its best efforts to obtain for the benefit of the
                             City and the Lessee from each contractor and subcontractor standard commercial
                             warranties for all work performed by such contractor or subcontractor.


                                              (iv)     Any such change, alteration, addition or improvement so
                             permitted shall be made in good and workmanlike manner and in compliance with
                             all applicable permits, authorizations, building and zoning laws or ordinances and
                             with all other laws, ordinances, orders, rules, regulations and requirements of all
                             federal, state, municipal or other local governments, and their duly constituted

                             departments, commissions, agencies, boards and officers. The Lessee agrees to
                             permit the City to observe all such work, but the City shall have no obligation to

                             do so.

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                                 (g)      Maintenance Audit.         Commencing on the January 1 after the
             Commencement Date and on each anniversary of the Commencement Date thereafter during the

             term of this Lease, the Lessee shall, at its own cost and expense, provide the City, and the
             President of the Council of the City, with a maintenance inspection report on the New Stadium
             from a licensed engineer, reasonably acceptable to the City, having at least ten (10) years of
             experience in performing maintenance inspections of commercial buildings, including stadia, and

             otherwise qualified to provide the information required hereunder (the "Maintenance Engineer").

             The Maintenance Engineer shall report on the condition of the structure and each capital
             component of the Leased Premises, which report shall include suggestions for any current
             maintenance work that is necessary to the Leased Premises (such report, the "Maintenance
             Audit"). The Lessee shall maintain a log for the Leased Premises, which log shall include a
             copy of all Maintenance Audits as well as a record in reasonable detail of all maintenance work
             undertaken by the Lessee or the Lessee's agents or representatives.



                                (h)       New Owner as Lessee shall sign and deliver the then. existing Common
             Area Maintenance Agreement simultaneously with the signing of written instruments evidencing
             the assumption of this Lease by the New Owner.


                                12.       Revenues from Operations of Leased Premises. As between the City and
             the Lessee, the Lessee shall receive one hundred percent (100%) of all revenues from New
             Stadium operations, whether direct or indirect (through sublessees or otherwise) excluding,
             however, any revenues from City Events. Revenues to be received by Lessee shall include,
             without limitation:



                                          (a)       Ticket Sales. "Gross revenues*, as hereinafter defined, paid or
             payable to Lessee, or to any other person or entity entitled or authorized to receive the same by,

             through or on behalf of Lessee, for or with respect to the admission of spectators to any
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             professional football game             played or scheduled to be played in the Stadium, whether regular

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             season, pre-season, post-season, exhibition, all-star, divisional playoff, conference championship,
             NFL Championship or otherwise, or to any related event authorized or permitted to be
             conducted or scheduled to be held by Lessee in the New Stadium and for which a separate

             charge or fee for admissions is received or receivable by Lessee.



                               As used in this Section 12(a), the term "gross revenues* shall be defined and

             construed to mean gross receipts, specifically including, without limitation:



                                        (1)      All sums of money, after the payment of admissions taxes, received
                               or receivable from the sale of tickets or other rights for admission to the New
                               Stadium, regardless of whether such tickets or rights have been presold and
                               donated or returned or otherwise transferred prior to such sale, but excluding any
                               sums refunded to purchasers of tickets for tickets returned prior to the exhibition

                               of the game or event to which the same pertain, all subject to the Lessee's
                               commitment to make certain tickets available to the community free of charge as

                               described below;



                                        (2)      All fees or royalties paid or payable by any sponsor or promoter

                               for or in connection with the right or privilege of selling or distributing tickets

                               or other rights for admission to the New Stadium;



                                        (3)      All service charges or other fees charged by Lessee for passes for

                               admission or ticket exchanges;


                                        (4)      Any and all other amounts received or receivable for or with
                               respect to the admission of spectators to the New Stadium; and


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                                   (5)    The value of all credits, tradeoffs, setoffs, and other economic
                           benefits received in lieu of cash.



           It is lessee's intention to make available free of charge a "reasonable number" of tickets for
           each game played at the New Stadium to a nonprofit or civic organization for distribution to
           low-income or disadvantaged persons. Such "reasonable number" shall be determined by Lessee
           in light of NFL policies limiting the number of complimentary tickets and competing needs for
           complimentary tickets, but shall in no event be less than two hundred and fifty (250) tickets per

           game.


                           Lessee shall have full charge, authority and responsibility for the printing,
           wording, custody, sale and distribution of tickets for admission to all professional football games

           played by the Browns, and to all events or activities scheduled or arranged by Lessee to be held

           at or to take place in the New Stadium. Subject to the free ticketS described above, Lessee shall
           have full discretion and authority with respect to establishing the prices to be charged for tickets

           for admission, including promotional and charitable sales and distributions.             Subject to
           provisions in the Stadium Financing Agreement regarding the sale of PSLs, Lessee shall have
           full discretion and authority with respect to establishing the time, place, manner of ticket sales
           and eligibility to purchase tickets.


                                   (b)    Licensing and Broadcasting. All fees and revenues from all radio
            and television licensing and broadcasting and other forms of telecommunications activities.


                                   (c)    Advertising Scoreboard(s) and Signage. All fees and revenues
            from advertising, signage (permanent or temporary) in or on the New Stadium or the Leased
            Premises, including without limitation, scoreboard, screens, banners or displays, time clocks,

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            from which Lessee produces any advertising revenues throughout the entire year.
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                                           (d)       Food. Drink and Other Concessions.      All revenues from and

              charges for food and beverages, including alcoholic beverages (subject to all applicable licensing
              requirements). all game programs, yearbooks, and similar publications relating to the Browns,

              the NFL or otherwise.


                                           (e)       Novelty Sales. The proceeds of the sale of products including,

             without limitation, NFL novelties and licensed products, to the general public.



                                           (f)       Premium Seating Payments. Revenues from all suite or club seats

              located, or to be located, in the New Stadium; provided, that with respect to the suites and club

             seats to be part of the New Stadium, the initial licensing and/or leasing shall be undertaken as
             described in the Stadium Financing Agreement. Lessee acknowledges that its rights to the
             Leased Premises are subject to the rights of the lessees or licensees under those premium seating
              leases or licenses and the Lessee will by assignment accept and assume all the obligations and
             liabilities of the lessor or licensor under those leases or Iicenses. Except with respect to the

             initial term of any leases or licenses assumed pursuant to the previous sentence, Lessee shall

             have full charge, authority and responsibility to lease, rent, license, sell or otherwise grant the

             right to use the suites and club seats and to establish the price or prices to be charged therefor,

             and Lessee shall be entitled to lease, rent, license, sell or otherwise grant the right to use each

             suite and club seat to such persons or entities, for such term or period of time, and upon such
              terms and conditions as it, in its sole discretion, deems desirable.



                                 Net Proceeds from the sale at any time of permanent seat licenses ("PSLs") in
              excess of $35 million shall be (1) paid to the City and applied by the City first to reimburse any
             draws from the Capital Repair Fund made for the purpose of obtaining funds to pay the initial

              costs of construction of the New Stadium and (ii) then shall be paid to the City and applied by
              the City to reduce its contribution to the initial costs of construction of the New Stadium (by
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                 redemption (in whole or in part) of the principal amount then outstanding under those Financing
                 Agreements, or as a credit toward future payments under those Financing Agreements).

                 "PSLs" shall refer only to the purchase for monetary consideration of a right or license that
                 entitles the owner thereof to purchase specific seating tickets for some or all New Stadium events

                 operated by the Lessee, its affiliates or licensees, for a period of years. Lessee acknowledges

                 that its rights to the Leased Premises are subject to the rights of licensees under the PSLs, and

                 the Lessee will by assignment accept and assume all the obligations and liabilities of the licensor

                 under the PSLs.


                                        (g)    Naming Rights for the New Stadium. All revenues received from

                 marketing the name of the New Stadium. The Lessee has the right to market the name of the

                 New Stadium as the venue for the Browns' NFL games. Any name chosen by Lessee shall be
                 consistent with the NFL's then current policy with respect to the promotion and image of

                 professional football taking due account of the fact that the game has substantial interest and
                 appeal to youth. The Lessee shall use commercially reasonable efforts to sell naming rights to

                 a telecommunications company, financial institution, technology company, airline or other
                 transportation company or major Cleveland-area employer. The Lessee shall not permit any

                 name to be given to the. New Stadium without prior approval of the City Council, which
                 approval shall not be withheld unless the proposed name (1) violates applicable law or (ii) would

                 reasonably cause embarrassment to the City (such as names containing slang, barbarisms or
                 profanity, that could be construed to encourage the use of tobacco or alcohol by minors, that

                 relate to any illicit drugs or any sexually oriented business or enterprise, or that contain an overt

                 political reference). The City shall be deemed to have given its approval to any name requested
                 by the Lessee unless, within thirty (30) days following the Lessee's request for such approval,
                 the City notifies the Lessee of its disapproval and furnishes a written explanation, in reasonable
                 detail, of the reasons why such name violates applicable law or would reasonably cause

                 embarrassment                                                           may not condition its
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          approval upon receipt of any consideration from either the Lessee or the party acquiring the

          naming rights.


                                 (h)    Prorrintions. All revenues, fees and charges from promotional

          activities relating to Browns and non-Browns activities.


                                 (i)    Other Events. Except for City Events, all revenues, fees and

          charges from all sporting, entertainment and other events held in the New Stadium including,
          without limitation, New Stadium rent, tickets, ticket surcharges, concessions, programs,
          novelties, and advertising.


                           13.   Existing Pedestrian Walkway. The City shall undertake to maintain in a
          safe and prudent manner that certain existing pedestrian walkway extending from the Mall "C"
          ("Walkway") over certain railroad rights and under the Cleveland Memorial Shoreway to the

          Leased Premises.


                         14.     Capital Repairs.


                                 (a)    Definition of Capital Repairs. Subject to the provisions of this
          Lease, including without limitation Sections 14(f) and 22(h), all Capital Repairs and, to the
          extent provided in Section 14(h), Emergency Repairs, shall be made by the City at the times and

          subject to the procedures and limitations specified in this Section 14, including without limitation
          Section 14(f). The principal source of funds for Capital Repairs shall be the Capital Repair
           Fund. The Capital Repair Fund shall be established and funded by the City as provided herein

          and (except as provided in Section 19(b)) shall be available only to make Capital Repairs. The
          Capital Repair Fund shall not be used for ordinary maintenance and repair obligations or for
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      .    "Capital Repairs" shall be defined as all Work for:
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                                       (i)     prudent and extraordinary repairs;


                                       (ii)    repairs that have a useful life of greater than seven (7) years;


                                       (iii)   repairs that are necessary, in the Lessee's reasonable judgment, to
                                               maintain the roof, foundation and the structural integrity of the

                                               New Stadium and preserve its usefulness for the purposes for
                                               which it is being leased hereunder;


                                       (iv)    all "Capital Improvements," which are defined as all capital

                                                modifications or additions to the existing facilities in the New

                                               Stadium that maintain both the economic competitiveness of the
                                                New Stadium and its revenue potential as compared to other NFL
                                               stadia generally and create new revenue enhancing opportunities
                                               consistent with those provided in the top one-half of NFL stadia

                                               generally, and including modifications and additions that are
                                                intended to reduce the cost of the operation and maintenance of the
                                                New Stadium; and


                                       (v) •   such modifications or additions required by applicable City of

                                                Cleveland, County of Cuyahoga, State of Ohio or federal laws,
                                               rules, regulations, or building codes, including accommodations

                                                required to be made under the Americans with Disabilities Act of

                                               1990, as amended.


                              Capital Repairs shall also include:

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                                      (A)         painting or application of protective coatings no more often than once
                                                  every five (S) years;



                                      (B)         after exhaustion of claims against any third parties, items covered under
                                                  warranty and items that are the result of unsatisfactory work on the initial
                                                  construction of the New Stadium and replacements caused by settling i.e.,
                                                  broken glass, cracked windows, concrete);


                                      (C)         replacement of carpeting no more than once every five (5) years;



                                      (D)         repairs to or replacement of the playing surface of the New Stadium but

                                                  only if such repair or replacement is required as a result of the City's
                                                  construction of other Capital Repairs;


                                      (E)         upgrades of components to field lighting and the scoreboard (including
                                                  message board, bulbs and circuit breaker panels) no more often than once
                                                  every ten (10) years; and



                                      (F)         cleaning of the exterior facade of the New Stadium no more often than
                                                  once every ten (10) years.


              Notwithstanding the foregoing, for the first ten (10) years following the Commencement Date,
              no Capital Improvements shall be deemed to be Capital Repairs; provided, however, that

              modifications or additions to existing television or cable broadcasting infrastructure and field
              lighting systems may be deemed to be Capital Repairs during such ten-year period if such
              modifications or improvements are required by NFL standards that apply generally to all stadia
                in which NFL football games are played.
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                             Capital Repairs shall not include:


                             (H)     items that would otherwise be Capital Repairs but that are necessitated by
                                     the actions of the Lessee and are not attributable to ordinary wear and

                                     tear;


                             (I)     periodic painting or the application of protective coatings more frequently
                                     than once every five (5) years;


                             (J)     repairs to carpeting or replacement of carpeting more frequently than once

                                     every five (5) years;



                             (K)     repairs to or replacement of the playing surface within the New Stadium

                                     (unless such repair or replacement is required as a result of City's
                                     construction of other Capital Repairs);


                             (L)     upgrades to components of the scoreboard more frequently than once
                                     every ten (10) years;


                             (M)     upkeep of the exterior facade of the New Stadium, or cleaning the exterior
                                     facade of the New Stadium more frequently than once every ten (10)

                                     years;



                             (N)     routine maintenance of plumbing systems, electrical systems, mechanical

                                     systems or heating, ventilation or air conditioning systems; or



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                                     in any public restaurants in the New Stadium.
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                                           (b)       Proposal of Capital Repairs. Either the City or the Lessee may

            propose that Capital Repairs be made to the Leased Premises. If either the City or the Lessee

            knows of or discovers any legal requirements necessitating a Capital Repair, or any condition
            or defect in, damage to, or alteration of the physical structure, fixtures, appurtenances,
            machinery, equipment, furniture, systems, surfaces or any other component of the Leased

            Premises necessitating a Capital Repair, such party shall promptly notify the other of such legal
            requirement or condition. If the Lessee proposes the Capital Repair, it shall submit its request
            in writing to the City specifying the proposed work and representing that such work falls within

            the definition of Capital Repairs set forth in Section 14(a). Proposals for Capital Repairs must
            include cost estimates, preliminary design work (to be followed'by more detailed plans) and
            proposed timetables. The cost for the preliminary design work is reimbursable from the Capital
            Repair Fund if the Work qualifies as a Capital Repair. The City shall review such request and
            determine, in its reasonable judgment, whether such proposed work is a Capital Repair. The

            City agrees that it will not unreasonably withhold, delay or condition its review and
                                                                                                .
            determination. The City shall make such determination within thirty (30) days following
                                                                                                  1 its

            receipt of the written request from the Lessee. If the City agrees that such proposed work is a
            Capital Repair, the City shall notify the Lessee, within such thirty-day period, and proceed with
            such work as described in Section 14(c). If the. City does not agree that such proposed work is
            a Capital Repair, the City shall deliver, within such thirty-day period, a written determination
            to that effect to the Lessee including its reasons for such determination. Failure by the City to
            respond shall be deemed to be a denial of the proposal. The Lessee may, but shall not be

            required to, make any modifications or revisions to its request and resubmit such request to the
            City for determination in the same manner provided above; provided that the City's time for
            making its determination on such resubmission shall be fifteen (15) days rather than thirty (30)
            days following receipt of request. Any change to the Capital Repair requested by the Lessee
            during the process of proposal of the Capital Repair shall be submitted and considered in the

            same manner provided above. If the City proposes the Capital Repair, it shall submit its

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               such work to be a Capital Repair as defined in Section 14(a). The proposal shall include cost
               estimates, preliminary design work and proposed timetables. The City agrees to cause Capital
               Repairs to be made in such a way so as to minimize interference with Lessee's use of the Leased
               Premises. • The City shall use reasonable efforts (except in case of an emergency) to make all
               Capital Repairs other than during the NFL regular season. The Lessee shall be prohibited from

               pursuing any cause of action against the City for failure to make Capital Repairs, unless the
               Lessee has complied with the procedures set forth in this Section 14.


                                         (c)     Preparation of Capital Repair Plans. The City shall work with its

              architect, which may be either an employee of the City or an outside consultant, to prepare
               construction drawings and specifications for making all Capital Repairs (the "Capital Repair
               Plans").    The City, through the Capital Repair Fund, shall be responsible for paying the
              architect's fees and expenses and all other costs associated with making the Capital Repair Plans.

              The City and Lessee agree that such Capital Repair Plans for Capital Repairs other than Capital
              Improvements shall propose commercially reasonable repairs viewed in light of the then-expected

               remaining useful life of the Stadium (the "Capital Repairs Standard"). The Capital Repair Plans

               for Capital Improvements shall conform to the standards described in Section 14(a)(iv). The

               City shall cause the Capital Repair Plans to be prepared and delivered to the Lessee within one
               hundred twenty (120) days after the City's determination pursuant to Section 14(b) above. The
               Lessee shall have the right to review the Capital Repair Plans to assure compliance with the
               Capital Repairs Standard, that the Capital Repair Plans will not materially adversely affect
               Lessee's use of the New Stadium for its intended purposes, and, with respect to a Capital
               Improvement, that such Capital Repair is otherwise reasonably acceptable and in accordance with
               Section 14(a)(iv). The Lessee agrees that it will not unreasonably withhold, delay or condition
               its review and approval of such Capital Repair Plans. In the event the Lessee reasonably

               believes that the Capital Repair Plans do not conform to the Capital Repairs Standard or with

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               Capital Repair Plans will materially adversely affect the Lessee's use of the New Stadium for
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        its intended purposes, the Lessee shall so notify the City of such determination within thirty (30)
        days after the Capital Repair Plans are delivered to the Lessee. In the event that the City and

        the Lessee disagree concerning any portion of the Capital Repair Plans, such dispute shall be
        settled in accordance with Section 14(e); provided that while the dispute is pending, the City
        shall not have the right to proceed with the construction of the Capital Repairs as proposed in

        the Capital Repair Plans (other than in an emergency).


                                    (d)      Construction of Capital Repairs. After the Capital Repair Plans

        have been reviewed and approved or otherwise established, the City agrees to cause the Capital
        Repairs to be made and carried out in accordance with such Capital Repair Plans. The City

        shall have the exclu.sive and unconditional right to control the site on which the Capital Repairs
        will be made; provided, however, the City shall conduct such Capital Repairs so as to prevent
        or at least minimize as much as practicable (a) inconvenience to patrons of NFL games and other
        events at the New Stadium; (b) any reduction in seating capacity and parking spaces at the New

        Stadium and (c) interference with Lessee's (or event patron's) use or enjoyment of the New
        Stadium. The City shall have the exclusive right to select and enter into contracts with any and

        all contractors, subcontractors, suppliers, vendors, architects, engineers, construction manager,

        project managers, consultants or other entities or individuals with respect to the completion of
        the Capital Repairs. The City shall use its best efforts to obtain for the benefit of the City and

         the Lessee from each contractor and subcontractor commercial warranties for all work performed

         by such contractor or subcontractor. Capital Repairs must be completed to a standard of quality

         which is the same as that of the original component in the case of Capital Repairs other than

        Capital Improvements or of the same condition as the other capital components of the Leased

         Premises in the case of Capital Improvements.             In the event that the work completed is
        unsatisfactory then all            reasonable remedies must be sought against the contractor or
        subcontractor.        The City shall use its best efforts to ensure the work performed by each
         contractor and subcontractor is performed in a good and workmanlike manner and in accordance

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         applicable zoning. health, environmental and all other governmental regulations, ordinances or
         statutes.


                                   After the proposal of the Capital Repairs by the Lessee, the Lessee shall

         have the right to request only such changes in the Capital Repair Plans as are required by
         unforeseeable circumstances by submitting to the City a written request for a change order. If

         the proposed change is acceptable to the City, in its sole and absolute discretion, the City shall
         prepare a change order and cause the Capital Repair Plans to be revised accordingly.


                                   (e)     Resolution of Disputes. The City and the Lessee agree to attempt

         in good faith to resolve any disagreement with respect to alterations referred to in Section 11(f)
         and with respect to Capital Repairs referred to in this Section 14 promptly by negotiations
         between the City's representative and the Lessee's representative who each has been designated
         to settle the disagreement. Within ten (10) business days after receipt by one parry of the

         determination or notice from the other referred to in Section 11(f), Section 14(b) or Section
         14(c), respectively, the party receiving the determination or notice shall deliver to the other the
         required written response. The determination or notice and the response shall include (i) a
         statement of such party's position and a summary of the evidence and arguments supporting its

         position, and (ii) the name(s) and title(s) of the authorized representatives who will represent that

         party. The authorized representatives shall meet at a mutually acceptable time and place within
          five (5) business days of the date of the response and thereafter as often as they reasonably deem
         necessary to exchange relevant information and to attempt to resolve the disagreement. If the
          disagreement has not been resolved within thirty (30) calendar days of the first meeting of the
         authorized representatives on the disagreement, then the disagreement shall be settled by

         arbitration conducted before three (3) arbitrators in accordance with the then existing rules of
         the American Arbitration Association.            Such arbitrators shall be required to review such
         disagreement against the Capital Repairs Standard or, with respect to Capital Improvements,

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          Section 14, including Section I4(1). In any arbitration, the parties shall be entitled to conduct
          discovery in accordance with the applicable rules of the Federal Rules of Civil Procedure, with

          such modifications thereto as may be mutually agreeable to the parties. In the event the parties

          are unable to agree on the three arbitrators, the parties shall select the three arbitrators by

          striking alternatively (the first to strike beipg chosen by lot) from a list of thirteen arbitrators
          designated by the American Arbitration Association. Each of the parties to the arbitration shall

          bear the cost of the arbitration on such equitable basis as the arbitrators of the matter shall
          determine. Notwithstanding the foregoing, nothing in this Agreement shall preclude any parry
          from filing any action in a court of competent jurisdiction seeking any temporary restraining

          order or preliminary injunction.



                                      (f)      Capital Repair Fund.



                                               (1)   The City shall establish a Capital Repair Fund as a
                             segregated fund of the City, separate and apart from other funds of the City. The

                             City shall annually deposit in the Capital Repair Fund the amounts shown on

                             Schedule 14(f) (as such Schedule may be modified by the City to account for

                             advance contributions in accordance with this subsection (f)), less amounts

                             redirected from the Capital Repair Fund to the costs of constructing the New

                             Stadium as described in Section 3.6 of the Stadium Financing Agreement.



                                               (1)   The funds in the Capital Repair Fund shall be invested by
                                      the City in the same manner as other City funds. Investment income
                                      earned on the amounts in the Capital Repair Fund shall remain in the

                                      Capital Repair Fund and shall not be used as a credit against future

                                      contributions. The City and the Lessee shall, prior to the Commencement
                                      Date, jointly develop an initial Capital Repair Fund Budget, which shall

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                                        aggregate Capital Repair Fund as between Capital Improvement items and

                                         other Capital Repair items, schedules showing the various components of
                                         the improvements for which reserves should be established, appropriate
                                         reserves over the Term of the Lease for certain Capital Repairs that are

                                         not Capital Improvements (the "Reserves"), and any portions of the
                                         Reserves that the City believes will or may need to be used for Capital
                                         Repairs during any particular calendar year. Each year, after reviewing
                                         the then current Capital Repair Audit (as defined in Section I4(g)) and
                                         written requests by the Lessee for Capital Repairs, the City shall propose
                                         revisions to the Capital Repair Fund Budget. The Lessee shall have the
                                        opportunity to review and approve such proposed revisions to such
                                         percentages, schedules and Reserves, which approval shall not be
                                         unreasonably withheld, delayed or conditioned. The City and the Lessee
                                        agree to work together in good faith to agree on such percentages,
                                        schedules and Reserves. As provided in the NFL Agreement, in the event
                                         that any amount of the Capital Repair Fund is used for the initial
                                        construction of the New Stadium, a minimum amount of $500,000.00
                                        should remain available for Capital Repairs upon completion of the New
                                        Stadium.


                                                   (2)   The City shall proceed with reasonable diligence to make
                                        all Material Capital Repairs.


                                                   (3)   If the Capital Repair is a Capital Improvement, the City
                                         shall be obligated to make such Capital Improvement only if funds other

                                         than Reserves and other than those previously allocated for Capital

                                         Repairs are available in the Capital Repair Fund. If sufficient funds are
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                                         not then available in the Capital Repair Fund, the Lessee shall have the
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                                      right, but not the obligation, to fund the shortfall for such Capital

                                      Improvement as provided in Section I4(i). In no event shall the City be
                                      required to make Capital Improvements to the Leased Premises in excess

                                      of the amounts allocated to Capital Improvements in the Capital Repair
                                      Fund Budget.


                                              (4)    If there are not adequate funds available in the Capital
                                      Repair Fund (net of amounts committed for use) to cover the cost of a

                                     Capital Repair that is not a Capital Improvement or a Material Capital
                                      Repair, the City shall make the repair as soon as it is practical and
                                      prudent to do so, in the City's reasonable discretion, taking into account
                                     the City's responsibility as owner of the Stadium facility, the fiscal
                                     constraints of the City and the amount of Reserves then available and the

                                      amount of Reserves projected to be needed for other Capital Repairs
                                      pursuant to the Capital Repair Plans. To the extent that the City makes
                                     any Capital Repairs costing more than the amounts then available in the

                                     Capital Repair Fund to pay for such repairs, the City may pay for such
                                     Capital Repairs with advances of deposits scheduled to be made in future
                                     years, whereupon the City shall be permitted to revise the Capital Repair
                                     Fund amounts set forth on Schedule 14(f) and reduce dollar for dollar
                                     such deposits scheduled to be made in the future.


                                              (ii)   Any amounts from the Capital Repair Fund applied toward
                             the construction of any Capital Repair may be distributed to the Lessee, to third
                             parties or to the City as provided in this Section 14(f). The amounts payable
                             shall be reimbursed, to the extent available from the Capital Repair Fund,
                             following the Lessee's or the City's submission in writing to the City (or, the

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                                                          (1)   a summary of bills aggregating the total for which

                                        a reimbursement is being requested;


                                                          (2)   a copy of each individual invoice from any architect,

                                        contractor or engineer or any other person charging a fee for work
                                        performed pursuant to Section 14;


                                                          (3)    lien releases in a form reasonably satisfactory to the

                                        City, executed by such architect, contractor or engineer relating to

                                        invoices previously paid pursuant to a pay request; and




                                                          (4)    requisitions for work completed which have been

                                        agreed to by the Lessee's contractor, the Lessee, the Lessee's architect
                                        and the Lessee's construction manager, if any.


                                                  (iii)   All withdrawals from the Capital Repair Fund for the

                               purpose of making Capital Repairs shall be countersigned by both parties. Any

                               party refusing to sign such withdrawal request shall deliver to the other party a

                               statement of the basis (with reasonable detail) for such recipient's objection

                               thereto.



                                        (g)       Capital Repair Audit. Commencing on the fifth (5th) January 1
           after the Commencement Date, and on each fifth (5th) January 1 thereafter during thd term of

           this Lease, the City shall, as an expense of the Capital Repair Fund, provide the lessee with a

           structural and capital component inspection report from a licensed engineer, reasonably
           acceptable to the Lessee, having at least ten (10) years of experience in performing structural

            and capital component inspections of commercial buildings, including stadia, and otherwise
ElectronicallABildifedd 4045:114156                       qeettIrsdoheftuitattl tthL-cr-Ottital Repair Engineer"). The

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          Capital Repair Engineer shall report on the condition of the structure and each capital component
          of the Leased Premises, which report shall include suggestions for any current Capital Repairs
          that are necessary to the Leased Premises and suggestions for revisions to the allocations in the
          Capital Repair Fund Budget (such report, the "Capital Repair Audit"). The City shall maintain
          a log for the Leased Premises, which log shall include a copy of all Capital Repair Audits as
          well as a record in reasonable detail of all Capital Repairs undertaken by the City or the City's
          agents or representatives.


                                    (h)      Emergency Repairs. Emergency Repairs shall be made by the City

          in accordance with law. However, in the event that the City does not timely make such
          Emergency Repairs, then the Lessee shall have the right to make such repairs, so long as the
          Lessee undertakes best efforts to notify the City of the need for such repairs before commencing
          to undertake the same.           "Emergency Repairs" are those Capital Repairs which, if not
          immediately made, would endanger the health and safety of the people working in or attending
          an event in the New Stadium, would cause imminent damage to any significant component of
          the New Stadium, or would render the New Stadium, or any material mechanical, electrical or
          plumbing system or other significant component thereof, unusable for previously scheduled
          events. Notwithstanding the other provisions of Section 14, the Lessee may submit a request

          to the Lessor for payment of the cost of the repairs made by the Lessee for approval by the

          Lessor in accordance with the procedures and requirements set forth in Section 14(t). In the
          event that such repair qualifies as an Emergency Repair. then the Capital Repair Fund may be
          an eligible funding source for such repair. In making such Emergency Repairs, the Lessee shall
          comply with all the requirements of Section 14(f)(ii), and the costs of such Emergency. Repairs
          shall be eligible for reimbursement to the Lessee from the Capital Repair Fund by the City only
          if the Lessee has complied with all of such requirements. The Emergency Repairs shall be the
          only exception to the normal pre-approval procedures established in this Section 14.

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                                        (1)      Lessee's Capital Improvements. If Lessee shall choose to make any

             Capital Improvement, approved in accordance with the procedures specified in Sections 14(a)
             through 14(e) above, for which sufficient funds are not then on deposit in the Capital Repair
             Fund (net of then existing Reserves and money allocated for Capital Repairs previously agreed

             upon pursuant to this Section 14), the City shall apply any funds then on deposit in the Capital
             Repair Fund (net of then existing Reserves and money allocated for Capital Repairs previously

             agreed upon pursuant to this Section 14) toward the cost of such Capital Improvement provided

             the Lessee shall: (i) fully fund the difference between the cost of such Capital Improvement and

             the portion of such cost that can be funded from funds on deposit in the Capital Repair Fund (net

             of then existing Reserves and money allocated for Capital Repairs previously agreed upon
             pursuant to this Section 14) (such amount, the "Overage"); and (ii) agree in writing to indemnify

             and hold the City harmless from and against the Overage.


                               15.      Title to Alterations and Capital Repairs. Title to all alterations and Capital

             Repairs made to the Leased Premises hereof shall become a part of the Leased Premises and
             shall remain upon and be surrendered with the Leased Premises at the end of the term of this

             Lease; provided, that if prior to the termination of this lease by expiration or otherwise, or
             within thirty (30) days thereafter, the City so directs by written notice to the Lessee, the Lessee

             shall remove any specified improvements or alterations made to the Leased Premises by the
             Lessee; provided that if the City had the opportunity to consent to the construction or completion

             of such improvements or alterations, then it shall have designated at the time of such consent
             whether such improvements or alterations were to be removed. Notwithstanding the foregoing,
             any fixtures or personal property which were installed in the New Stadium by and at the expense

             of Lessee and were not provided as part of the Project Budget (as defined in the Stadium
             Financing Agreement) (and, therefore, not identified in the Lease Commencement Certificate)
             may be removed by the Lessee at or prior to expiration or termination of the lease. The Lessee

             shall pay or cause to be paid promptly to the City the cost of repairing any damage arising from

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                          1.6.      Use of Premises.


                                    (a)       Permitted Use. The Lessee may use the Leased Premises for (i)

       hosting NFL sanctioned football games in the New Stadium, (ii) for the conducting of practices
       or workouts by professional football teams, whether or not for exhibition to the public, (iii)
       selling or granting to third parties the right to the sell tickets or seats and for the conducting and

       exhibiting by the Lessee to the public other events or activities directly related to, held in
       connection with, or involving the playing or exhibition of, professional football games, (iv) for
       administrative office use; (v) for restaurants or food or beverage service facilities by Lessee or
       by Lessee's design6e(s); (vi) for other sporting events, musical concerts and other events and
       activities that lawfully may be conducted on the Leased Premises; provided, however, that the
       Lessee shall give thirty (30) days' prior written notice to the Director of Parks, Recreation and
       Properties and to the Director of Public Safety before allowing use of the Leased Premises for
       any events or activities not customarily held in or about municipal football stadiums or for any
       purpose contrary to public policy and unprotected by the First Amendment of the United States
       Constitution. Lessee shall use and occupy the Leased Premises in a careful, safe, prudent and
       proper manner, and shall not permit or commit any waste of or to the Leased Premises or to the

       New StadiuM, the structures and improvements thereon, or the fixtures and articles of personal
       property attached or appurtenant thereto or used in connection therewith, normal wear and tear
       excepted.


                                    (b)       Unlawful Use.    The Lessee will not use or allow the Leased
       Premises or any part thereof to be used or occupied for any purpose inconsistent with or •
       contrary to the Ordinances of the City or the laws of the State of Ohio, and will not suffer any
       act to be done or any condition to exist on the Leased Premises or any part thereof which
       constitutes a nuisance, public or private. The Lessee shall not commit, or knowingly allow to
       be committed, any act or acts in or upon the Leased Premises which shall be unreasonably

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                            17.         Compliance with Laws. The City covenants and agrees to deliver, on the

          Commencement Date, the Leased Premises, which shall be in compliance with all then existing

          laws, statutes, ordinances, orders, rules, and regulations of every duly constituted governmental
          authority or agency having jurisdiction over the Leased Premises and the construction, use and

          occupancy thereof, including, without limitation, Environmental Laws and the Americans with
          Disabilities Act of 1990, as amended. Throughout the term of this Lease, the Lessee, at its sole
          cost and expense, will or will cause others within its reasonable control to comply promptly with

          all present and future laws, statutes, ordinances, orders, rules, and regulations of every duly
          constituted governmental authority or agency relating to the. Leased Premises or the use and
          occupancy thereof, including, without limitation, Environmental Laws, and will not suffer or

          permit to remain any use or manner of use of or any condition upon the Leased Premises in

           violation of any such laws, ordinances, orders, rules, and regulations relating to the use and
          occupancy of the Leased Premises. If the City's failure to make a Capital Repair results in the
          failure by the Lessee to be in compliance with any laws, ordinances, orders, rules, and

          regulations relating to the use and occupancy of the Leased Premises, such failure by the Lessee

          shall not constitute a breach of this covenant.



                            18.         Indemnification.   Lessee shall, and does hereby agree to, indemnify,
          defend and hold the City, harmless from and against any and all liabilities, obligations, claims,
          demands, penalties and other costs, charges and expenses, including reasonable architects' and
          attorneys' fees, that may be imposed upon or incurred by the City, or to which the City may
          become subject resulting. directly or indirectly, (a) by reason of the Lessee's use, possession,
          occupation, operation, repair, maintenance or management of or condition suffered or permitted
           to remain upon the Leased Premises by Lessee (ordinary wear and tear excepted) or by reason
          of alterations carried out by Lessee; (b) resulting by reason of any act or omission, negligence
           or wrongdoing by or on behalf of Lessee or its officers, agents, representatives, employees,

          serv.ants, licensees 4r .tn viteeS fother.than .those acts ormaissions _negligence or wrongdoing that
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          are insurable at commercially reasonable rates, provided that if Lessee fails to obtain and
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        maintain such insurance against such liabilities and expenses, then such exclusion shall not

        apply); (c) by reason of any accident, injury, or damage to any person or property occurring in,
        on or about the Leased Premises or the Walkway; (d) or resulting by reason of any breach or
        failure on the part of Lessee to pay, perform, observe or otherwise comply with any of the
        covenants, terms, conditions and provisions on its part to be paid, performed, observed or
        otherwise complied with under the terms of this Lease. None of the foregoing are intended to

        limit or affect in any way the City's obligation to provide Capital Repairs pursuant to Section
        I4 or to deliver, on the Commencement Date, the Leased Premises in compliance with laws
        pursuant to Section 17.


                                      In case any action or proceeding is brought against the City by reason of

        any such claim, the Lessee, upon written notice from the City will, at the Lessee's expense,
        resist or defend such action or proceeding by counsel selected by the Lessee and approved by
        the Director of Law.


                            19.       Insurance.


                                      (a)        Lessee   Insurance    Requirements.         From   and   after   the

        Commencement Date, Lessee, at its sole expense, shall maintain the types and kinds of insurance
        described in (a) and (b) below. The amount or amounts of the insurance in (a) below shall
         initially be as set forth on Schedule 19 attached hereto.               The amounts of coverage may,
         however, be changed by the City once every three (3) calendar years commencing on the
        January 1 immediately following the Commencement Date based upon the results of a review
         by Lessee's insurance consultant who shall consult with Lessee and the City. Such review by
         the Lessee's insurance consultant shall be at the Lessee's sole cost and expense, may be
        completed no earlier than the September 30th immediately prior to the proposed date of change,

         and shall report on the types and amounts of insurance as are then customarily available for
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         facilities and activities held in NFL stadia generally.

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                                               (1)   Comprehensive general public liability insurance of the type

                             generally carried by owners and operators of a stadium similar to the New
                            Stadium, and consistent with the usage thereof, which shall include coverage for
                             personal liability, liquor liability, contractual liability (including all liabilities of

                             Lessee pursuant to Section 18 if and to the extent such insurance is available at

                            commercially reasonable rates), Lessees' legal liability, bodily injury (including
                            death) and property damage, all on an occurrence basis with respect to the

                             business carried on, in and from the Leased Premises and Lessee's use and
                            occupancy of the Leased Premises with coverage for any one occurrence or claim

                            of not less than the amounts set forth on Schedule 19 and with deductibles not in

                            excess of the amounts set forth on Schedule 19.



                                               (2)   Worker's compensation insurance.



                                               (3)   Business interruption insurance.


                                               (4)   Vehicle insurance.


                                               (5)   All insurance described in (1) and (4) above shall be in
                            place prior to any entry by Lessee onto the Leased Premises prior to the

                            Commencement Date as permitted by Section 6(a).


          All insurance provided for in this Section 19(a) (other than worker's compensation insurance)

          shall be effected under valid and enforceable policies in form and shall be written by companies

          licensed to transact business in Ohio and shall be reasonably satisfactory to the City. The

          liability, business interruption and vehicle insurance policies shall include the City as an
         additional insured under such policies. Upon or prior to the effective date of insurance policies
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          required under this Lease and thereafter not less than thirty (30) days prior to the expiration

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       dates of policies theretofore furnished pursuant to this Section, originals of the policies or
       certificates or memoranda thereof shall be furnished to the City, and the Lessee shall furnish to
       the City evidence of payment of premiums in accordance with the Lessee's regular course of
       business, but in any event in time to prevent cancellation for nonpayment.


                                      (b)        City Insurance Requirements. The City shall obtain and maintain

       fire and extended property insurance which shall cover all improvements to the Leased Premises
       (but not the personal property of the Lessee), which insurance shall be in an amount not less
       than eighty percent (80%) of the replacement cost of such improvements, as such may increase

       from time to time, without deduction, for depreciation, and shall name the City as loss payee.

       The City may make advances from the Capital Repair Fund to pay the premium for such fire
       and extended property insurance, provided that any such advances from the Capital Repair Fund
       shall be reimbursed by the City on or before the March 1 immediately following the date on
       which the premium is so paid.


                                      (c)        Waiver of Subrogation. Lessee hereby waives and releases all
       causes and rights of recovery against the City for any loss or damage to property arising by

       reason of any peril insured against under the policies of insurance described in Section 19(a) or
       otherwise, regardless of cause or origin, including any act of neglect or omission by the City
       or its respective officers, agents, representatives, employees, servants, licensees or invitees, but
       only to the extent that any right to recovery by such releasing party under said policy or policies

       of insurance is not thereby impaired or adversely affected in whole or in part. Each such policy
       of insurance shall contain an endorsement recognizing the foregoing waiver and release and
        waiving all rights of subrogation by the insurer against either party hereto. The foregoing
        waiver and release by Lessee of the City with respect to the policies of insurance described in

       Section 19(a) shall not apply to any deductibles assumed by the Lessee or to any loss or damage
        in excess of the maximum coverages required thereunder. To the extent the City carries any
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        insurance retating to the LeasW rrtauses, the City hereby waives and releases all causes of

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         action and rights of recovery against Lessee for any loss or damage to property arising by reason
         of any peril insured against under such policies of insurance, regardless of cause or origin,
         including any act of neglect or omission by Lessee or its respective officers, agents,

         representatives, employees, servants, licensees, or invitees, but only to the extent that any right

         to recovery by the City under said policy or policies of insurance is not thereby impaired or

         adversely affected in whole or in part. Such policy of insurance shall contain an endorsement
         recognizing the foregoing waiver and release and waiving all rights of subrogation by the insurer

         against either party hereto.



                           20.      Damage or Destruction.



                                    (a)      Repair of jhrnage. If at any time during the term of this Lease,

         the improvements on the Leased Premises or any part thereof shall be damaged or destroyed by
         fire or other cause of loss (including any cause of loss for which insurance coverage was not

         obtained) of any kind or nature, ordinary or extraordinary, foreseen or unforeseen, or if the City

         fails to make a Capital Repair which renders the New Stadium unusable for a scheduled event

         in Lessee's reasonable judgment, or if Lessee shall experience any interruption or suspension
         in the provision or supply of utility service for more than ten (10) consecutive days, Lessee shall

         not thereby be, or be deemed to be, relieved of its obligations. hereunder to perform and observe

         the covenants, duties and responsibilities on its part to be performed or observed, except as

         otherwise provided in this Section 20 and in Section 22(h). In such event, the proceeds of

          insurance maintained by the City pursuant to Section 19 upon receipt by the City plus the
          amount of the deductible, if any. shall be deposited by the City in escrow with a third-party to
          be used and distributed in accordance with this Section 20.                  The City shall proceed with
          reasonable diligence (subject to a reasonable time allowance for the purpose of adjusting such

          loss) to repair, alter, restore, replace, rebuild or supply the same as nearly as possible to a

         condition reasonably satisfactory for the purposes to which the Lessee has been granted the right
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          of use and occupancy of the Leased Premises; provided, however, that the City shall not be

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        required to expend from the Capital Repair Fund for such repair, alteration, restoration,
        replacernint, or rebuilding any amount that would reduce the Capital Repair Fund below the

        Reserve amount other than to make the specific Capital Repair for which the Reserve exists.


                            If the estimated cost of repairing the damage to the Leased Premises exceeds the

        available Capital Repair Fund balance plus the insurance proceeds, if any, plus the amount of

        the deductible, if any, the city shall have three (3) months from the date of such damage or
        destruction within which to determine, in the City's sole discretion, whether the repair in excess

        of such amount shall be made at the City's sole expense. Should the City determine that such
        repair of the Leased Premises shall not be made at the City's expense, the Lessee shall have
        sixty (60) days from the date of the City's determination within which to determine in Lessee's
        sole discretion whether the repair in excess of such amount shall be made at Lessee's sole
        expense. If the City determines to proceed and subject to additional requirements imposed by
        weather conditions, permitting and authorization requirements, restrictions contained in this

        Lease, receipt of commercially reasonable bids, and other matters outside of the control of the
        City, the City shall proceed with reasonable diligence to commence the repair, alteration,

        restoration, replacement, rebuilding or resupply within nine (9) months after the occurrence of
        the damage or destruction and shall cause the repair, alteration, restoration, replacement or
        rebuilding to be completed no later than twenty-four (24) months following the commencement

        thereof, unless the parties agree to a longer period. If, following a determination by the City

        not to make such repair, the Lessee also determines not to make such repair, the Lessee shall
        have the right, after thirty (30) days prior written notice to the City, to terminate this Lease;
        provided, however, that if by reason of the parties' failure to make such repair, the Leased
        Premises will remain unusable permanently, then, without further action by the Lessee, this
        Lease shall terminate.


                             In the event that this Lease terminates following damage or destruction to the

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         proportion to their respective original contributions to the cost of improvements on the Leased
         Premises. For such purposes, Lessee's contribution shall be reduced by (i) one hundred percent
         (100%) of the amount of net proceeds received by the Lessee (or by the NFL on behalf of the
         Lessee) from the sale of PSIS and (ii) forty percent (40%) of club seat revenues subject to a
         waiver of Lessee's gate-sharing obligations under the NFL Constitution. Upon termination of

         this Lease, neither party shall have any further obligation under this Lease except as provided

          in Section 50. If the Lease is terminated pursuant to this section, then the City shall work
         cooperatively with the Lessee to identify an alternate stadium site for a minimum of thirty (30)
         months following termination.


                           In the event that damage or destruction renders the Leased Premises unusable as
         described in Section 20(b), then for and during the period of time that the Leased Premises

         remain so unusable temporarily (plus up to fourteen (14) days thereafter), the City shall work
         cooperatively with the Lessee to identify an alternate stadium site acceptable to Lessee and
         facilitate the arrangements between the Lessee and the owner of such site at comparable cost to

         the Lessee for use during the period that the Leased Premises are unusable. In such event, the
         Lessee covenants to recommence the play of games at the New Stadium as soon as practicable,

         but in no event later than fourteen (14) days, after the Leased Premises become usable.


                                     (b)       deduced Seating_Capacity. In the event of any such damage or
         destruction, as a result of which the New Stadium cannot lawfully be used for a scheduled event
         or if the spectator seating capacity of the New Stadium is diminished to less than eighty percent
         (80%) of the general seating or seventy percent (70%) of the premium seating             club seats
         and private suites) of that existing immediately prior to such damage or destruction or if access
         to the New Stadium is prevented, or if the City fails to make a Capital Repair which renders the
          New Stadium unusable, in Lessee's reasonable judgment, for a scheduled event, or if Lessee

         shall experience any interruption or suspension in the provision or supply of utility service for
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          more than ten (10) consecutive days, Lessee shall be relieved of its covenant to play all of its

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         regular season home games and other games in the New Stadium as required by Section 9(a) for

         and during the period of time that the Leased Premises remain so unusable (plus up to fourteen
         (14) days thereafter). In such event, the Lessee covenants to recommence the play of games at
         the New Stadium as soon as practicable, but in no event later than fourteen (I4) days, after the
         Leased Premises become usable. If, as a result of any such damage or destruction, or any other
         reason not within the control or not the fault of the Lessee, the number of parking spaces
         available to the Lessee from the City free of charge is diminished, the City shall use its best
         efforts to provide to the Lessee alternative parking arrangements within reasonable proximity
         to the New Stadium.


                                      (c)      Extension of Term. If, as a result of the events described in

         Section 20(b), for each season that the Lessee is relieved of its obligation to play fifty percent
         (50%) or more of its regular season home games in the New Stadium, the Lessee shall have the
         right to extend the Term of this Lease for one (1) additional Lease Year.



                            21.       Condemnation.     To the extent permitted by law, the City shall not
         condemn the Leased Premises or support a condemnation thereof by any other governmental
         or quasi-governmental authority, except as may be required by the Federal Aviation
         Administration. Any condemnation of all or a substantial portion of the Leased Premises by the
         City or support by the City. of a condemnation thereof by any other governmental or quasi-
         governmental authority, except for the Federal Aviation Administration, shall constitute a breach
         of Lessee's quiet enjoyment pursuant to Section 38.


                            In the event that all of the Leased Premises, or a substantial portion thereof, shall
         be acquired permanently by authority of any governmental entity in the exercise of its power of
         eminent domain, and as a result of which the Leased Premises are made unusable for purposes
           of playing professional football therein, or if access to the New Stadium is prevented, or if either
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           spectator general seating or premium seating capacity is diminished to less than ninety-five

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         percent (95%) of that existing immediately prior to the condemnation, and it is not commercially

         reasonable in the City's reasonable determination for the City to restore the same, the City may,
         at its election, apply the proceeds of the condemnation award to provide facilities reasonably
         acceptable to the Lessee in substitution for those taken by eminent domain, in which case this
         Lease shall remain in force and effect with respect to the substituted facilities reasonably
         acceptable to the Lessee, including the Lessee's covenant that the Browns will play their home
         games in the substitute facilities as required in Section 9 above. In the event that the City elects
         not to so apply the proceeds of the condemnation award or the parties cannot agree on substitute
         facilities, this Lease shall terminate upon the taking of physical possession by condemnor or
         proposed condemnor. If the Lease is terminated pursuant to this Section, then the City shall use

         its best efforts to provide the Lessee at Lessee's expense with such alternative stadium site for
         a minimum of thirty (30) months following termination.


                                 In the event of any temporary or partial condemnation of the New Stadium, which
         affects the Lessee's use and occupancy of the Leased Premises as provided in this Lease, then
         the proceeds of any award for or on account of said condemnation shall be used to enclose and
         restore the remaining usable part of the New Stadium, if the same is, in the City's reasonable
         determination, commercially reasonable. If such event renders the New Stadium unusable for
         purposes of playing professional football therein, the City shall work cooperatively with the
         Lessee to identify substitute facilities for Lessee's use and facilitate the arrangements between
         the Lessee and the owner of such site at comparable cost to the Lessee during the period of time
         that the Leased Premises remain so unusable (plus up to fourteen (14) days thereafter). In such
         event. the Lessee covenants to recommence the play of games at the New Stadium as soon as

         practicable, but in no event later than fourteen (14) days, after the Leased Premises become
         usable. If as a result of a partial or temporary condemnation, for each season that the Lessee

          is relieved of its obligation to play fifty percent (50%) or more of its regular season home games
          in the New Stadium, the Lessee shall have the right to extend the Term of this Lease for one
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         (1) additional Lease Year.
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                               In any condemnation proceeding, each party shall have the right to claim and

           receive from the condemning authority compensation for its losses, including, without limitation,
           its respective interest in the Leased Premises, and its (or in the case of the Lessee, the NFL's)
           original contribution to the cost of improvements on the Leased Premises; provided, however,

           the Lessee's contribution shall be reduced by (i) one hundred percent (100%) of the amount of
           net proceeds received by the Lessee (or by the NFL on behalf of the Lessee) from the sale of
          PSLs and (ii) forty percent (40%) of club seat revenues • subject to a waiver of Lessee's gate-
          sharing obligations under the NFL Constitution.


                               22.        Default.


                                          (a)    Remedies of City. If any one or more of the following events

          (each of which is herein sometimes called "Event of Default") shall happen:



                                                 (1)   If default shall be made in the due and punctual payment of
                               any sums required to be paid by the Lessee to the City under the provisions of
                               this Lease when and as the same shall become due and payable and such default
                               shall continue for a period of thirty (30) days after notice in writing thereof by
                               the City to the Lessee; or



                                                 (2)   If the Lessee shall be in default in the due and punctual
                               payment of any sums required to be paid by the Lessee to parties other than the
                               City or if the Lessee shall be in default of, or violate any covenant, agreement,
                               term or condition, and if any such failure, violation, or default shall continue
                               without cure for a period of ninety (90) days after notice in writing thereof by the
                               City to the Lessee, or if such default cannot, with due diligence, be cured within

                               ninety (90) days and Lessee shall not have commenced the cure thereof within
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                               such period and shall not be diligently proceeding to cure such default; or

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                                             (3)      If the Lessee shall file a voluntary petition in bankruptcy or

                           shall be adjudicated a bankrupt or insolvent, or shall take the benefit of any
                           relevant legislation that may be in force for bankrupt or insolvent debtors or shall
                           file any petition or answer seeking any reorganization, arrangement, composition,
                           readjustment, liquidation, dissolution or similar relief for itself under any present

                           or future federal, state or other statute, law or regulation, or if any proceedings
                           shall be taken by the Lessee under any relevant bankruptcy law in force in any
                           jurisdiction available to the Lessee, or if the Lessee shall seek or consent to or
                           acquiesce in the appointment of any trustee, receiver or liquidator of the Lessee

                           or of the Leased Premises, or shall make any general assignment for the benefit
                           of creditors; or


                                             (4)      If a petition shall be filed against the Lessee seeking any

                           reorganization, arrangement, composition, readjustment, liquidation, dissolution

                           or similar relief under any present or future federal, state, or other statute, law

                           or regulation, and shall remain undismissed for an aggregate of one hundred
                           twenty (120) days, or if a trustee, receiver or liquidator of the Lessee or of all
                           of its properties or of the Leased Premises shall be appointed without the consent
                           or acquiescence of the Lessee and such appointment shall remain unvacated for
                           an aggregate of one hundred twenty (120) days,


         the City may, at its option, at any time while such Event of Default continues, give written
         notice to the Lessee specifying one or more such Events of Default and either require the Lessee
         to perform its obligations as provided in Section 22(e) below, or state that this Lease and the
         Term hereby demised shall expire and terminate on the date specified in such notice, and upon
         the date specified in such notice, subject to the provisions of subsection (c) in this Section, this

         Lease and the term hereof and all ri2hts of the Les.set under this Lease shall expire and
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         terminate. In the event of any such termination, the City may, without further notice, enter
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         upon and re-enter the premises and facilities of the Leased Premises, and by summary

         proceedings, ejectment or otherwise, may dispossess Lessee therefrom, and thereupon shall be
         entitled to have, hold and enjoy the Leased Premises and the right to receive all rental of and
         from the same. It is agreed and understood that, in the event of any such termination of this
         Lease by the City, the Lessee shall not thereby be relieved of its duties, responsibilities and
         obligations hereunder accruing prior to the date of such termination, or accruing thereafter.


                           In the event that the termination of this Lease is a result of a breach not within

         the Lessee's control, the City shall pay to the Lessee the amount of the Lessee's contribution
         to the costs of the improvements on the Leased Premises which remains unamortized and
         unrecovered from the sum of (i) one hundred percent (100%) of the amount of net proceeds

         received by the Lessee (or by the NFL on behalf of the Lessee) from the sale of PSLs and (ii)
         forty percent (40%) of club seat revenues              subject to a waiver of Lessee's gate-sharing
         obligations under the NFL Constitution, and termination of the Lease shall be specifically subject
         to and conditional upon appropriation of such amounts. Such amounts may be payable over no

         more than five (5) years with interest thereon at the rate paid on United States treasury bills
         having a maturity closest to the term of such payments.



                                     (b)      City's Right of Re-Entry. Upon any such expiration or termination
         of this IPasP, the Lessee shall quit and peacefully surrender the Leased Premises to the City,

         and the City, upon or at any time after any such expiration or termination, may without further
         notice, enter upon and re-enter the Leased Premises and possess and repossess itself thereof. by
         summary proceedings, ejectment or otherwise, and may dispossess the Lessee and remove the
         Lessee and may have, hold and enjoy the Leased Premises and the right to receive all rental
         income of and from the same.


                                     (c)      Lessee's Liability to pate of Termination. No such expiration or

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         accrued to the date of such expiration and termination. In the event of any such expiration or
         termination, whether or not the Leased Premises or any part thereof shall have been reset, the
         Lessee shall pay to the City all charges required to be paid by the Lessee up to the time of such
         expiration or termination of this Lease.


                                      (d)       Lessee's Subleases and Agreements. At the City's option, upon any

         such expiration or termination of this Lease, all the Lessee's subleases, concession agreements
         and similar agreements for use of the Leased Premises then in effect shall be deemed assigned
         to the City by the Lessee, and the Lessee shall, upon notice from the City, execute and deliver
         to the City instruments, in proper form, assigning to the City the Lessee's interest in and to each
         such sublease and agreement, the Lessee hereby irrevocably appointing the City, in the event
         of the Lessee's failure or refusal to comply with any such notice, as its attorney-in-fact to

         execute any and all such assignments.


                                      (e)       Right of Specific Performance. The parties to this Lease hereby
         acknowledge and agree that the subject matter of this Lease is unique, that the damages at law

         for the breach of the NFL's obligations under Section 3 or of any of Lessee's obligations under
         Section 9(a), 9(b)(2), 9(b)(3) and 9(c) of this Lease create irreparable harm and are not
         ascertainable and that money damages or other legal relief cannot adequately compensate the

         City for any such breach. Therefore, the parties have agreed and consented to, as evidenced by
         their execution of this Lease, the City's right to specific performance of the Lessee's obligations
         under those Sections of this Lease and to have, receive and hold an injunction from a court of
         competent jurisdiction in the State of Ohio which enjoins the breaching of the provision of those
         Sections of this Lease by Lessee.


                                      (0        The City's Remedies are Cumulative. In the event of any breach
         by the Lessee of any of the covenants, agreements, terms or conditions contained in this Lease,

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        right and remedy allowed at law or in equity or by statute or otherwise for such breach as
        though re-entry (only after termination or expiration of the Lease), summary proceedings, and

        other remedies were not provided for in this Lease.


                                       (g)       Interest on Arrearages. All charges more than ten (10) days in

        arrears and all other amounts collectible hereunder by the City shall bear interest at the rate of
        eight percent (8%) per annum from their respective due dates until paid, provided that this shall

        in no way limit, lessen, offset or affect any claim for damages by the City for any breach or
        default by the Lessee.


                                       (h)       Special Remedy of Lessee. In the event that the Mayor of the City

        fails to include in the Mayor's Estimate required to be prepared pursuant to Section 38 of the
        Charter of the City a proposed appropriation of, or following such inclusion the Council of the
        City fails to appropriate, funds adequate to meet "City Obligations" (as hereafter described) or

        (in the case of unbudgeted City Obligations), the Mayor fails to seek ordinance authority or the
        Council of the City fails to pass such ordinance(s) making appropriations for such City
        Obligations, the Lessee shall have, in addition to all other rights and remedies provided in this
        Lease, the following special remedy as described in this Section 22(b). First, the Lessee shall
        notify the City that the Lessee believes in good faith that the City has failed to satisfy a City
        Obligation. The Lessee's notice shall describe the City Obligation and shall state the amount
        of funds that the Lessee alleges have not been so included or appropriated by the City. Second,,
        within ten (10) days following receipt by the City of the Lessee's notice, the City shall deliver
        to the Lessee a written response. The parties hereby agree that the failure by the City to fulfill
        any City Obligation shall constitute a breach and that the Lessee shall have a cause of action

        against the City for money damages as a result of such breach. In the event that a court enters
        a judgment for money damages against the City and such judgment remains unsatisfied for one

        hundred eighty (180) days, then the Lessee shall have the right to terminate this Lease, upon

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                              Notwithstanding the foregoing, nothing in this Lease shall preclude any parry from

            filing any action in a court of competent jurisdiction seeking any temporary restraining order or
            preliminary injunction or other remedy at law or equity, except for the right of termination
            which is available only as specifically provided herein. A "City Obligation" shall be any one
            of the three (3) obligations specifically set forth as follows:


                                                (i)     To make a contribution to the Capital Repair Fund required

                              by Section 14 of this Lease, as shown on Schedule 14(f);


                                                (ii)    To make any Material Capital Repair; and


                                                (iii)   To bear responsibility for costs associated with the condition
                              of the Leased Premises required by Section 26 of this Lease.




                              Notwithstanding any other remedy of the Lessee provided in this Lease or
            pursuant to applicable law, the Lessee shall have the right to offset against any rental due
            hereunder from the Lessee to the City any and all amounts which a court of proper jurisdiction
            determines by final judgment, or which the arbitrators acting pursuant to Section 14(e) so
            determine, is under applicable law due and owing from the City to the Lessee. For purposes
            of this determination only, failure by the Council of the City to appropriate funds to satisfy such
            obligation of the City shall not affect the City's obligation to the Lessee.


                              23.         Permitted Encumbrances.



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            subletting by the Lessee of any space available in the Leased Premises for food service,
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         concessions, retail, service or entertainment operations of a type customarily found in similar
         stadium facilities and consistent with the intended usage of the New Stadium, including, without

         limitation, professional football games. All such subleases must terminate or be terminable upon

         the expiration or earlier termination of this Lease unless otherwise expressly consented to by the
         City, which consent shall not be unreasonably withheld. By way of illustration, the City's
         consent shall not be deemed to be unreasonably withheld if the sublease to be considered does
         not contain market rate provisions, is not in a form acceptable to the City, or is not customary
         in NFL football stadia generally.


                                         (b)      Pledge of Revenues. The Lessee may assign, pledge or otherwise
         encumber (i) its interest in this Lease in conjunction with the encumbrance of its Franchise,
         provided that any encumbrances of the Lessee's interest in this Lease shall not permit any
         foreclosure by the secured party of the Lessee's leasehold interests hereunder separate and apart

         from foreclosure on the Franchise and shall restrict the sale of the Lessee's leasehold interest

         to the same person as is acquiring the Franchise, or (ii) its interest in the revenues derived from
         the operation of the Leased Premises, as security for interim or permanent financing or
         refinancing, obtained and used by the Lessee solely for the purposes of: (1) acquiring the
         Franchise or refinancing the then current Franchise indebtedness; or (2) reimbursing the NFL
         for its contribution to the costs of construction of the New Stadium; or (3) fulfilling its
         obligations under this Lease; or (4) paying any other costs and expenses relating to the

         maintenance and operation of the New Stadium, the NFL Franchise and the Browns. Such
         financing shall be subject to compliance with the NFL debt ceiling as may be in effect from time
         to time.


                                The City will provide written notice to the Lessee's lender (of which the City has
         been notified by Lessee as to its name and address) of any default of Lessee under this Lease.

         In the event of Lessee's default, the City specifically agrees that the City's lender shall have the

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        periods set forth above, so long as the Lessee's lender is proceeding with due diligence to cure
        Lessee's default, the City shall not terminate this Lease.


                                   (c)      No Other Liens. Other than as permitted by this Section 23, Lessee

        shall not suffer or permit to remain upon all or any part of the Leased Premises, or Lessee's

        leasehold interest therein, any lien for work performed or materials supplied to or for Lessee
        and/or to or for the Leased Premises by or on behalf of Lessee, or any other lien or
        encumbrance thereon arising by reason of Lessee's use and occupancy thereof. Lessee shall,
        and does hereby agree, at its own cost and expense, to defend the New Stadium, the Leased
        Premises and the City against any and all suits, actions or other proceedings that may be
        instituted for the enforcement of any such lien or encumbrance.


                                   If any mechanics', laborers' or materialmen's liens shall at any time be
        filed against the Leased Premises or any part thereof, Lessee, within thirty (30) days after the
        date of Lessee's receipt of notice of the filing, shall cause the same to be discharged of record
        by payment, deposit, bond, order of a court of competent jurisdiction or otherwise; provided,
        however, that Lessee shall have the right to contest the validity of any such lien in any manner
        permitted by law. In the event of any such contest, Lessee shall provide to the City title
        insurance, an indemnity, bond or other assurance or security satisfactory to the City, and Lessee

        shall thereafter diligently proceed to cause such lien to be removed and discharged. If Lessee
        shall fail to discharge or to contest any such lien then, in addition to any other right or remedy,

        the City may, after thirty (30) days notice to Lessee, but shall not be obligated to, discharge the
        same either by paying the amount claimed to be due or by procuring the discharge of such lien
        by deposit or bonding proceedings. In any such event, the City shall be entitled, if the City so
        elects, to compel the prosecution of an action for the foreclosure of such lien by the lienor and
        to pay the amount of the judgment in favor of the lienor with interest, costs and allowances.
          Any amount so paid by the City and all costs and expenses, including attorneys' fees, incurred
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                                                                                        n at ten
                                                                                                 percent (10%) per

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          annum, from the respective dates of the City's payment or incurrence of the cost and expense,
          and shall be paid by Lessee to the City upon demand.


                           Notwithstanding any other provision in this Section 23, no assignment by Lessee

          of its interest under this Lease as security for any loan shall prevent the City, upon any default
          by the Lessee under any such loan, at the City's sole option, from curing any default under such
          loan and entering upon and operating the Leased Premises. Any such assignment shall expressly

          provide that the interest of the assignee is subject to the terms and provisions of this Lease and
          that the assignee shall give notice to the City of any default by the Lessee under any loan
          agreement no later than ten (10) days after the occurrence thereof. If so requested by the Lessee

          in writing, the City shall give notice to any such assignee of any default by the Lessee under the
          terms of this Lease no later than ten (10) days after the occurrence thereof.


                           The City shall not suffer or permit to remain upon all or any part of the Leased
          Premises any lien for work performed or materials supplied to or for the City and/or to or for
          the Leased Premises by or on behalf of the City, or any other lien or encumbrance thereon
          arising by reason of the City's ownership thereof. The City shall, and does hereby agree, at its
          own cost and expense, to defend the Leased Premises and the Lessee against any and all suits,
          actions or other proceedings that may be instituted for the enforcement of any such lien or

          encumbrance, and the City agrees promptly to have any such liens and encumbrances removed
          or discharged.



                                    (d)     Prohibition. Except as otherwise expressly provided in this Lease,
          the Lessee shall not (1) assign, mortgage, pledge, encumber or in any manner transfer this
          Lease, or any part thereof, or (2) sublease the Leased Premises, or any part thereof, or (3) sell,
          transfer, mortgage, pledge, lease, license or encumber the improvements on the Leased
          Premises, without the prior written consent of the City, expressed through the Director of Parks,
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          Recreation and Properties with the concurrence of the Board of Control, in each instance, and

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         any attempt to do any of such acts without such consent shall be null and void and of no effect
         and may, in the City's sole discretion, be deemed to be a breach of this Lease. No assignment

         or mortgage by the Lessee shall in any way affect the terms, conditions, covenants, agreements
         and provisions herein set forth, and any and all such assignments or subleases shall be at all

         times subject to this Lease and to the prior right, title and interest of the City in and to the
         Leased Premises.


                            24.      Scheduling the City's Rights of Use. The City intends, from time to time,

         but no more than eight (8) times in any calendar year during the term of this Lease to use the

         Leased Premises to hold certain civic, cultural or community events and activities' as it deems
         appropriate, as proposed by the Director of Parks, Recreation and Properties with approval of

         the Council of the City, including, without limitation, events such as Special Olympics, youth
         athletic events and civic celebrations ("City Events"). It is acknowledged and understood by the
         parties that in order to accommodate such additional uses of the Leased Premises, Lessee will
         require that a time and date be scheduled and/or reserved for all such games, events and
         activities, and that the same be played, held, or take place, at the limes and on the dates so
         scheduled and/or reserved therefor no less than thirty (30) and no greater than one hundred

         eighty (180) days in advance. Lessee agrees to cooperate with the City to schedule such events

         and activities and the City agrees that it will not request such events or activities of the type or
         on dates that would interfere with previously scheduled uses of the Leased Premises by the

         Lessee. The City acknowledges that the Leased Premises will not be available for City Events
         for forty-eight (48) hours prior to or twenty-four (24) hours after any other previously scheduled
         event at the Leased Premises. The City agrees that all reasonable maintenance and operating
         expenses and staff time associated with or reasonably allocated to such events and activities, in
         each case, as agreed upon by the parties in advance and appropriately documented, shall be paid

         for by the City and, notwithstanding the provisions of Section 12, all revenues generated by such

         events and activities from all sources whatsoever shall belong to the City.

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                           25.      Successors and Assigns. This Lease shall be binding upon and shall inure

        to the benefit of the parties hereto and. to the extent this Lease expressly permits assignment,
        to their respective permitted successors and assigns.


                           26.      Leased Premises Condition. As between the City and the Lessee, to the

        extent permitted by law, the City hereby agrees to bear any and all responsibility with respect
        to, and to pay on behalf of the Lessee. any and all foreseeable or unforeseeable damage, losses,
        costs, claim, liabilities or expenses, directly or indirectly (including legal and other professional
        fees) arising from any condition existing or events occurring on or about the Leased Premises
        prior to the date on which Lessee first takes possession of the Leased Premises or the •
        Commencement Date, which ever is earlier. Without limiting the foregoing, the City shall
        enforce the terms of its construction contracts with respect to the New Stadium, including all
        related improvements, including without limitation enforcement of warranty, completion of
        "start-up" functions, delivery of equipment operation and maintenance manuals to Lessee,
        provide for training of Lessee's employees in the operation of plumbing, electrical.
        HVAC/mechanical and other systems and take such other actions necessary to correct
        construction defects and to educate Lessee with respect to the operation of the improvements

        constituting the New Stadium.



                           From and after the date on which Lessee first takes possession of the I P-ased
        Premises or the Commencement Date,                whichever is earlier, Lessee's compliance with
        Environmental Laws shall be at Lessee's sole cost and expense to the extent such compliance
        is required by reason of Lessee's use and occupancy of the Leased Premises. As between the
        City and Lessee, to the extent permitted by law, the City shall bear all responsibility, costs and
        expenses (including legal and other professional fees) attributable to and pay on behalf of the
        Lessee, all damages, losses, costs, claims, liabilities or expenses resulting from acts or omissions

        of the City, its agents, employees, or invitees, with respect to (1) conditions of the Leased

ElectronicailMi5409/Claniag Isioritovthe dat8ekeigfisseektaktkupoggdMittataat (ii) events occurring on or

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        about the Leased Premises prior to me date the Lessee takes possession, or attributable to
        conditions existing or events occurring on property adjacent to the Leased Premises, in which

        cases compliance with Environmental Laws shall be at the City's sole cost and expense. Lessee

        (the permitted assignee of the NFL as original Lessee hereunder, and not the NFL) agrees to

        take responsibility for and to pay, on behalf of the City, any damages, losses, costs, claims,
        liabilities or expenses (including legal and other professional fees in connection therewith), for
        any environmental conditions that were caused by Lessee,.its employees, invitees or its assignees
        or sublessees, and for any damage, loss, cost, liability or expense directly or indirectly arising
        from any condition existing or events occurring on or about the Leased Premises from and after
        the date on which Lessee first takes possession of the Leased Premises or the Commencement
        Date, whichever is earlier, and for any claims, liabilities, costs and expenses (including legal
        and other professional fees) in connection therewith. These indemnifications and allocations of
        obligations shall survive the termination of this Lease.


                            27.       The City's Right to Inspect. Upon twenty-four (24) hours notice, the City,

        its agents and representatives shall have access to the Leased Premises and improvements
        thereon at any and all times reasonable for the purpose of inspecting the Leased Premises. The
        Lessee shall have the right to accompany the City on such inspection.


                            28.       Surrender.


                                      (a)       Surrender and Delivery. The Lessee shall, on the expiration of the
        term hereby granted, or upon the earlier termination of this Lease, peaceably and quietly leave,
        surrender or yield up unto the City the Leased Premises together with all improvements then
        located thereon, clean and in good order and condition except for reasonable wear and tear

        thereof and insured loss or damage by fire or other casualty, all of which shall become property

        of the City free and clear of all Iiens, encumbrances and subtenancies whatsoever, except those
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         existing on the date of execution of this Lease and taxes and assessments not then due and
         payable.


                                      (b)       Removal of Personal Property. Personal property purchased and

         installed by Lessee at Lessee's sole expense may be removed by Lessee at or prior to the
         expiration or earlier termination of this Lease or within thirty (30) days thereafter or by the
         Lessee's sublessee at or prior to the expiration or earlier termination of its sublease, provided
         that the removal thereof will not injure the Leased Premises or the structural integrity of the
         improvements or the New Stadium or necessitate changes in or repairs to the same. Lessee shall
         pay or cause to be paid promptly to the City the cost of repairing any damage arising from such
         removal and restoration of the Leased Premises to its condition prior to such removal.


                                      (c)       Abandonment. Any personal property of Lessee or any sublessee
         which shall remain on the Leased Premises for more than thirty (30) days after the expiration

         or earlier termination of this Lease may, at the option of the City, be deemed to have been
         abandoned by Lessee or such sublessee.                The abandoned personal property may either be
         retained by the City as its property, be disposed of, without accountability, in such manner as

         the City may see fit, or if the City shall give written notice to Lessee to such effect, such
         personal property shall be removed by Lessee at Lessee's sole cost and expense. During this
         period, the City shall not.be responsible for any loss or damage occurring to any such personal
         prOperty owned by Lessee or any sublessee.


                                      (d)       Holdover. It is understood and agreed that should Lessee hold over
         the Leased Premises beyond the Term, without first having extended this Lease by written
         agreement of both the City and Lessee, such holding over shall not be considered as a renewal
         or extension of this Lease and shall be a tenancy from calendar month to calendar month and
         for no longer period.
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                                      (e)       Delay in Surrender. If the Leased Premises are not surrendered

         at the end of the term, then Lessee shall hold harmless, indemnify and defend the City against
         loss or liability resulting from delay by Lessee or its assignees and sublessees in so surrendering
         the Leased Premises, including but not limited to any claims founded on such delay made by any
         succeeding occupant of the Leased Premises or any part thereof, and notwithstanding the
         provisions elsewhere in this Lease, Lessee shall be liable to the City for any and all legal
         expenses, costs, and fees incurred by the City in obtaining the possession of the Leased
         Premises.


                            29.       Recordation. The City shall cause this Lease to be properly recorded in

         the Cuyahoga County Recorder's office.


                            30.       Waiver. No waiver by either party at any time, express or implied, of any

         breach of any provisions of this Lease shall be deemed a waiver or a breach of any other
         provision of this Lease or a consent to any subsequent breach of the same or any other
         provision. If any action by either party shall require the consent or approval of the other party,
         the other party's consent to or approval of such action on any one occasion shall not be deemed
         to consent to or approve of said action on any subsequent occasion or a consent to or approval
         of any action on the same or any subsequent occasion. Any and all rights and remedies which
         either party may have under this Lease or by operation of law, either at law or in equity, upon
         any breach, shall be distinct, separate and cumulative and shall not be deemed inconsistent with

         each other; and no one of them, whether exercised by said party or not, shall be deemed to be
         in exclusion of any other; and any two or more or all of such rights and remedies may be

         exercised at the same time. No covenant, agreement, term or condition of this Lease to be
         performed or complied with by the Lessee, and no breach thereof, shall be waived, altered,
         modified or terminated except by a written instrument executed by the City.


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                           31.        Estoppel Certjficates. Either the City or Lessee, without charge, at any

        time and from time to time, upon ten (10) days written request by the other, shall certify, by
        written instrument, duly executed and acknowledged in recordable form, to the other party or
        any other person:


                                      (a)       that this Lease is unmodified and in full force and effect, or, if

        there has been a modification, that the same is in full force and effect as modified, and stating
        the date and nature of such modification;


                                      (b)       the dates, if any, to which sums due hereunder have been paid in

        advance;



                                      (c)       whether the other party is or is not in default in the performance
        of any covenant, condition or agreement on its part to be performed, and the nature of such
        default, if any; and


                                      (d)       such other reasonable and appropriate information as the other party
        may request.



                            32.       Approvals and Consents. Whenever the approval or consent of either party
        to this Lease is required or requested, such consent or approval shall not be unreasonably
        withheld. Unless otherwise specified herein, any such consent or approval shall be given or
        denied within thirty (30) days after request in writing therefor, and any failure to give or deny

        any such consent or approval within such thirty (30) day period shall be deemed to constitute
        the denial thereof.




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                          33.      Lessee's Equal Employment Opportunity and Affirmative Action Policies;

        Minority Participation.


                                   (a)     Compliance with Laws. Lessee hereby agrees to comply with all

        applicable affirmative action laws, including without limitation Chapter 187 (to the extent
        applicable) and any other laws and regulations administered by the City's Office of Equal
        Opportunity.


                                   (b)     Lessee's Equal Employment Opportunity and Affirmative Action

        Policies. Lessee hereby agrees to use best efforts to employ qualified minorities for forty
        percent (40%) and females for twenty percent (20%) of the new, project related, full-time
        equivalent jobs and positions created at the Leased Premises (other than the jobs and positions
        related to the Team's players, coaches and trainers). Minorities shall have the meaning set forth

        in Chapter 187 of the Codified Ordinances of Cleveland, Ohio, 1976, as said ordinances may
        be amended from time to time ("Chapter 187").



                                   Lessee further agrees to use best efforts to employ qualified persons who
        at the date of hire are residents of the City of Cleveland for seventy-five percent (75 %) of the

        new, project related, full-time equivalent jobs and positions created at the Leased Premises

        (other than jobs and positions related to the Team's players, coaches and trainers).



                                   (c)     MBEJFBE Participation. Lessee agrees to use best efforts to award
        or cause to be awarded at least forty percent (40%) of all contracts for operation of the Stadium

        (including those described in Section 23(a)) to minority and/or female owned business enterprises
        ("MBFJFBES") that are certified by the City's Office of Equal Opportunity. MBE/FBES shall
        have the meaning set forth in Chapter 187.

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                                       To verify the award of MBE/FBE contracts, Lessee shall submit copies

            of all contracts. subcontracts, purchase orders, cancelled checks and other information as may

            be required by the City's Director of Equal Opportunity, with a copy to the Director of Parks,
            Recreation and Properties at the notice address set forth in Section 35.


                                       (d)      Quarterly Report. Lessee agrees to submit or cause to be submitted

            to the City's Director of Equal Opportunity, with a copy to the Director of Parks Recreation and
            Properties and a copy to the President of the City's City Council at the notice addresses set forth
            in Section 35 a quarterly report, setting forth information necessary to determine the attainment
            of the goals set forth in this Section 33. This information shall include, but not be limited to,
            the number and types of jobs created and contracts awarded, to whom the jobs were filled by
            and contracts awarded to, and any and all other information required by the City.


                              34.      Equal Employment Opportunity. During the performance of this Lessee,
            the Lease agrees as follows:



                              (a)      The Lessee shall not discriminate against any employee or applicant for
            employment because of race, religion, color, sex, sexual orientation, national origin, age,
            disability, ethnic group or Vietnam-era or disabled veteran status.              The Lessee shall take
            affirmative action to insure that applicants are employed and that employees are treated during
            employment without regard to race, religion color, sex, sexual orientation, disabled veteran
            status.    As used herein, "treated" means and includes without limitation the following:
            recruited, whether by advertising or other means; compensated, whether in the form of rates of
            pay or other forms of compensation; selected for training, including apprenticeship, promoted,

            upgraded, demoted, downgraded, transferred, laid off and terminated. The Lessee agrees to and
            shall post in conspicuous places, available to employees and applicants for employment, notices
            to be provided by the hiring representatives of the Lessee setting forth the provisions of this
            nondiscrimination clause.
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                              (b)       The Lessee will, in all solicitations or advertisements for employees placed

          by or on behalf of the contractor, state that the Lessee is an equal opportunity employer.


                              (c)        The Lessee shall send to each labor union or representative of workers

          with which it has a collective bargaining agreement or other contract, or understanding, a notice
          advising the labor union or worker's representative of the Lessee's commitments under the equal
          opportunity clause, and shall post copies of the notice in conspicuous places available to
          employees and applicants for employment.


                              (d)        It is the policy of the City that business concerns owned and operated by

          minority persons and/or women shall have every practicable opportunity to participate in the
          performance of contracts awarded by the City.


                              35.        Notice. Any notice which is required or proper under the terms of this
          Lease to be given by the City or the Lessee shall be in writing and shall be deemed sufficient

          if such notice is delivered in person, sent by nationally recognized overnight courier, delivery

          fees prepaid, or sent by certified mail, postage prepaid, with return receipt requested, to each

          of the parties entitled to receive such notice at the delivery or Post Office address respectfully
          furnished to the City or the Lessee by each of such parties, unless otherwise expressly provided
          in this Lease. Any such notice shall be deemed delivered upon hand delivery, the day after
          depositing with a reputable overnight courier, or three (3) days after depositing such notice in
          a postal receptacle, return receipt requested. The addresses originally specified for the City and
          the Lessee and to serve until notice otherwise shall be given are:




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                                            City:            The Director of Law
                                                             City Hall
                                                             601 Lakeside Avenue, N.E.
                                                             CIeveland, Ohio 44114
                                                                      and
                                                             The Director of Parks, Recreation and Properties
                                                             City Hall
                                                             601 Lakeside Avenue, N.E.
                                                             Cleveland, Ohio 44114
                                                             with a copy to:
                                                             President
                                                             Cleveland City Council
                                                             City Hall
                                                             601 Lakeside Avenue, N.E.
                                                             Cleveland, Ohio 44114
                                            Lessee:          Commissioner
                                                             National Football League
                                                             410 Park Avenue
                                                             New York, New York 10022
                                                             with a copy to:
                                                             Gregg H. Levy, Esq.
                                                             Covington & Burling
                                                             1201 Pennsylvania Avenue, N.W.
                                                             Washington, D.C. 20004

                           36.     Tlectrical Supply. So long as the City operates Cleveland Public Power,
         the City agrees to supply, through Cleveland Public Power, and the Lessee agrees to accept and
         pay for at customary commercial rates, electrical power to the exterior surface of the New
         Stadium, or such other parts of the Leased Premises, in such amounts and in such a manner as
          is reasonably necessary or appropriate to maintain and operate the Leased Premises.


                           37.      Landlord's Lien. The City shall have a lien on all personal property of
          Lessee located on the Leased Premises. The City agrees that it shall subordinate its landlord's
          lien to any lender permitted by the terms of this Lease acquiring a lien on such personal property
          which lender has (i) provided purchase money financing for such personal property or (ii)
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        provided working capital financing for Lessee, or to any other lender holding a loan permitted
        pursuant to Section 23(b).


                          38:         Ouiet Enjoyment. The City warrants that the Lessee, subject to the terms

         and pro.visions of this Lease and upon payment of the charges required hereunder and observing
        and performing all of the terms, provisions and conditions hereof, shall lawfully, peaceably and

        quietly have and enjoy the use of the Leased Premises and all appurtenances thereto during the
         term hereof. Any provision of law to the contrary notwithstanding, the City acknowledges that
         breach of this provision creates irreparable harm not ascertainable or compensable in money
        damages, and consents hereby to any injunctive action filed by the Lessee in any competent court
         in the State of Ohio to enjoin or remedy such breach. Lessee agrees that in case of a breach of

         this provision, it may be entitled to money damages or appropriate equitable remedies, it being
         understood by the parties that the remedy of termination of this Lease shall only be available (a)

         in the event of a title problem which materially adversely affects the Lessee's full use and
         enjoyment of the Leased Premises for the purposes for which it is leased hereby and (b) as
        specifically provided herein. The parties acknowledge that the remedy of termination for breach
         of quiet enjoyment is not a favored remedy of the parties and should only be awarded by a court
         in the event that no other remedy at law or in equity would be adequate.


                          39.         Provisions Binding. The parties agree that they have had meaningful
         discussion and/or negotiation of the provisions, terms and conditions contained in this Lease.
         Therefore, doubtful or ambiguous provisions, if any, contained in this Lease shall not be
         construed against the party who physically prepared this Lease. The rule commonly referred
         to as "Fortius Contra Proferentiun" shall not be applied to this Lease or any interpretation
         thereof.



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         conditions made between the parties hereto and all the financial obligations of the parties hereto,
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    and may not be modified orally or in any other manner other than by an agreement in writing,
    signed by all the parties hereto or their respective successors in interest.


                   41.    SeverahiIity.    In the event that any provision of this Lease, or the
    application thereof to any person or circumstances, shall, for any reason and to any extent, be
    determined or declared by any court of law or other binding authority to be invalid or
    unenforceable, the remainder of this Lease, and the application of such provision to any other

    person or circumstance, shall not be affected thereby, but rather shall be construed and enforced
    as if the invalid or unenforceable provision were not contained herein.


                   42.     No Partnership. Nothing contained in this Lease shall, or shall be deemed

    or construed so as to create the relationship of principal-agent, joint venturers, co-adventurers,
    partners or co-tenants between the City and Lessee; it being the express intention of the parties
    that they are and shall remain independent contractors one as to the other.


                   43.     Effectiveness of Lease. Before this Lease may become effective, it must
    be executed by the Commissioner of the NFL pursuant to 1996 Resolution G-1 duly adopted by

    the NFL Executive Committee on February 10, 1996 and by the Mayor and the Director of

    Parks, Recreation and Properties of the City pursuant to Ordinance No. 303-96 duly adopted by
    the Council of the City on March 8, 1996, and this Lease shall be effective upon the last of such
    executions. Notwithstanding the foregoing, this Lease shall become null and void and of no

    further force or effect if the NFL's obligations to locate a professional football franchise in

    Cleveland, Ohio is terminated pursuant to the NFL Agreement.



                   44.     Schedules and Exhibits.        All schedules and exhibits attached hereto
    shall be deemed to be and are incorporated herein by reference and made a part of this Lease.

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                            45.       Broker's Commission. Each of the parties represents and warrants that
         there are no claims for brokerage commissions or finder's fees in connection with the execution

        of this Lease, and agrees to indemnify the other against, and hold it harmless from, ail liability
        arising from any such claim including, without limitation, the cost of counsel fees in connection
         therewith.


                            46.       Gender and Number. Words of any gender used in this Lease shall be held

         to include any other gender, and words in the singular number shall be held to include the plural
        (and vice-versa), when the sense requires.


                            47.       Headings and Captions. The captions and section or paragraph headings

        are inserted only for convenience, and are in no way to be construed as a part of this Lease or
        as a limitation on the scope of the particular provisions to which they refer.


                            48.       Governing Law.. This Lease shall be governed by the laws of the State of
        Ohio.


                            49.       Time is of the Essence. Time is of the essence in the Lease.


                            50.       Survival. The liabilities and obligations of the NFL under Section 3, the
         provisions of Sections 18, 26 and 28, the first sentence of the third paragraph of Section 20(a),
         the last sentence of the third paragraph of Section 20(a), the last sentence of the second
         paragraph of Section 21, the last sentence of Section 22(a), and any liabilities or obligations of
         the Lessee or the City arising or relating to periods prior to the termination of this Lease, shall
         survive any expiration or earlier termination of this Lease.


                            51.       Counterparts. This Lease may be signed in counterparts, each of which
ElectronicaNdIVOLStill11022EIV           WV 25 110189 / Confirmation Nbr. 3377194 / CLJSZ

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                         52.      Third-Pam, Beneficiaries. There shall be no third-party beneficiaries of

       this Lease.


                         53.      Requirements of Law. The performance by the City under this Lease is

       subject to the Charter of the City and all applicable laws of the State, including that the
       obligations of the City under this Lease to perform any covenants that require the expenditure

       of City funds in subsequent fiscal years are subject to and conditioned upon the appropriation

       of funds therefor.


                         54.      Lessee as Manager. The City hereby designates the Lessee as manager
       of the Leased Premises for purposes of Ohio Revised Code Section 5709.081(B) and this Lease
       shall constitute a management or similar agreement for purposes of Section 5709.081(B).


                         55.      Court Costs and Attorneys' Fees and Expenses.              In the event that in
       connection with any dispute arising under the terms of this Lease either parry hereto should

       initiate suit or other judicial proceeding against the other party hereto to enforce its rights
       hereunder, to the extent permitted by law, the prevailing party in any such suit or proceeding

       shall be entitled to receive from the non-prevailing party to the suit or proceeding, in addition

       to any other amounts to which the prevailing party may be entitled, the amount of all court costs
       and reasonable attorneys' fees and expenses incurred by such prevailing party in connection with

       the suit or proceeding.




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                          IN WITNESS WHEREOF, the City of Cleveland has caused its name and

        corporate seal to be affixed to duplicate copies of this Lease by its Mayor, and its Director of
        Parks, Recreation and Properties, thereunto duly authorized, and the National Football League
        has caused its corporate name to be affixed to duplicate copies hereof by its Commissioner and
                                     , all as of the 26th day of April, 1996.



        Signed and Acknowledged in                                    THE CITY OF CLEVELAND
        the Presence of:
        (w. sse


                                                                                            ayor
        Printed Name: 2           D Pi xt„


                                                                      By &L.-           /422.61N
                                                                                    Dire&or of Parks,
        Printed     ame: .5/-174-12‘44 so (30-- z:74,0-ers-J                     Recreation and Properties


                                                                      NATIONAL FOOTBALL LEAGUE,
        (witnesses                                                    individually as to Section 3, and
                                                                      as nomine     r the New Owner

                                                                      By                   fr
Electronicaily riled 01/14/2025 15:55 / / CV 25 110189 / Confirmation Nbr. 3   7194 TCL      issioner
        Printed Name: rUktrc 1-1A-1.Zg
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                                           Th_t\wi . .
                                                                 ment      eby approved as
                                           to 1dg        orm a    correctnes            la ,
                                           19 .


                                                                 irector of La

                                I

                                                     (To be executed upon assignment)

                                                                                               , Lessee
       (witnesses as to both)


       Printed Name:




       Printed Name:




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        STATE OF OHIO
                                                    )       sS.
        COUNTY OF CUYAHOGA

                      BEFORE ME, a Notary Public in and for said County and State, personally appeared
        Michael R. White, Mayor, and Oliver B. Spellman, Director of Parks, Recreation and

        Properties, of the CITY OF CLEVELAND, the municipal corporation on whose behalf the
        foregoing Lease was executed, who acknowledged, that they did sign the same for and on
        behalf of said City of CIeveland, being thereunto duly authorized and that the same is their free
        act and deed individually and as such officers and the free and corporate act and deed of said
        City of Cleveland.


                      IN WITNESS WHEREOF, I have hereunto set my hand and official seal at
        Cleveland, Ohio, this(             day of                 , 1996.




                                                                                          Notary Public

                                                                              KENNETH E. BANKS, JR. Attorney at Li,
                                                                                Notary Public . State of Ohio
                                                                               My commission has no expiration date
                                                                                        Sec. 147.03 R.C.




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                  OF1                      zde„,,AL         SS.
        COUNTY-0

                      BEFORE ME. a Notary Public in and for said County and State. personally appeared
        Paul Tagliabue, Commissioner, and                                                                 of the

        NATIONAL FOOTBALL LEAGUE, an unincorporated, non-profit association, on whose behalf
        the foregoing Lease was executed, who acknowledged that they did sign the same for and on

        behalf of said association, being thereunto duly authorized and that the same is their free act and
        deed individually and as such officers and the free and corporate act and deed of said
        association.


                      IN WITNESS WHEREOF, I have hereunto set my hand and official seal at

                                               . , this //day of                      , 1996.




                                                                                             /ddiz
                                                                                         Notary Public
                                                                      Ccamiul.on             1-1-, 200Q




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       STATE OF
                                                       SS.
       COUNTY OF

                    BEFORE ME, a Notary Public in and for said County and State, personally appeared
                                          and                                     , 2S                   and
                                         of the                                  ,a                      , on
       whose behalf the foregoing Lease was executed, who acknowledged that they did sign the same

       for and on behalf of said association, being thereunto duly authorized and that the same is their

       free act and deed individually and as such officers and the free and corporate act and deed of
       said association.


                    IN WITNESS WHEREOF, I have hereunto set my hand and official seal at

                                                         , this      day of




                                                                                         Notary Public

       This instrument prepared by:

       Squire, Sanders & Dempsey
       4900 Society Center
       127 Public Square
       Cleveland, Ohio 44114




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                                                 FISCAL OFFICER'S CERTIFICATE

                        The undersigned, being the fiscal officer of the City of Cleveland, Ohio, certifies that

        the moneys required to meet the obligations of the City during the year 1996 under the foregoing
        Lease by Way of Concession between the City and the National Football League have been
        appropriated lawfully by the Council of the City for that purpose and are in the treasury or in

        the process of collection to the credit of an appropriate fund, free from any previous
        encumbrance. This Certificate is given in compliance with Sections 5705.41 and 5705.44 of the

        Revised Code.




        Dated:                             a , 1996                            /6 ,61,„
                                                                                    Director   Finance




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                                                         EXHII3IT A

                                   ASSIGNMENT AND ASSUMPTION OF LEASE

                     This Assignment and Assumption of Lease is made and entered into at
                           ,                  this         day of                         , 199 by and
        between the National Football League, an u-iiiiiFo-rporated, non-profit association ("Aliignor")
        and                                                        , the owner of the National Football
        League franchise ("NFL franchise"), whose home territory is Cleveland, Ohio ("Assignee").

                                                          RECITALS


                     A.      Assignor and Assignee have entered into a Franchise Commitment
        Agreement, dated as of April 26, 1996 ("Franchise Commitment Agreement"), providing for,
        among other things, the acquisition by Assignee of the NFL Franchise; and
                      B.      The Franchise Commitment Agreement requires the Assignor to assign,
        and the Assignee to assume, all of Assignor's right, title and interest in and to the Lease by Way
        of Concession (defined below).
                      NOW, THEREFORE, for valuable consideration, the receipt and sufficiency of
        which are hereby acknowledge, the parties agree as follows:
                          1.       Assignment.
                               Assignor hereby assigns to Assignee (1) all of Assignor's right, title,
        interest and obligations as Lessee under that certain Lease by Way of Concession dated as of
        April 26, 1996 by and between the City of Cleveland and the Assignor and (ii) Assignor's entire
        leasehold estate thereunder (collectively, the "Lease").
                          2.       Assumption.

                              In consideration of the foregoing assignment, Assignee hereby expressly
        agrees to be bound by and perform all of the obligations and liabilities of the New Owner and
        Lessee relating to periods of time or events occurring subsequent to the Commencement Date
        (as defined in the Lease) or, in the event of the occupancy and use of the Leased Premises prior
        to the Commencement Date, occurring subsequent to such occupancy and use.




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                                                                on
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                     IN WITNESS WHEREOF, the parties have duly executed this Assignment and
         Assumption of Lease as of the date first above written and shall be effective as of

                                                                      NATIONAL FOOTBALL LEAGUE



                                                                      By:
                                                                      Its:



                                                                      By:
                                                                      Its:



                                                                                                       ASSIGNEE


                                                                      By:
                                                                      Its:


                           ACKNOWLEDGED this                   day of                        , 199_.

                                                                      THE CITY OF CLEVELAND



                                                                      By:


                           The within instrument is hereby approved as to legal form and correctness
                                           ,199

                                                                      Director of Law




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       STATE OF
                                                     SS.
       COUNTY OF

                   BEFORE ME, a Notary Public in and for said County and State, personally appeared

       Paul Tagliabue, Commissioner, and                                                        , of the

       NATIONAL FOOTBALL LEAGUE, an unincorporated, non-profit association, on whose behalf
       the foregoing* Assignment and Assumption of Lease was executed, who acknowledged that they
       did sign the same for and on behalf of said association, being thereunto duly authorized and that
       the same is their free act and deed individually and as such officers and the free and corporate
       act and deed of said association.
                   IN WITNESS WHEREOF, I have hereunto set my hand and official seal at
                                         , this     day of                , 1996.




                                                                           Notary Public


       STATE OF                               )
                                              )      SS.
       COUNTY OF                              )
                   BEFORE ME, a Notary Public in and for said County and State, personally appeared
                                   , Assignee, who acknowledged that he/she did sign the foregoing
       Assignment and Assumption of Lease, and that same is his/her free act and deed.
                   IN WITNESS WHEREOF, I have hereunto set my hand and official seal at

                                           , this     day of                , 1996.



                                                                             Notary Public
       This instrument prepared by:

       Squire, Sanders & Dempsey
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       12 Public Square
 •     CleveIand, Ohio 44114
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                                                             EXHIBIT B

                                                    Description of Leased Premises

                                             [Description of Stadium Parcel to come)




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                                                           EXHIBIT A



       S:tuiticci in the City of Cleveland, County of Cuyahoga and State of Ohio and Icnown as being part
       of extended Original Two Acre Lot Numbers 9 through 17 (both inclusive), and together
                                                                                                forming a
       parcel of land bounded and described as follows:

       Beginning in the centerline of West 3rd Street (99 feet wide), at its point of intersection with the
       centerline of Erieside Avenue, N.W. (70 feet wide) as shown by the Dedication. Plat of Erieside
       Avenue, N.E. and N.W. and West 3rd Street, recorded in Volume 204 ofIvf2r. , Page 69 of
       Cuyahoga County Records;

       Thencc South 33° 56' 46" East, along the centerline of West 3rd Street, 346.23 feet to a point;

       Thence North 56° 03' 14" East, along a line drawn perpendicular to said oznttrline of West 3rd
       Street, 72.74 feet to its point of intersection. with the Northeasterly curved dine of said West 3rd •
       Sint, said point also being the Southwesterly corner of the Donald Gray Gardens and the
       principle place of beginning of the pared of land herein intended to be deiczibed;

       Thence Northeasterly, along the curved Southeasterly line of Erieside Avt.,--rue NF., being the arc
       of a circle deflecting to the right, having a radius of 457.01 feet and a chord that bears North 34°
       09'36" West, 533.59 feet, an arc distance of 569.79 feet to a point of tang ey therein;

       Thence North 55° 50'24" East, continuing along the Southerly line of Erieside Avenue N.E.,
       445.39 feet to a point of eurvatann therein;

       Thence along the arc of a circle deflecting to the right, having a radius of 515.00 feet, a chord that
       bears South 570 29' 05" East, 2956 feet, an arc distance of 29.57 feet to a point of compound
       curvature;

       Thence Southeasterly, along the Westerly line of Erieside Avenue (70 feet wide) as relocated,
       along an arc of a circle deflecting to the right, having a radius of 30.00 feet, a chord that bears
       South 87° 281 59" East, 33.03 feet, an arc distance of 34.98 feet to a point of compound curvature;

       Thence continuing Southeasterly along the Westaly line of aieside Avenue, as relocated, along
       the arc of a circle deflecting to the right, having a radius of 190.00 feet, a chord that bears South
       44° 06' 13" East, 65.69 feet, mare distance of 66.03 feet to a point of tangency;

       Thence South 34° 08' S5* EMI along the said line of relocated Erieside Avenue, 462.69 feet to a
       point of =wit= therein;

       Thence Soutl2easterly along said line of relocated Erieside Airmue and the are of a circle
       deflecting to the left, having a radius of 335.00 feet and a chord that bears South 72° 20' 27" East,
       41426 feet, an arc distance of 446.61 feet to a point;        ..




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             Thence South 20° 31' 59" East, 25.00 feet to a point on the Northweslerly line of the West 3rd
             Street exit ramp of the Cleveland Memorial Shoreway NZ and N.W.;

               Thence South 56° 01' 58" West, alone, said Northwesterly      thc \l/(zt 3rz!S                up of
                  CleydrkuclivZo.u:nidiShortway N.E. and N.W., 117.38 feet to an angle point thezein;

               Thence South 54° 27' 44" West, contintling along said Northwesterly line of the West 3rd Street
               exit ramp of the Cleveland Memorial Shoreway N.E. 3134 N.W., 64.87 fit to it point of curvature
               therein;

               Thence Southwesterly, along the curved Northwesterly line of the West 3rd S erect exit ramp of the
               Cleveland Memorial Shorrway N.E. and N.W., being the arc of a circle deflecting to the left,
               having a radius of 980.00 feet and a chord that bears South 47° 12' 58" West, 247.22 feet, an arc
               distance of 247.88 feet to a point of reverse curvature therein;

               Thence Southwesterly, continuing along the curved Northwesterly line oldie West 3rd Street exit
               ramp of the Cleveland Memorial Shoreway N.E.. and N.W., being the arc of a circle deflecting to
               the right, having a radius'of 1480.00 feet and a chord bearing South 49° 45' 29" West, 503.20 f -t,
               an me distance of 505.66 feet to a point of curvatet therein;

               Thence South 59° 32' 45" West, along said Norths tetrly line of the West 3rd exit ramp of the
               Cleveland Memorial Shoreway N.E. and N.W, 20127 feet to the Southeasterly end of a curved
               =lout between said Northwesterly line of the West 3rd Street east ramp of fat. Cleveland
               Memorial Shoreway, N.E. and N.W. and West 3rd Street;

               Thence Northwesterly, along said turnout, being an arc of a circle deflecting to the right, having a
               radius of 100.00 feet, an arc distance of 150.99 feet to a point of tangency in seid Northeasterly
               line of West 3rd Street;

               Thence North 33° 56' 46" West, continuing along the Northwesterly line of West 3d S!rect, 421.07
               feet to a point of c-orvature therein;

               Thence Northeasterly, along the Northeasterly curved line of West 3 rd Stns, being the arc of a
               circle deflecting to the right, having a radius of 457.01 feet and a chord that bps North 24° 461
               13" West, 145.75 feet an arc distance of 14638 feet to the principle place of beginning according
               to a sizvey dated May, 1986 by the City of Cleveland, Department of Public Service, Division of
               Engineering and Construction, Plats and Surveys. This legal description was prepared by Jornarie
               Wasik, Ohio Professional Surveyor Number 7027. Bearings are to an assumed meridian and are
               used to denote angles only.




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                                                          EXHIBIT C

                                                      Signage Standards




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                                                            Schedule 14M
                                                       Capital Repair Fund Budget
                                                                                             Amount Allocated
                                                                         Reserve                to Capital
         Year                          Contribution                      Amount               Improvements

        1996                            $          0               $           0                      $0
        1997                             2,000,000                    2,000,000                       0
        1998                                       0                           0                      0
        1999                                500,000                     500,000                       0
        2000                                500,000                     500,000                       0
        2001                                650,000                     650,000                       0
        2002                                650,000                     650,000                       0
        2003                                650,000                     650,000                       0
        2004                                650,000                     650,000                       0
        2005                                650,000                     650,000                       0
        2006                                850,000                     850,000                       0
        2007                                850,000                     850,000                       0
        2008                                850,000                     850,000                       0
        2009                                850,000                     850,000                       0
        2010                                850,000                      (To be                 (To be
        2011                                850,000              established per        established per
        2012                                850,000                  Section 14)            Section 14)
        2013                                850,000
        2014                                850,000
        2015                                850,000
        2016                                850,000
        2017                                850,000
        2018                                850,000
        2019                                850,000
        2020                                850,000
        2021                              5,900,000
        2022                              6,300,000
        2023                              6,700,000
        2024                              7,100,000
        2025                              7,500,000
        2026                                     -0-
        2027                                     -0-
        2028                                     -0-




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     Signage requirements for Gateway Sports Complex from the Central Market community De-
     velopment Plan accepted by the Cleveland City Planning Commission September 26, 1986
     and last amended August 11, 1993.

                                E.     Signege
                                 A couplete signage plan for the mite shall be submitted
                to and approved by the City Tlanning Commission. Signs which shell be
                visible from public rights-of-way and public open spaces shall be
                limited to signs identifying the sports facility district, the stadium,
                 the arena, and associated parking facilities.  Such signs may identify
                primary tenants and events occurring in the sports facility district, at
                 the atadium and at the arena, but shall not display advertising for
                prodects 'services, businesses, corporations, or other organizationa,
                 Permitted sign types shall be limited to the following;
                                 District Identification Signet Signs identi₹ying or
                naming the sports facility district nay be placed along ontario street,
                catnegiet Avenue, and Zest 9th Street.

                                 Event Identification Signs: Signs identifying the
                 events occurring at the sport facility may b© placed along Ontario
                 Street, Carnegie Avenue, and East 9th Street.
                                 Wilding Identification Signs; Signs identifying or
                 naming the stadium end arena may be placed on the buildings or on the
                 site in the vicinity of the buildings.

                                  Tenant Identification Signs: Signs identifying the
                 maJor tenants of the otadium and arena may be placed on the buildings or
                 on the site in the vicinity of the buildings. Signs identifying other
                 temente of space on the site may be placed on the building for those
                 tenants occupying a pottiot of the ground floor of the building,
                 containing an entrance from the building exterior, and &aperated from
                 other ellen apacee by a party wall or walls.
                                  Parking Identification signs: Signs identifying on-aite
                  parking facilities may be placed at the buildings or on the site in the

                  vicinity of surface parking.
                                   Directional Sign3C signs indicating a direction or a
                  toeatiort to which pedestrian or vehicular traffic is requested to move
                  chilli be placed se appropriate.

                                  Informational Signs; Signs which present 4.3neltaw...Quo
                  imfermation or inatructiona intended to serve the public product or
                  issue and not containing inforeatioe included in the definition of any
                  other sign shall be, placed as appropriate.

                                  Penner Signet signs which may be mounted on light poles
                  in public rights-of-way and public ?pen space shall be placed as
                  appropriate presenting information xnaluded in the definitiana of the
                  algae identified abate.

                                   Sooreboardt A variable massage scoreboard which nay be
                  vi Bible gun one or more public rights-of-way may be pieced within the
                  stadiums and may be used tor the display of advertising for pro&acts,
                  services, businesses, eorpotations, or other arganizations.




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                                 Electronic Changeable Copy signs: Variable message
                 sigta whicb may be visible from one or more public rights-of-way or
                 public open spaces may be placed on or adjacent to the arena, stadium,
                 or parking garage. All net reVanams generated from infotmation
                 displayed oh such sigma shall be ustd for the maintenance of public open
                 spaces and atreetecape associated with the sports facility complex,
                 reformation dielolayed on these signs shall be limited to the following;
                                        a.      Identification of the sporte facility complex, the
                 arena, or the etadium,

                                 b.   identifioation of events bald at the sports
                 facility conplex, the arena, or the Stadium.
                                 c.   Identification of events held at other local public
                 aemembly facilities.
                                    d.   Acknowledgement of organizations or individuals
                  aponsoring 917411tA held at the facility or contributing to the
                  tonstruction or operation of the facility ae sponsors or patrons.
                                  0.   identification of products or eervicea offered for
                  sale on the premises of the facility.
                                  f.   Public service massages such as time, temparature,
                  and informatiom of a civic nature. These public service momagas shall
                  be displayed at least twenty (20) percent of the time during which
                  electronic changeable copy signs are operating between the hours of 7:00
                  A.M. and 12 Midnight.
                                  The aignage plan 011011 present the pieimum amount of
                  signage required to provide necessary information to the public and to
                  reflect a degree of order and uniformity through the elemeate of scale,
                  placement, type, format, and graphics. The signage plan shad identity
                  the design and location of each Isigh including sire, color, material*,
                  and means of illumination which shall be in conformance with Sign
                  Regulations, Chapter 350 of the Codified Ordinances and in conformaece
                  with all urban design guidelines adopted by the City Planning Conmaasieu
                  in accordance with section III,S, of this Plan.




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   Regular Meeting - March 19, 1999



               Mr. Morrison said that the staff had drafted a resolution for the Planning Commission to
               V./..eigh.m.gtitding the gate signs such that if the Planning Commission approved them it
               would be delimiting the scope of. its approval. The-resolution sets forth the
               approptiatertess of the gate signs as designed and contrasted.offpremises advertising,
               such si*age with which is deemed unacceptable. Be said that the meetintininutes
               required a Clear rationale stating why the gate signs as presented are acceptable and
               nodded and do not constitute off-premises advertising. He then read tilcid a draft
               rephitiOn: He said that the gate signs were consistent With City p0lidy inflaming
               1.*1-dinei

               CorphiSsiiiner Robinson concurred with the resolution. and said that the.:gaWsigiis would
               riot.begAise,of their location, be read in any way as builclinknarning

               Mr. MartiVon said that the gate signs will be unified by theirheight, construction; and
               depth andall tendered in brush aluminum. He said that design detailS. Will be tefined.
               the geffinVaticing with the project architect and the sign designer. Heald that.
               atclii*Os. were to be commended for not hindering the openness of the stag um natches
               He said-that the design for the signs of the two suite gates on the. north side of the
               bttildink *in be presented later.
                Aeling,Chairman Coyne commended the design team for the excellence of theratactiUm's
                degitu.

                In As.POrtSe; MS. Drowning said that the building is. going to be. a tribute to the City.

                Mr. Mattison. put forth the proposed resolution for Planning: CornnaissiOn action.


                                                   CPC Resolution No. 319-99

      Nyher ,..tti.e,§4q of OrOipg rights to private corporations for publicly own.e:darenas            stattabaS
      Hero i litaidard#aPtiee in cities throughout the United States;

      Wtlereg:F, tale 0:,q0.1* ti.f. the. Cleveland Browns have the right in theirlease With the-"City of -0.leveland as'
      it WAS itegat,iated With the National Football League in 1996 to marker to priYafP:40P0Oljt)00: ttit name
      afthqtie*.fc•Abal)..-atat1ipt at N.bith coast Harbor;

       Whereop; the ownet$: of the Cleveland Browns have proposed to. name the We* ktatthiin
       Bins):**404itet if alItrwedna sell naming rights 1or-siX entrance gates Providing patron access to the
       itaVd




                                                                                                     16

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      Regular Meeting — Mnrch 19, 1999




      Whereas, the name "Cleveland Browns-.Stadium" recognizes the strong support of Clevelanders for this
      franchise and assures, that in broadcasting and .promoting events at.the new stadium, the name
      "Cleveland: shall beat the forefront;

       Whereas, the owners of thecleverantl..BrOWns.are,cortimitted to:marketing the naming rights to
       Cleveland-area corporations, thus furtheringthe public-private partnership that has been vital to
       Cleveland's renaissance and the- firimeing 00h.6:city's.neW sports facilities;

       Whereas, the owners of the Cleveland Browns intend to sell discrete gate names to Corporations for a
       period of no less than 10 years: With ;the intention that patrons associate the gate name with its iodation
       and are, directed to specific entrances:around the new stadium;

       Whereas,. the design of      Pew stadinenit unique insofar as. the upper deck level is discontinuous
       between the sidelines, thus requiring that patrons utilize.specific..gates to access the appropriate ramps
       and elevators to reach their seals.

        Whereas, the owners of the Cleveland BrOWpa are COMMitted to utilizing the gate, names as part of its
        formal wayfinding syStera ., arid.will feature. the gate naives imprinted and broadcast materials including
        tickets, brochures and public information which wip.assist•the. public in finding the apprOpriate" gate
        entrance to reach theirSetits;

        Therefore, bait resolved that:

        1.       The City Planning Commission accepts the pnOpntal-triade by the Cleveland Browns to designate
                 the new fOotball stadium, the "Cleveland Browns Staaluze and, in foregoing its right to market
                 the name of the new stadium to a private corporation, shall substitute in lieu thereof the
                 marketing of naming.rights            cOrppr,itipns fOr four primary entrance gates.

        2.       The City Planning -Commission determines that the .proposed sponsored gate names for the four
                 primary entrances and the two north Stifle eritrancOS on the exterior of the stadium shall identify
                 discrete building entrances in a large and unique. public assembly facility.

        3.       The identification                      eritraheesiS esSential component of the building
                 wayfinding system and shall be reinforced bythe use of the discrete sponsored gate names on
                 tickets; stadium direCtiOnal,S:ign4e;,.pOU inforinatibit ;and other media communications for the
                 purposes' a dire6tihkpatront to their Beats. •

         4.      The prOpoSedgate-sigriage i4etitAit.SPeelfi6iuildingele.niente of a uniquely designed public
                 assembly facility and doe.s.not amigtitute oft-preMises advertising sigriage within the meaning of
                 the. City's COdifted *tifirianee,S.



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                                                                                                        cq   *AV.
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      5.       These primary gate and suite entrance signs are hereby approved as presented With the
               understanding that the project sponsors for the stadium shall preSent the design detail& to the staff
               for review and. approval.

      ACTION #2: Motion to Adopt Resolution No. CPC.03l 9.99.

      BOWEN Y BURKE 2 COYNE Y LUMPKIN Y PMNEY 1.ROBINSON,                                             SMALL 1(.

      APPROVED X APPROVED SUBJECT TO STATED AMENDMEPT
      DISAPPROVED ^ DISAPPROVED UNLESS. AMENDED                            TABLED.._
               •
           MOTION #2: The Design Review Cominittee recommends approval as 1*-swited
           ot.t4e pitposerlentry gate signs for the Cleveland. Browns •Staditgri. With:the
           understanding that the City Planning 'Commission will rule 0n.the appropriatenesS
                  proposed naming or sponsorship approach to. these locations: It is
           understood that the staff will review the desigis of these Sigis as they are
           submitted,

       ACTION #3: Motion to. Adopt Motion #2 of the Design                           COnixttit.tee.
       BO ?EN Y BURRE2_COYNE Y LUMPK1N Y PINKNEY 1 ROBTNSON- Y SMALL. Y
       APPROVED X APPROVED SUBJECT TO STATED AMENDMENT
       DISAPPROVED   DISAPPROVED UNLESS AMENDED    TABLED_
                Piir. Morrison said that two issues needed clarification for: the:reortl. The
                fixstrheisaid, had to do With the scoreboards that had been approved in.
                Orinciple. He, said that any modifications to it were .going to be reviewed by
                the staff, fie said that, from certain vantage points, scNertjsing:on. the
                scoreboard will 4e visible from the pUblic right-:of-wayResaid thatthe4laff
                has taken the position that this situation is an accident Of the design. tie
                til4t he utideratoOd the Browns took the same              that ii was their intent
                01,4t tl*S'Pereboard  panels are illuminated.only  forstadium,events,
                 ksb.. lientiatet
                        .         said that Jacobs Field        lighted on norm-game nights about.
                 thhq. tithei altar,                                            •




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                                                   CENTRAL MARKET

                                           COMMUNITY DEVELOPMENT PLAN




                Cleveland City Planning Commission                    Accepted: September 29, 1966
                Hunter Morrison, Director                              Amended: November 5, 1990
                                                                                June 17, 1991
                                                                                February 24, 1992
                                                                                August 11, 1993




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                                                      CENTRAL MARKET
                                                COMMUNITY DEVELOPMENT PLAN

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               I.        CENTRAL MARKET COMMUNITY DEVELOPMENT PLAN

                        A.      BOUNDARIES

                                1.     THE CENTRAL MARKET COMMUNITY DEVELOPMENT PLAN AREA

                          After review of the blighted conditions found in the blight
               survey for the Central Market.Survey Area, the City Planning Commission
               has, pursuant to local ordinances, designated a portion of the Blight
               Survey Area as a Community Development Plan Area in order to prescribe
               treatments that will eliminate the blight and prevent the recurrence of
               blight.

                           The boundary of the designated Community Development Plan
                Area, entitled the "CENTRAL MARKET COMMUNITY DEVELOPMENT PLAN AREA", is
                delineated in Exhibit I and generally includes the area bounded by
                Ontario Avenue on the west, Carnegie Avenue on the south, E. 9th Street
                (between Carnegie Avenue and Bolivar Road) and E. 7th Street (between
                Huron Road and Bolivar Road) on the east and Huron Road (between Ontario
                Avenue and E. 7th Street) and Bolivar Road (between E. 7th Street and E.
                9th Street) on the north. Pursuant to provisions of the City Charter
                and Codified Ordinances the prescribed treatment to eliminate and
                prevent the recurrence of blight in a designated Community Development
                Plan Area may include clearance and redevelopment, rehabilitation or
                conservation, or any combination or part thereof.

                                2.      ACTION AREAS

                           Specific "Action Areas", with defined boundaries, shall be
                established by the City when the City has determined that a suitable and
                satisfactory redevelopment, or rehabilitation proposal is presented that
                offers a satisfactory contractual commitment from a Redeveloper. All
                such "Action Areas" will have boundaries based upon sound planning
                principles for the elimination of blight and prevention of its
                recurrence. Rehabilitation and/or redevelopment in a specific Action
                Area must relate appropriately to adjacent and surrounding land uses,
                eliminate blighting influences in the surrounding areas, spur the
                elimination of blight, and prevent the recurrence of blight.

                            The City shall acquire property for redevelopment in an
                 Action Area when there is a satisfactory commitment from a Redeveloper
                 to acquire such property from the City and to redevelop it in accordance
                 with the Community Development Plan and when the City is satisfied that
                 the proposed commitment provides the best means of eliminating blight
                 and preventing the recurrence of blight. Alternatively, the City shall
                 acquire property for rehabilitation in an Action Area when there is a
                 satisfactory commitment from a Redeveloper to acquire such property and
                 when the City is satisfied that the proposed commitment provides the
                 best means of eliminating blight and preventing the recurrence of
                 blight.

                            One specific geographic area, with defined boundaries
                 comprising the entire CENTRAL MARKET COMMUNITY DEVELOPMENT PLAN AREA,
                 has been established as the "Action Area" appropriate for the Plan Area
                 by the City. This "Action Area" is comprised of a majority of
                 structures which are substandard by reason of age, obsolescence,
                 dilapidation, overcrowding, faulty arrangement, mixtures of incompatible
                 land uses, a lack of ventilation or sanitary facilities or any
                 combination of these factors, and therefore, has been identified, based
                 upon sound planning principles, as the treatment area where blight is to
                 be eliminated. The boundary of the Action Area (hereinafter referred to
                 as the "Action Area") is shown on Exhibit I and is equal to and the same

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             as the boundary above described for the CENTRAL MARKET COMMUNITY
             DEVELOPMENT PLAN AREA.

                      B.     DEFINITIONS

                        As used in this document, the terms listed below shall be
             interpreted according to the following definitions:

                        1.   Blight Survey Area: An area designated by the City
             Planning Commission in which buildings and lots are surveyed to
             determine conditions of blight.

                        2.   Community Development Plan: A plan adopted by the City
             Planning Commission and the City Council which, pursuant to provisions
             of the City Charter and Codified Ordinances, prescribe treatment to
             eliminate blight and prevent the recurrence of blight in a designated
             portion of a Blight Survey Area.

                        3.   Action Area: A designated area of a Blight Survey Area
             for which the City has determined that a satisfactory contractual
             commitment from a Redeveloper has been presented for the area's suitable
             redevelopment or rehabilitation based upon sound planning principles for
             the elimination of blight and the prevention of its recurrence.

                              4.     Urban Design Guidelines:             Recommendations adopted by the
              City Planning Commission in accordance with the Community Development
              Plan to provide specific guidance to a Redeveloper for the redevelopment
              of an Action Area relative to the physical design of improvements to
              property, structures, or public infrastructure to eliminate blight and
              prevent its recurrence.

                        .5.   Redevelopment Plan: A plan presented by a Redeveloper
              identifying specific improvements to property, structures, or public
              infrastructure in an Action Area consistent with the goals and
              objectives of a Community Development Plan and Urban Design Guidelines
              to eliminate blight and prevent its recurrence. This Redevelopment Plan
              may include the following components:

                                      Site Plan.

                                      Building Plan, including floor plans, elevations, and
              sections.

                                      Signage Plan.

                                      Landscape Plan.

                                      Streetscape Plan.

                                      Lighting Plan.

                        C.     DESCRIPTION O£ THE PLAN AREA

                          The CENTRAL MARKET COMMUNITY DEVELOPMENT PLAN AREA
               encompasses approximately twenty-eight (28) acres of land area the
               majority of which is underutilized as surface parking lots. Public
               street rights-of-way include parts of E. 4th, E. 6th and E. 7th Streets
               and Bolivar Avenue, Woodland Road, and Eagle Avenue in the CENTRAL
               MARKET COMMUNITY DEVELOPMENT PLAN AREA. None of these streets have
               significant vehicular traffic volumes, nor are they critical links in
               the downtown street network.


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                          There was a total of forty-four (44) commercial/ industrial
               buildings in the CENTRAL MARKET COMMUNITY DEVELOPMENT PLAN AREA.
               Forty-two (42) of those buildings were found to be in substandard
               condition. The majority of buildings in the Plan Area were built around
               the turn of the century and are multi-story loft type structures. Most
               of these structures have been demolished.

                           The uses which occupied the buildings that existed in• the
                Plan Area included the produce vendors at the Central Market, wholesale
                outlets, offices, adult entertainment establishments, warehousing and
                storage operations.

                         D.     PLAN AREA IN CONTEXT

                           The CENTRAL MARRET COMMUNITY DEVELOPMENT PLAN AREA is a major
                entry point to downtown Cleveland. The Plan Area is a highly visible
                location particularly from the Innerbelt and the Hope Memorial
                (Lorain-Carnegie) bridges. The redevelopment of the Plan Area must
                relate to the following activity and development centers in downtown
                Cleveland:

                                 Euclid/Prospect Retail District

                           Euclid Avenue, the primary retail street, provides main
                entrances to the Higbee Company and May Company department stores as
                well as many other retail outlets. Prospect Avenue offers a "people
                street" of bargain stores as well as secondary entrances to the
                department stores. The streets are connected via the Euclid and
                Colonial shopping arcades and the two department stores.

                                 Tower City

                            Located to the northwest of the Plan Area, this building
                 complex is undergoing an ambitious revitalization and expansion program
                 to be realized over a number of years. Tower City's concourse has been
                 renovated and additional parking has been provided. Also, the City,
                 State, and Federal governments have made major financial comi►itments to
                 repair the structural bridges supporting Tower City and the State Office
                 building.

                                 Playhouse Square

                            Located along Euclid Avenue northeast of the Plan Area,
                 between East 13th and East 18th Streets, this area serves as downtown's
                 theater and entertainment district. It acts as the second of two major
                 downtown activity hubs that generate considerable traffic on Euclid
                 Avenue.

                                  Public Square

                            Located two blocks northeast of the Plan Area, Public Square
                 is a busy transportation node and pedestrian area, and has recently
                 undergone major renovation. Its four quadrants offer a relaxing
                 environment for pedestrians featuring plazas, walkways, trees, bus
                 stops, fountains, statues, and other public amenities.

                                  E. 9th Street Corridor

                             Downtown's primary business street runs along East 9th, from
                  Lakeside Avenue on the north, to Prospect Avenue on the south. This
                  corridor formed part of the Erieview I Urban Renewal Plan Area.
                  Specific concepts of the plan were essentially completed with

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               construction of the Ohio Bell Building, the One Cleveland Center, and
               Eaton Center.

                        E.     OBJECTIVES OF THE PLAN

                          Pursuant to local ordinances, the City Planning Commission
               has reviewed the CENTRAL MARKET BLIGHT SURVEY which encompasses the
               CENTRAL MARKET COMMUNITY DEVELOPMENT PLAN AREA, to determine the
               existing nature and extent of urban blight in that part of downtown.
               This Survey is one of several similar surveys, such as the
               Euclid-Prospect, Playhouse Square, Erieview I,'and Erieview II surveys,
               which have been conducted by the City Planning Commission as part of the
               City's continuing planning process for downtown Cleveland. In
               accordance with such ordinances and City policy related to sound
               planning principles, the City intends to authorize treatment measures
               that will eliminate the blighted conditions found to exist in the Plan
               Area. The two central criteria for renewal activities are the
               elimination of blight and the prevention of its recurrence, consistent
               with applicable local and state laws, public policy and sound planning
               principles. The following aims shall guide the redeVelopment activities
               in the CENTRAL MARKET COMMUNITY DEVELOPMENT PLAN AREA:

                          I.   To make provision for the acquisition and demolition of
               those buildings or structures in the Action Area which have been
               identified as being of substandard condition in the CENTRAL MARKET
               BLIGHT SURVEY, and which are obstructive to undertaking a sound
               redevelopment plan, to enable the elimination of blight and the
               prevention of the recurrence of blight in the Plan Area.

                           2.   To eliminate incompatible land uses and prevent the
                future inclusion of any incompatible land use activities that will
                hamper the efficient economic functioning of the redevelopment for the
                Plan Area and/or cause the recurrence of blight.

                           3.   To redevelop the CENTRAL MARKET COMMUNITY DEVELOPMENT
                PLAN AREA and to require that all future development in the Plan Area be
                consistent with and adhere to the restrictions described in this plan.

                II.      ACTION AREA REDEVELOPMENT PLAN

                         A.      OBJECTIVES OF THE ACTION AREA

                           The action area shall be developed in accordance with the
                city's policy of acquisition by the City for redevelopment only where:

                           1.   The City determines that redevelopment offers the best
                means for elimination of blight and prevention of its recurrence;

                            2.   There exists a suitable commitment from a Redeveloper to
                 redevelop the property to eliminate blight and prevent the recurrence of
                 blight.

                            A number of planning considerations and objectives are
                 relevant to the kind of development which will best prevent the
                 recurrence of blight within the Action Area;

                            1.   Create activity centers around the downtown office and
                 retail core. The Central Market area has been designated in the
                 Downtown Plan as the most appropriate location for a new sports complex
                 in Cleveland. Its close proximity to the interstate highway network and
                 public transportation provides convenient access for residents of the
                 city and region.

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                          2.   Enhance the visual quality of downtown. Ontario and
               East 9th Streets which bound the Central Market area are major traffic
               corridors for Cleveland's central business district. Thoughtful design
               and placement of the sports facilities in a park like setting can create
               grand urban entrances for downtown Cleveland.

                          3.   Support surrounding economic development. The sports
               facilities should be designed to relate to adjacent districts and should
               enhance pedestrian activity to support their economic viability and
               generate new development.

                          4.   Enhance Cleveland's architectural heritage. New
               development should be designed to respect the historic architectural
               context surrounding the Central Market area in terms of physical
               massing, construction materials, and the design treatment of facades and
               public open spaces.

                          5.   Strategically locate new parking facilities. New
               parking should be built to address the daily demand of downtown office
               workers and visitors as well as provide parking for events at the sports
               facilities.

                           6.   Extend downtown Cleveland's public open space and park
                system. The development of public open space is essential to address
                the needs of the large number of people attending events at the proposed
                sports facility. It also affords the opportunity to extend the network
                of public open space in Cleveland's central business district, which
                currently stretches from North Coast Harbor through the Mall to Public
                Square, southward to the Innerbelt. The design of public open spaces
                around the sports facility should provide an appropriate setting for the
                stadium and the arena, and should be sufficiently flexible to
                accommodate public gatherings during times when events are not scheduled
                in the sports facilities.

                         B.      REDEVELOPMENT PROPOSAL

                            The City has been presented with a satisfactory contractual
                commitment from a Redeveloper to redevelop the Action Area with a sorts
                facility that is intended to house major league professional athletic
                teams and lighting, landscaping, and pedestrian walkway amenities.

                          C.     PERMITTED LAND USES

                            In the Action Area the primary use shall be an integrated
                multi -use sports facility,  consisting of an open air stadium and
                enclosed arena, open to the public, together with related uses which
                support the sports facility.   Additional permitted uses ancillary to
                said sports facility may include pedestrian concourse areas, public
                spaces, concession areas, meeting areas, offices, retail, restaurants,
                cafes and other uses of the same general character, interior and
                exterior pedestrian walkways, and off-street parking. The stadium shall
                be located in a subarea of the CENTRAL MARKET COMMUNITY DEVELOPMENT PLAN
                AREA as shown in Exhibit II and, in general, bounded by Ontario Street,
                a relocated Eagle Avenue, East 9th Street, and Carnegie Avenue. The
                arena shall be located in a subarea of the CENTRAL MARKET COMMUNITY
                DEVELOPMENT PLAN AREA as shown in Exhibit II and, in general, bounded by
                Ontario Street, Huron Road, an extension of East 6th Street to be
                constructed, and a relocated Eagle Avenue.

                            Mixed use development may occur within a subarea of the
                 CENTRAL MARKET AREA as shown in Exhibit II and, in general bounded by an
                 extension of East 6th Street to be constructed, Huron Road, East 7th

                                                                     5


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               Street, Bolivar Road, East 9th Street, and a relocated Eagle Avenue.
               Permitted land uses within this subarea may include the following
               primary uses:

                               1.     General office space;

                               2.      Retail shopping space;
                                3.     Hotel and residential development; and

                                4.     Public open space.

                          Off-street parking ancillary to said primary uses may be
               constructed in structured garages.

                          In the event that the Redeveloper determines that it is
               unable to redevelop the property with a multi-use sports facility, or
               either component thereof, mixed use development may also occur within
               those subareas of the CENTRAL MARKET COMMUNITY DEVELOPMENT PLAN AREA
               that are not otherwise developed.

                         D.     PARCEL SIZE
                           When contiguous developable land assembly has been
                accomplished under common ownership, any development of such assembled
                land must occur on such consolidated parcel pursuant to a site
                development plan for the redevelopment of the entire consolidated
                parcel, which site development plan shall be submitted for approval to
                the City Planning Commission. The subdivision of any such consolidated
                parcel shall require prior City Planning Commission approval. As to any
                parcel which is not included in any such contiguous developable land
                assembly, the Redeveloper shall submit to the City Planning Commission
                for its approval a separate site development plan. If parking is
                approved by the City, such parking must be approved for compliance with
                the standards of Section 349.07 of the Codified Ordinances of Cleveland,
                Ohio, 1976, regarding paving, drainage, bumper guards, landscaping, and
                screening.

                         E.      SITE AND BUILDING REQUIREMENTS

                                 1.     Maximum Building Height

                                Any building or structure hereafter erected shall not
                exceed two hundred fifty (250) feet in height and shall be built to
                heights in conformance with all urban design guidelines adopted by the
                City Planning Commission in accordance with Section III.B. of this Plan.

                                 2.     On-Site Vehicular/Pedestrian Separation

                                 The design of any sports facilities on the site shall
                 minimize pedestrian and vehicular traffic conflicts and shall be in
                 conformance with all urban design guidelines adopted by the City
                 Planning Commission in accordance with Section III.B. of this Plan.

                                 3.     Off-Site Vehicular/Pedestrian Separation

                                 The Redeveloper may construct one or more pedestrian
                 walkways connecting the sports facility to development occurring in the
                 Tower City and Euclid/Prospect Districts. Prior to constructing any
                 pedestrian walkway, the Redeveloper shall demonstrate to the
                 satisfaction of the City Planning Commission that the proposed
                 pedestrian walkways are of sufficient size and capacity to accommodate

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                pedestrian traffic generated by the sports facility when it is used to
                its maximum design capacity and provide convenient access to off-site
                parking garages and public transit facilities. The City Planning
                Commission shall approve the location, size, and design of all
                pedestrian walkways constructed in conjunction with the development of
                the sports facility which shall be in conformance with all urban design
                guidelines adopted by the City Planning Commission in accordance with
                Section III.B. of this Plan.
                                4.     Parking and Circulation Requirements

                                 The proposed sports facility shall require the vacation
                of portions of East 4th Street, Bolivar Road, Eagle Avenue, and Woodland
                Avenue through the site, and portions of traffic lanes on Ontario Street
                and Carnegie Avenue along the perimeter of the site. In order to
                accommodate vehicular access in this area of downtown Cleveland, Eagle
                Avenue shall' be relocated northward and an extension of East 6th Street
                shall be constructed between Huron Road and the relocated Eagle Avenue
                as shown in Exhibit III. These roadways shall function as public
                rights-of-way even though they may be closed to vehicular traffic during
                events at the stadium or the arena to accommodate safe, unobstructed
                movement of people through the site.

                                The proposed sports facility shall be designed to avoid
                or minimize the need to undertake additional major off-site capital
                infrastructure changes.

                                 Automobile and bus parking and circulation areas for the
                 sports facility shall minimize pedestrian and vehicular conflicts and
                 shall be in conformance with all urban design guidelines adopted by the
                 City Planning Commission in accordance with Section III.B. of this Plan.

                                 The redevelopment shall be planned to accommodate and
                 facilitate measures to encourage the use of public rail and bus transit
                 for the sports facility events. Pedestrian walkways shall be designed
                 so as to tie into the existing and proposed downtown pedestrian network
                 and provide safe and convenient pedestrian access to and from the sports
                 facility.

                                 A maximum of 2,350 new off-street parking spaces may be
                 provided as part of the redevelopment of which no more than 2,250 spaces
                 may be located in a parking garage and no more than 100 surface parking
                 spaces may be provided. These spaces shall be designed and constructed
                 so as to be available for new and existing development in the
                 Euclid/Prospect District to the extent not inconsistent with the sports
                 facility use. The location and configuration of all off-street parking
                 and vehicular circulation areas shall be in conformance with all urban
                 design guidelines adopted by the City Planning Commission in accordance
                 with Section III.B. of this Plan and shall be subject to review and
                 approval by the Downtown Off-Street Parking Committee and the City
                 Planning Commission in accordance with Section 349.11 of the Zoning
                 Code.

                                  Unused portions of the Action Area may be used for
                  temporary, interim surface parking until June 30, 1992. Thereafter,
                  such use shall be subject to prior approval by the Downtown Off-Street
                  Parking Committee and the City Planning Commission.

                                  5.     Setbacks

                                  Any new improvements, including all buildings, parking
                  areas, walls, fences, or other structures, shall be setback in

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             conformance with all urban design guidelines adopted by the City
             Planning Commission in accordance with Section III.B. of this Plan.

                             6.      Parking Entrances and Exits

                             Entrances and exits to ancillary off-street parking not
             constituting a part. of the sports facility structure may be located only
             on the East 6th Street extension, East 9th Street, Ontario Street,
             Carnegie Avenue, Bolivar Road, Huron Road, and East 7th Street to the
             extent such streets have not been vacated and the relocated Eagle Avenue
             and shall be in conformance with all urban design guidelines adopted by
             the City Planning Commission in accordance with Section III.B.

                              7.     Public Open Space

                              Public open space shall be of sufficient size to allow
              for safe movement of people through the site and to the sports facility.
              The design of this public open space shall be sufficiently flexible to
              accommodate public gatherings during times when events are not scheduled
              in the sports facilities and shall be in conformance with all urban
              design guidelines adopted by the City Planning Commission in accordance
              with Section III.B.

                              After June 30, 1992, unused portions of the Action Area
              shall be designed as interim public open space until such time as other
              permitted uses may be developed in accordance with Section II.c. of this
              Plan.

                              B.     Signage

                              A complete signage plan for the site shall be submitted
              to and approved by the City Planning Commission. Signs which shall be
              visible from public rights-of-way and public open spaces shall be
              limited to signs identifying the sports facility district, the stadium,
              the arena, and associated parking facilities. Such signs may identify
              primary tenants and events occurring in the sports facility district, at
              the stadium and at the arena, but shall not display advertising for
              products, services, businesses, corporations, or other organizations.
              permitted sign types shall be limited to the following:

                               District Identification Signs: Signs identifying or
               naming the sports facility district may be placed along Ontario Street,
               Carnegie Avenue, and East 9th Street.

                               Event Identification Signs: Signs identifying the
               events occurring at the sports facility may be placed along Ontario
               Street, Carnegie Avenue, and East 9th Street.

                               Building Identification Signs; Signs identifying or
               naming the stadium and arena may be placed on the buildings or on the
               site in the vicinity of the buildings.

                               Tenant Identification Signs: Signs identifying the
               major tenants of the stadium and arena may be placed on the buildings or
               on the site in the vicinity of the buildings. Signs identifying other
               tenants of space on the site may be placed on the building for those
               tenants occupying a portion of the ground floor of the building;
               containing an entrance from the building exterior, and separated from
               other such spaces by a party wall or walls.

                                Parking Identification Signs: Signs identifying on-site
                parking facilities may be placed on the buildings or on the site in the

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                vicinity of surface parking.

                                Directional Signs: Signs indicating a direction or a
                location to which pedestrian or vehicular traffic is requested to move
                shall be placed as appropriate.

                                Informational Signs: Signs which present miscellaneous
                information or instructions intended to serve the public, product or
                issue and not containing information included in the definition of any
                other sign shall be placed as appropriate.

                                Banner Signs: Signs which may be mounted on light poles
                in public rights-of-way and public open space shall be placed as
                appropriate presenting information included in the definitions of the
                signs identified above.

                                Scoreboard: A variable message scoreboard which may be
                visible from one or more public rights-of-way may be placed within the
                stadium and may be used for the display of advertising for products,
                services, businesses, corporations, or other organizations.

                                 Electronic Changeable Copy Signs: Variable message
                 signs which may be visible from one or more public rights-of-way or
                 public open spaces may be placed on or adjacent to the arena, stadium,
                 or parking garage. All net revenues generated from information
                 displayed on such signs shall be used for the maintenance of public open
                 spaces and streetscape associated with the sports facility complex.
                 Information displayed on these signs shall be limited to the following:
                                 a.   Identification of the sports facility complex, the
                 arena, or the stadium.

                                 b.   Identification of events held at the sports
                 facility complex, the arena, or the stadium.

                                 c.   Identification of events held at other local public
                 assembly facilities.

                                 d.   Acknowledgement of organizations or individuals
                 sponsoring events held at the facility or contributing to the
                 construction or operation of the facility as sponsors or patrons.

                                  e.   Identification of products or services offered for
                  sale on the premises of the facility.
                                  f.   Public service messages such as time, temperature,
                  and information of a civic nature. These public service messages shall
                  be displayed at least twenty (20) percent of the time during which
                  electronic changeable copy signs are operating between the hours of 7:00
                  A.M. and 12 Midnight.

                                  The signage plan shall present the minimum amount of
                  signage required to provide necessary information to the public and to
                  reflect a degree of order and uniformity through the elements of scale,
                  placement, type, format, and graphics. The signage plan shall identify
                  the design and location of each sign including size, color, materials,
                  and means of illumination which shall be in conformance with Sign
                  Regulations, Chapter 350 of theCodified Ordinances and in conformance
                  with all urban design guidelines adopted by the City Planning Commission
                  in accordance with Sectioh III.B. of this Plan.
                                  9.      Landscaping and Streetscape

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                               Landscape and streetscape plans shall be submitted to
               the City Planning Commission for approval. A landscaping plan shall
               describe the design of permanent and interim public open spaces and
               include the location of areas to be planted or paved, the number and
               location of shrubs, earth mounds, planting, trees, and other vegetation
               to be used, the design, location, and materials to be use in paved
               areas, the location of public art, light poles, waste receptacles,
               benches or seating areas, fences, water fountains, or other street   '
               furniture.

                               A streetscape plan shall describe the design of public
               rights-of-way and include the location of and paving materials to be
               used for sidewalks and amenity strips, the location of handicapped
               ramps, the location and type of trees, light poles, sign poles, waste
               receptacles, or other street furniture to be placed-in the public
               rights-of-way. Landscape and streetscape plans shall conform to all
               urban design guidelines adopted by the City Planning Commission in
               accordance with Section III.B. of this Plan.

                                10.    Lighting

                                A complete lighting plan for the site shall be submitted
                to and approved by the City Planning Commission. All lighting shall be
                included in the lighting presentation to the City Planning Commission,
                including types of light fixtures, color, and level of illumination for
                facades, major building entrances, parking garages, public rights-of-
                way, public open spaces, pedestrian pathways, and other areas requiring
                special illumination. All wiring shall be underground. The lighting
                plan shall conform to all urban design guidelines adopted by the City
                Planning Commission in accordance with Section III.B. of this Plan.

                                 11.    Pedestrian Walkway Amenities
                                Pedestrian walkway amenities shall be provided to stress
                principal pedestrian pathways in order to minimize pedestrian and
                vehicular conflicts and to provide shelter from inclement weather.
                Pedestrian walkway amenities may be in the form of interior climate
                controlled passageways or exterior open walkways with canopies or
                arcades. They shall be located and built in conformance with all urban
                design guidelines adopted by the City Planning Commission in accordance
                with Section III.B. of this Plan.

                                 12.    Utility/Systems Installation

                                 All utility and system installations visible from public
                 open spaces or public street rights-of-way shall be screened by
                 vegetation or fencing. All wiring shall be underground. All rooftop
                 utilities shall also be screened with suitable parapet walls or roof
                 forms.

                                 13.     Service Access

                                 Entranceways for service vehicles may be located on
                 Huron Road, Bolivar Road, and East 7th Street and shall be in
                 conformance with all urban design guidelines adopted by the City
                 Planning Commission in accordance with Section III.B. of this Plan.




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              III.     ADDITIONAL POLICIES AND PROCEDURES APPLICABLE TO THE PLAN AREA

                       A.     PUBLIC IMPROVEMENTS

                         Any public improvements installed or constructed in
              connection with the renewal and development in the CENTRAL MARKET
              COMMUNITY DEVELOPMENT PLAN AREA, shall conform to City standards and
              specifications for such work and all urban design guidelines adopted by
              the City Planning Commission in accordance with Section III.B. of this
              Plan.

                       B.      REDEVELOPMENT PLAN REVIEW

                          No improvements shall be Made with respect to any property,
               structure, or public infrastructure in the Action Area until the
               applicable plans and specifications have been approved by the
               appropriate City agencies. The City Planning Commission shall review
               and approve the Redevelopment Plan and specifications for improvements
               to property, structures, and public infrastructure proposed by the
               Redeveloper for the Action Area. For the purpose of undertaking said
               Plan review, the City Planning Commission shall adopt and, from time to
               time, amend Urban Design Guidelines consistent with the goals and
               objectives of the Community Development Plan to provide specific
               guidance to the Redeveloper relative to the physical design of
               improvements proposed for the Action Area.

                        C.     DURATION OF LAND USE CONTROLS

                          The land use restrictions and site and building requirements
               herein set forth shall be applicable to all properties included in the
               Plan Area in connection with the renewal, redevelopment and reuse
               thereof, and shall remain in effect for a period of twenty (20) years
               froM the date of original approval of this Plan by the Council of the
               City of Cleveland, unless otherwise amended by the said City Council..
               Said period shall automatically be extended for one additional ten year
               period unless the City Council determines legislatively that said
               renewal period shall not occur.

                                1.     Zoning Change

                                Under the present Zoning Code, the CENTRAL MARKET
                COMMUNITY DEVELOPMENT PLAN AREA includes General Retail Business and
                Semi-Industry districts. To carry out the proposed development, the
                General Retail Business portion of the Plan Area shall be rezoned to a
                Semi-Industry district.

                         D.     PROCEDURE FOR AMENDMENT

                           This Plan may be amended from time to time in compliance with
                all requirements of law and the applicable provisions of the Codified
                Ordinances of the City of Cleveland, provided that with respect to any
                land in the Plan Area with respect to which the land use restrictions
                and site and building requirements herein set forth have been imposed,
                the written consent of the then owner of such land affected by any such
                amendment shall be obtained.




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             IV. PROVISION TO PREVENT RECURRENCE OF BLIGHTED OR SUBSTANDARD AREAS
             AND DISCRIMINATION

                    Every contract for the sale, lease, use, rehabilitation or
              redevelopment of the property within the Plan Area shall contain such
              restrictions and conditions as are deemed necessary to prevent a
              recurrence of blighted or substandard areas, provided that no such
              restrictions shall be based upon race, creed or color; shall indicate
              what covenants, restrictions and conditions of such contracts shall be
              covenants running with the land; shall provide appropriate remedies for
              any breach of covenants or conditions; shall provide that each
              redevelopment contract for the sale, lease, use or redevelopment of the
              property within such area, and convenience of land pursuant thereto
              shall contain conditions and covenants which shall run with the land
              which shall provide that there shall be no discrimination against or
              segregation of any person or group of persons based upon race, color,
              religion, national origin or ancestry in the sale, lease, sublease,
              transfer, occupancy, tenure or enjoyment of such land in perpetuity; and
              that such redevelopment contracts and conveyances of land within the
              Plan Area shall contain a covenant that no grantee himself, or any
              person claiming under or through him, shall establish or permit any such
              practice or discrimination or segregation with reference to the
              selection, location, number or occupancy of tenants, lessees, sublessees
              or vendees in any or all of the land within such Plan Area.




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                V.       RELOCATION PLAN

                      The Community Development Plan contemplates that acquisition and
                clearance projects in the Plan will involve commercial relocation
                activities.

                      Relocation provisions satisfactory to the Department of Community
                Development of the City will be provided, where applicable, in
                connection with each specified proposal for acquisition, clearance and
                redevelopment property in a designated Action Area, which involves
                acquisition by the City. Review and supervision of such specific
                relocation provisions will be carried out by the Department of Community
                Development. Such specific relocation provisions may be tailored to fit
                the specific facts relating to a particular redevelopment proposal, and
                may include the provision of technical assistance and information by the
                Department of Community Development and/or particular Redeveloper in the
                event a Redeveloper is of a size or otherwise has a staffing capability
                which would enable technical assistance to be provided. '

                      In nonfederally assisted projects, relocation payments for
                commercial (non-residential) displacements will include the payment of
                the reasonable and satisfactorily documented actual costs Of moving
                business furniture, equipment and inventory, if any, and in addition
                payment of the actual costs of utility hook-up work necessary in
                connection with moving such business into replacement facilities. In
                connection with projects financed in whole or in part with federal
                funds, involving a loan or grant of federal monies to pay some part of
                the private costs of redevelopment project, the then applicable federal
                relocation requirements shall be applied.




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    EXHIBIT 2
    CENTRAL MARKET AREA
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                                                                 ROL IYAR RD

                                                      RELOCATED EAGLE AVE.




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       EXHIBIT 3
       CENTRAL MARKET AREA.                                   rm.= ; TO BE VACATEO
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                                                          Schedule 19

                                                           Insurance
                                                                          Minimum Limits of Liability
         Comprehensive General                                   Personal Injury
           Liability Insurance                                   $3,000,000 for injury to one person
                                                                 $5,000,000 for injury to more than one person

                                                                 Deductibles not to exceed $250,000
         Business Interruption Insurance                         Not less than annual rent
         Vehicle Insurance                                       As determined by Lessee




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                                                                     EXHIBIT A



                    S'.‘Zdzicci in the City of Cleveland, County of Cuyahoga and State of Ohio and known as
                                                                                                            being Part
                    of extended Original Two Acre Lot Numbers 9 through. 17 (both inclusive), and together
                                                                                                             forming a
                    parcel of land bounded and described as follows:

                   Beginning in the centerline of West 3r1 Street (99 feet wide), at its point of intersection with the
                   centerline of Erieside Avenue, N.W. (70 feet wide) as shown by the Dedication Plat of Erieside
                   Avenue, N.E. and N.W. and West 3rd Street, recorded in Volume 204 of Maps, page 69 of
                   Cuyahoga County Records;

                   Thence South 33° 56' 46" East, along the centerline of West 3rd Street, 34623 feet to a point;

                   Thence North 56° 03' 14" East, along a line drawn perpendicular to said matt/line of West 3rd
                   Street, 72.74 feet to its point ofiatersection with the Northeasterly curved line of said West 3rd
                   Street, said point also being the Southwesterly corner of the Donald Gray Gardens and the
                   principle place of beenning of the pared of land herein intended to be described;

                   Thence Northeasterly, along the curved Southeasterly line of Erieside Avenue N.E., being the arc
                   of a circle deflecting to the right, having a radius of 457.01 feet and a chord that bears North 34°
                   09' 36" West, 533.59 feet, an arc distance of 569.79 feet to a point of tangency therein;

                   Thence North 55° 501 24" East, continuing along the Southerly line of Ezieside Avenue
                   44539 feet to a point of curvature therein;

                   Thence along the arc of a circle deflecting to the right, having a radius of 515.00 feet, a chord that
                   bears South 57° 29' 05" EaSt, 2936 feet, an arc distance of 29.57 feet to a point of compound
                   curvature;

                   Thence Southeasterly, along the Westerly line of Erieside Avenue (70 feet wide) as relocated,
                   along an arc of a circle deflecting to the right, having a radius of 30.00 feet, a chord that bears
                   South 87     2r
                                 59" East, 33.03 feet, an arc distance of34.98 feet to a point of compound curvatzt;

                   Thence continuing Southeasterly along the Westerly line of Erieside Avenue, as relocated, along
                   the arc of a circle deflecting to the right, having a radius of 190.00 feet, a chord that bears South
                   44° 06' 13" East, 65.69 feet, an arc distance of 66.03 feet to a point of tangency;

                   Thence South 34° Ilg' S5" East along the said line of relocated Erieside Avenue, 462.69 feet to a
                   point of curvature therein;

                   Thence Southeasterly along said line of relocated Erieside Avatue and the arc of a circle
                   deflecting to the left, having a radius of 335.00 feet and a chord that bears South 72° 2(r 27" East,
                   41426 feet, an arc distance of 446.61 feet to a poi=




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       Thence South 20° 31' 59" East, 25.00 feet to a point on the Northwesterly line of the West 3rd
       Street exit ramp of the Cleveland Memorial Shoreway N.E. and N.W.;

       Thence South 56° 01' 58" West, along said Northwesterly linc of Out W<:,;t 3n Strvt.-.I cxi; lamp of
          Clevelaucl ivieworial Shoreway N.E.. and N.W., 117.38 feet to an angle point therein;

       Thence South 540 27 44" West, continuing along said Northwesterly line of the West 3rd Street
       exit ramp of the Cleveland Memorial Shoreway N.E. and N.W., 64.87 feet to a point of curvature
       therein,

       Thence Southwesterly, along the curved Northwesterly line of the West 3rd Street exit ramp of the
       Cleveland Memorial Shoreway N.E. and N.W., being the arc of a circle deflecting to the left,
       having a radius of 980.00 feet and a chord that bears South 47 12' 58" West, 247.22 feet, an arc
       distance of 247.88 feet to a point of reverse curvature therein;

       Thence Southwesterly, continuing along the curved Northwesterly line of the West 3rd Street exit
       ramp of the Cleveland Memorial Shoreway N.E and N.W., being the arc of a circle deflecting to
       the right, having a radiusOf 1480.00 feet and a chord bearing South 49° 45' 29" West, 503.20 f=t,
       an arc distance of 505.65 feet to a point of eurvatzt therein;

       Thence South 59° 32' 45" West, along said Northwesterly line of the West 3rd mit ramp of the
       Cleveland Memorial Shoreway N.E. and N.W., 20127 feet to the Southeasterly end of a curved
       turnout between said Northwesterly line of the West 3rd Street exit ramp of the Cleveland
       Memorial Shoreway, N.E and N.W. and West 3rd Stree

       Thence Northwesterly, along said turnout, being an arc of a circle deflecting to the right, having a
       radius of 100.00 feet, an arc distance of 150.99 feet to a point of tangency in said Northeasterly
       line of West 3rd Street;

       Thence North 33° 56' 46" W -t, continuing along the Northwesterly line of West 3d Street, 421.07
       feet to a point of curvature therein;

       Thence Northeasterly, along the Northeasterly curved line of West 3 rd Street, being the arc of a
       circle deflecting to the right, having a radius of 457.01 feet and a chord that bcres North 24'46'
       13" West, 145.75 feet an arc distance of 146_38 feet to the principle place of beginning according
       to a survey dated May, 1986 by the City of Cleveland, Department of Public Service, Division of
       Engineering and Construction, Plats and Surveys. This legal description was Ix opriff1 by Jomarie
       Wasik, Ohio Professional Surveyor Number 7027. Bearings are to an assumed meridian and are
       used to denote angles only.




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      EXHIBIT B
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                                          COMMITMENT         ENT
                                                      AGREEMENT

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                                         CITY OF
                                              OF CLEVELA ND, OHIO
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                           FRANCH ISE COMMITM
                           FRANCHISE          ENT AGREEM
                                      COMMITMENT         ENT
                                                  AGREEMENT

        This
         This Franchise
                Franchise Commitm
                            Commitment  ent Agreemen
                                              Agreementt ("("Agreem    ent") is
                                                             Agreement")      is entered
                                                                                 entered into
                                                                                           into as
                                                                                                as of
                                                                                                   of April
 26, 1996
 26, 1996 by by and
                and between
                     between thethe City  of  Cleveland  , Ohio  ("the  City"), a
                                     City  of Cleveland,   Ohio  (" the City"), a municipal
                                                                                  municipal corporatio
                                                                                               corporationn
 and  political  subdivisio  n of the    State  of Ohio,   and  the   National   Football
 and political subdivision of the State of Ohio, and the National Football League ("("the   League      the
 NFL"
 NFL" or    the ""League"
        or the     League"),), an
                               an unincorpo     rated, nonprofit
                                    unincorporated,     nonprofit associatio
                                                                     associationn organized
                                                                                    organized under
                                                                                                 under its
                                                                                                         its
 Constituti on and
 Constitution    and By-laws,
                      By- laws, with   its principal
                                 with its  principal office
                                                     office in
                                                             in New
                                                                New York,
                                                                        York, New
                                                                               New York.
                                                                                     York.

                                              Backgrou nd
                                              Background

        The
        The Cleveland
            Cleveland Browns
                        Browns football
                                 football team has played
                                          team has played profession al football at
                                                          professional           at Cleveland
                                                                                    Cleveland
 Stadium in Cleveland since 1946, pursuant to a franchise from the NFL owned by
 Stadium in Browns,
 Cleveland
 Cleveland
             ClevelandInc.since
            Browns, Inc.
                                 1946, pursuant to a franchise from the NFL owned by
                            ("CBI")
                            (" CBI") and certain leases between the City and CBI and
                                     and certain leases between the City and CBI and
 Cleveland
 Cleveland Stadium
            Stadium Corp.
                    Corp. (" ("CSC").
                               CSC").

        On
        On October
            October 27,
                      27, 1995
                          1995 CBI
                                CBI entered
                                     entered into
                                              into an
                                                   an agreemen
                                                       agreementt with
                                                                   with the Maryland
                                                                            Maryland Stadium
 Authority,
 Authority, an
            an instrumentality of
                instrumentality of the
                                   the  State
                                        State  of
                                               of Maryland
                                                  Maryland   ("MSA"),
                                                             (" MSA"), pursuant
                                                                       pursuant to
                                                                                 to which
                                                                                    which CBI
                                                                                          CBI
 would
 would relocate   the NFL
        relocate the  NFL franchise
                           franchise to
                                      to Baltimore
                                         Baltimore, , Maryland
                                                      Maryland. .


        On Novembe
       On   Novemberr 6,
                       6, 1995,
                          1995, thethe City
                                       City filed
                                             filed an
                                                   an action,
                                                       action, Case
                                                                Case No.No. 297833,
                                                                              297833, inin the Court
of Common     Pleas, Cuyahoga      County,   Ohio,   seeking   injunctive   relief
of Common Pleas, Cuyahoga County, Ohio, seeking injunctive relief against CBI and
CSC
CSC alleging
      alleging breaches
               breaches of
                         of the
                            the lease
                                 lease agreemen
                                        agreements  ts between
                                                       between thethe City
                                                                       City and
                                                                            and those
                                                                                 those corporatio
                                                                                       corporations
                                                                                                 ns
that would   occur upon relocation    of the  Cleveland   Browns
that would occur upon relocation of the Cleveland Browns franchise   franchise   to Baltimore
                                                                                    Baltimore..

       On Novembe
       On    Novemberr 16,
                         16, 1995,
                             1995, the
                                     the City
                                         City filed  an action,
                                              filed an   action, Case
                                                                 Case No.
                                                                       No. 95CV242
                                                                            95CV2428, 8, in
                                                                                          in the
United  States  District Court for the Northern   District
United States District Court for the Northern District of  of Ohio,
                                                              Ohio, Eastern
                                                                    Eastern Division,
                                                                            Division, to obtain
                                                                                         obtain
certain injunctive and declaratory relief for the benefit of the City and its people with
certain injunctive and declaratory relief for the benefit of the City and its people
respect
respect to  the names
         to the names "The Cleveland
                               Cleveland Browns"
                                          Browns" and
                                                    and ""The
                                                           The Browns",
                                                                Browns", together with certain
other names    and marks.
other names and marks.


        Pursuant
        Pursuant toto Section
                      Section 4.3
                               4.3 of
                                    of the
                                       the NFL
                                           NFL Constituti  on, relocation
                                                 Constitution, relocation ofof any
                                                                               any NFL
                                                                                   NFL franchise
                                                                                       franchise
outside  of  its home   territory requires  the  prior  approval  by
outside of its home territory requires the prior approval by affirmative vote of three-
fourths
fourths of  the existing
         of the  existing member
                          member clubsclubs of
                                            of the
                                               the League,
                                                    League, and
                                                              and onon Novembe
                                                                         Novemberr 4, 1995,
                                                                                      1995, CBI
                                                                                             CBI
requested   that the NFL  member     clubs approve   relocation of its franchise
requested that the NFL member clubs approve relocation of its franchise from ClevelandCleveland,,
Ohio
Ohio to
      to Baltimore
         Baltimore,, Maryland
                      Maryland..

       On January 4, 1996 and January 17, 1996 representatives of the City appeared
       On January 4, 1996 and January 17, 1996 representatives of the City appeared
before representatives of t►he NFL and its members and presented the City's case in
before  representatives of the NFL and its members and presented the City' s case in
opposition to the relocation of the Cleveland Browns, and on January 18, 1996, at the
opposition to the relocation of the Cleveland Browns, and on January 18, 1996, at the
NFL's
NFL' s annual
       annual meeting,     the member
                meeting, the   member clubs
                                       clubs postpone
                                             postponedd the
                                                        the vote
                                                            vote on
                                                                 on CBI's
                                                                    CBI' s request
                                                                           request for
approval  for relocation
approval for  relocation..


        On  January 18,
        On January     18, 1995,
                           1995, MSA   filed an
                                  MSA filed  an action,
                                                 action, Case
                                                          Case No. L96-155,
                                                                     L96- 155, in the United
                                                                               in the United
States District Court, District of Maryland, Northern Maryland, seeking damages and
States District Court, District of Maryland, Northern Maryland, seeking damages and
injunctive  relief against
injunctive relief  against the
                            the League
                                League and
                                        and all
                                             all of
                                                 of its
                                                    its member    clubs, except
                                                        member clubs,    except CBI,
                                                                                 CBI, due to
alleged violations
alleged  violations of  federal and
                     of federal and Maryland
                                    Maryland state
                                              state antitrust
                                                     antitrust laws.
                                                               laws.


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          On February 8,
          On February 8, 1996,
                         1996, the
                                the City,
                                    City, the
                                          the League,
                                              League, CBI,
                                                      CBI, CSC,
                                                           CSC, Arthur
                                                                Arthur B.
                                                                       B. Modell
                                                                          Modell and
                                                                                 and MSA
                                                                                     MSA
 concluded       certain agreements
  concluded certain        agreements in     in principle
                                                  principle( (the the ""Interim      Agreement") contemplating
                                                                         Interim Agreement")           contemplating
  definitive   agreemen     ts  that would,
  definitive agreements that would, among       among other  other things
                                                                     things andand under
                                                                                     under certain
                                                                                               certain conditions:
                                                                                                       conditions:( (i)
                                                                                                                     i)
  require   CBI   to relinquish    all right, title  and     interest   in the
  require CBI to relinquish all right, title and interest in the Cleveland BrownsCleveland      Browns team
                                                                                                         team name,
                                                                                                                name,
  colors, history
  colors,            and heritage
            history and    heritage and and transfer
                                             transfer them them in in trust
                                                                       trust toto the
                                                                                  the Commissioner
                                                                                       Commissioner of    of the
                                                                                                             the NFL
                                                                                                                  NFL
  for   the benefit   of  the   City   pending     transfer      to  the   new
 for the benefit of the City pending transfer to the new owner of the Cleveland    owner     of the  Cleveland NFLNFL
  franchise, ((ii)
 franchise,          require the
                 ii) require           League to
                                 the League         to locate
                                                         locate an  an NFLNFL franchise
                                                                                  franchise in  in Cleveland
                                                                                                    Cleveland upon
                                                                                                                 upon
  completion by
 completion          Cleveland of
                 by Cleveland           construction of
                                    of construction         of aa new
                                                                   new stadium,
                                                                          stadium,( (iii)
                                                                                       iii) require
                                                                                             require the
                                                                                                      the League
                                                                                                           League toto
 provide     certain  funds    to assist   the   City   in   paying    costs
 provide certain funds to assist the City in paying costs of constructing       of  constructing aa newnew stadium,
                                                                                                             stadium,
 (iv)   require the
   iv) require        League to
                 the League      to enter
                                    enter into
                                            into aa lease
                                                      lease withwith the
                                                                       the City
                                                                             City and
                                                                                    and toto cause
                                                                                              cause the
                                                                                                     the new
                                                                                                          new owner
                                                                                                               owner
 of   the Cleveland    franchise    to  accept    the  lease,     (v)
 of the Cleveland franchise to accept the lease, ( v) require CBI and require     CBI  and CSCCSC toto pay
                                                                                                       pay damages
                                                                                                            damages
 to the
 to         City in
       the City      settlement of
                  in settlement          the above-
                                     of the    above-ref      erenced litigation
                                                          referenced       litigation filed
                                                                                         filed by
                                                                                                by the
                                                                                                    the City
                                                                                                         City and
                                                                                                               and in
                                                                                                                   in
 considera    tion  of early   terminatio   n  of  their    leases
 consideration of early termination of their leases with the City.    with   the   City.

       The NFL
       The    NFL and
                    and the
                         the City
                              City by
                                   by this
                                       this Agreement
                                            Agreement andand thethe related
                                                                     related documents
                                                                              documents and
                                                                                          and
 agreemen  ts incorpora ted herein  by reference seek
 agreements incorporated herein by reference     seek toto reflect
                                                           reflect the
                                                                   the definitive
                                                                        definitive agreements
                                                                                   agreements
 contemplated by,
 contemplated            thereby supersede,
                    and thereby
                by, and           supersede, the
                                             the Interim
                                                 Interim Agreement.
                                                          Agreement.

                                                   ARTICLE II
                                                   ARTICLE


                                                 DEFINITIONS
                                                 DEFINITIONS

        "Browns    Agreements" means
         Browns Agreements"      means the the Releases
                                               Releases toto which
                                                             which Modell
                                                                     Modell isis aa party, the
                                                                                            the
Franchise    Exchange  Agreemen    t by  and among  National
Franchise Exchange Agreement by and among National Football  Football League,
                                                                      League, the    Baltimore
                                                                                 the Baltimore
Ravens
Ravens   Football Company
         Football  Company Inc.   (formerly known
                            Inc. (formerly   known as Cleveland Browns
                                                   as Cleveland  Browns Football
                                                                          Football Company,
                                                                                    Company,
Inc.),
Inc.), Baltimore Ravens, Inc. (formerly known as Cleveland
       Baltimore Ravens, Inc. ( formerly known as Cleveland Browns
                                                               Browns Inc.),
                                                                        Inc.), and
                                                                               and Cleveland
                                                                                    Cleveland
Stadium    Corp., the Terminati on   of Lease, and the Browns
Stadium Corp., the Termination of Lease, and the Browns HoldingHolding   Trust.
         "Browns   Holding Trust"
          Browns Holding     Trust" means   the Trust
                                    means the   Trust Agreement
                                                       Agreement dated
                                                                   dated as
                                                                         as of
                                                                             of April
                                                                                April 26,  1996
                                                                                      26, 1996
between the
between         Baltimore Ravens,
            the Baltimore  Ravens, Inc. ((formerly
                                          formerly known
                                                   known   as
                                                           as the
                                                              the Cleveland Browns,
                                                                  Cleveland  Browns, Inc.),   as
                                                                                       Inc.), as
Settlor,
Sett lor, and
           and Paul   J. Tagliabue,
                 Paul J.  Tagliabue, as
                                      as Trustee,
                                           Trustee, the
                                                     the form
                                                         form of which
                                                                   which is
                                                                          is attached
                                                                             attached to to this
                                                                                             this
Agreement as
Agreement      as Exhibit A.
                  Exhibit A.


       "Browns
        Browns Heritage
               Heritage Property" means the
                        Property" means the Browns
                                            Browns Heritage, as defined
                                                   Heritage, as defined in
                                                                        in the Browns
                                                                           the Browns
Holding  Trust
Holding Trust.

       "Clevelan    NFL Franchise
        Clevelandd NFL   Franchise"" means   the franchise
                                      means the  franchise with
                                                             with its
                                                                  its home
                                                                      home territory in
                                                                                     in
Cleveland, Ohio
Cleveland,  Ohio to
                 to be provided by
                    be provided     the NFL
                                by the      pursuant to
                                        NFL pursuant to this
                                                        this Agreement.
                                                             Agreement.

       "Coopera  tive Agreement"
        Cooperative   Agreement" means
                                     means thethe Cooperat ive Agreement
                                                  Cooperative  Agreement among
                                                                           among the County
of Cuyahoga  , City of Cleveland  , the  Cleveland -Cuyahog   a County  Port
of Cuyahoga, City of Cleveland, the Cleveland- Cuyahoga County Port AuthorityAuthority and
                                                                                       and the
                                                                                           the
NFL, the form
NFL, the form of   which is
               of which   is attached
                             attached toto this
                                           this Agreement
                                                Agreement asas Exhibit
                                                                Exhibit D.
                                                                        D.

         "Financin   Arrangements" means
          Financingg Arrangements"          the issuance
                                     means the             and sale
                                                 issuance and   sale by the City
                                                                            City of Cleveland
                                                                                    Cleveland
of its  "obligatio ns" as defined
of its " obligations" as defined in
                                  in Section  307.673 of the
                                     Section 307.673        the Ohio
                                                                 Ohio Revised
                                                                       Revised Code
                                                                                Code and
                                                                                       and its
receipt   of the other funds necessary to pay  the  costs
receipt of the other funds necessary to pay the costs     of the Stadium
                                                             the Stadium as
                                                                          as described  in the
                                                                             described in  the
Stadium
Stadium Financing      Agreement.
           Financing Agreement.

                                                        2-
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       "Implementing Agreements" means (a), with respect to the City, the Stadium
        Implementing Agreements" means ( a), with respect to the City, the Stadium
 Financing Agreemen
 Financing Agreement,t, the
                        the Lease,
                            Lease, the
                                   the Releases
                                       Releases toto which
                                                     which the
                                                           the City
                                                               City is
                                                                     is aa party
                                                                           party and
                                                                                 and the
 Termination of Lease, and (b) with respect to - the NFL, the Stadium Financing
 Termination of Lease, and ( b) with respect to the NFL, the Stadium Financing
 Agreement, the Lease, the Browns Holding Trust, and the Releases to which it is a party.
 Agreement, the Lease, the Browns Holding Trust, and the Releases to which it is a party.
      "Lease"
       Lease" means
                means the
                        the Lease
                             Lease By
                                    By Way
                                       Way ofof Concessi
                                                Concessionon dated
                                                             dated as of April
                                                                           April 28,
                                                                                 26, 1996,
                                                                                     1996,
between  the City of Cleveland   and the NFL  and
between the City of Cleveland and the NFL and to   to be
                                                      be assigned
                                                         assigned by
                                                                   by the
                                                                      the NFL
                                                                          NFL to the New
Owner, the form
Owner, the  form of
                  of which
                     which is
                           is attached
                              attached to this Agreemen
                                               Agreementt as Exhibit
                                                              Exhibit C.

      "Modell" means Cleveland Stadium Corp., the Baltimore Ravens, Inc. (formerly
known
       Modell" Cleveland
                means Cleveland Inc.,
                                   Stadium Corp., the Baltimore Ravens, Inc. ( formerly
known as
       as The
          The Cleveland Browns,
                         Browns, Inc., aka,
                                        aka, Cleveland
                                             Cleveland Browns,
                                                         Browns, Inc.
                                                                  Inc. and
                                                                       and The
                                                                           The Cleveland
                                                                                Cleveland
Browns), the Baltimore Ravens  Football Company  , Inc. (formerly known
Browns), the Baltimore Ravens Football Company, Inc. (formerly known     as the Cleveland
Browns  Football Company
Browns Football   Company,, Inc.),
                            Inc.), Arthur
                                   Arthur B.
                                           B. Modell,
                                              Modell, Pauline Wells, Alfred E.  E. Lerner,
                                                                                   Lerner,
Broshaw
Broshaw && Co.
           Co. and
                and BSC,
                    BSC, LLC.
                          LLC.

      "New
        New Owner"
             Owner" means the persons
                    means the persons who
                                      who become
                                          become the
                                                 the owners of the Cleveland
                                                                   Cleveland NFL
Franchise
Franchise. .


       "Notice
        Notice Address" means

       (a)
        a)   as
             as to the City:
                to the City:             Office
                                         Office of
                                                 of the
                                                    the Mayor
                                                        Mayor
                                         City of
                                         City of Cleveland
                                                 Cleveland
                                         601
                                         601 Lakeside
                                              Lakeside Avenue
                                                         Avenue
                                         Cleveland
                                         Cleveland,, Ohio 44114

                                        With
                                        With copies
                                             copies toto the
                                                         the following
                                                             following
                                        City
                                        City officials
                                             officials at the same
                                                       at the same address:
                                                                     address:

                                                  Cleveland
                                                  Cleveland City
                                                              City Council
                                                                   Council President
                                                                              President
                                                  Director of
                                                  Director of Law
                                                              Law ofof the
                                                                       the City
                                                                            City
                                                  Director
                                                  Director of
                                                           of Finance
                                                              Finance of    the City
                                                                         of the
      (b)
       b)    as
             as to the
                   the NFL:
                       NFL:             National
                                        National Football
                                                  Football League
                                                           League
                                        410
                                        410 Park
                                             Park Avenue
                                        New
                                        New York,
                                              York, New
                                                    New York
                                                          York 10022
                                                                10022
                                        Attention:  Commiss   ioner
                                        Attention: Commissioner

                                         With
                                         With copies
                                              copies to:
                                                     to:


                                        Covington
                                        Covington && Burling
                                                      Burling
                                        1201
                                        1201 Pennsylva   nia Avenue,
                                               Pennsylvania   Avenue, N.W.
                                                                       N. W.
                                        Washingt  on, D.C.  2000475
                                        Washington, D. C. 20004- 7566 66
                                        Attention: Gregg    H. Levy, Esq.
                                        Attention: Gregg H. Levy, Esq.




                                           33 -
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          (c)
           c)     as to
                  as to Modell:
                        Modell:                   Arthur B.
                                                  Arthur    Modell
                                                         B. Modell
                                                  250 West Pratt
                                                  250 West       Street
                                                           Pratt Street
                                                  Suite 1800
                                                  Suite 1800
                                                  Baltimore
                                                  Baltimore,, Maryland 21201
                                                              Maryland 21201

        "Premium  Seating Condition"
         Premium Seating  Condition" shall
                                     shall have
                                           have the
                                                the meaning
                                                    meaning set
                                                            set forth
                                                                forth in
                                                                      in the
                                                                         the Stadium
                                                                             Stadium
 Financing  Agreement.
 Financing Agreement.

        "Releases
         Releases"" means  the General
                    means the  General Waivers
                                        Waivers and
                                                 and Releases   of Claims
                                                       Releases of Claims and
                                                                           and Covenants
                                                                                Covenants
 Not to Sue  by the Releasing Parties  attached to
 Not to Sue by the Releasing Parties attached   to this
                                                   this Agreement
                                                        Agreement asas Exhibit
                                                                       Exhibit E.
                                                                               E.

         "Releasin   Parties" means
          Releasingg Parties" means the persons and
                                    the persons and entities
                                                    entities executing
                                                             executing the
                                                                       the Releases
                                                                           Releases..
         "Stadium"
          Stadium"    means the
                      means  the new
                                  new  football stadium
                                       football stadium to
                                                         to be constructed in
                                                            be constructed     the City,
                                                                            in the City, as more
                                                                                         as more
 particular
 particularlyly described
                described in Article IV,
                          in Article     together with
                                     IV, together  with related site improvem
                                                        related site            ents.
                                                                     improvements.

       "Stadium
        Stadium Financing   Agreement" means
                  Financing Agreement"           the Stadium
                                         means the   Stadium Financing  Agreement dated
                                                             Financing Agreement   dated
 as of April 26, 1996  between  the City
 as of April 26, 1996 between the City   of Cleveland  and NFL Enterprise
                                            Cleveland and       Enterprises, L. P.
                                                                          s, L.P.
         "Team  Commitment Condition"
          Team Commitment    Condition" shall
                                          shall mean   satisfaction of the
                                                mean satisfaction      the numerica
                                                                           numericall targets
                                                                                      targets
 of the  Premium Seating  Condition s (as defined in the Stadium   Financing Agreeme
 of the Premium Seating Conditions ( as defined in the Stadium Financing Agreement)     nt) on
                                                                                            on
 or before
 or  before Novembe
            November r 15,
                       15, 1997.
                           1997.


         'Terminat ion of
          Termination   of Lease"
                            Lease" means    t►he Termination
                                    means the     Termination of Lease    dated as
                                                                  Lease dated    as of
                                                                                     of April
                                                                                         April 26,
                                                                                               26,
 1996   between  the   City  of Cleveland , as lessor,  and  Cleveland
 1996 between the City of Cleveland, as lessor, and Cleveland Stadium   Stadium    Corp. and
                                                                                         and   the
Baltimore
Baltimore Ravens,
            Ravens, Inc.   (formerly known
                      Inc. (formerly known asas the
                                                 the Cleveland
                                                     Cleveland Browns,
                                                                Browns, Inc.),  as sublessor
                                                                         Inc.), as sublessor and
                                                                                              and
sublessee, and the Baltimore Ravens Football Company, Inc. (formerly known as
sublessee, and the Baltimore Ravens Football Company, Inc. (formerly known as
Cleveland Browns
Cleveland    Browns Football     Company, Inc.)
                      Football Company,            and BSC,
                                            Inc.) and  BSC, LLC, a form
                                                                     form of which
                                                                               which is attached
                                                                                        attached
to this
to       Agreement as
   this Agreement     as Exhibit F.

        'Trust Property" means the Trust Property as defined in the Browns Holding Trust.
         Trust Property" means the Trust Property as defined in the Browns Holding Trust.

                                             ARTICLE II
                                             ARTICLE II

                             FRANCH ISE COMMITM
                             FRANCHISE          ENT OF NFL
                                        COMMITMENT

         Section 2.1.
         Section     2. 1.   Agreement to
                             Agreement        to Provide
                                                   Provide Franchis
                                                             Franchise. e. Subject
                                                                             Subject to the   terms and
                                                                                         the terms   and
conditions     of this   Agreemen      t, the
conditions of this Agreement, the NFL shall    NFL    shall approve
                                                            approve an an NFL   franchise with
                                                                           NFL franchise   with a home
                                                                                                   home
territory of
territory     Cleveland, Ohio
           of Cleveland,      Ohio to
                                    to play
                                        play home     games in
                                              home games      in Cleveland
                                                                 Cleveland,, Ohio (the ""Clevelan
                                                                                         Clevelandd NFL
                                                                                                    NFL
Franchise") commencing no later than commencement of the first season of NFL play
Franchise") commencing no later than commencement of the first season of NFL play
occurring
occurring after     the Stadium
             after the    Stadium hashas been
                                            been completed
                                                   completed. . If the
                                                                   the Cleveland
                                                                        Cleveland NFL
                                                                                   NFL Franchise
                                                                                        Franchise is an
                                                                                                      an
expansion franchise, Cleveland will be deemed a qualified NFL territory with no
expansion franchise, Cleveland will be deemed a qualified NFL territory
application process
application    process beingbeing necessary
                                  necessary to    to establish
                                                     establish the Cleveland
                                                                     Cleveland NFL
                                                                                NFL Franchise
                                                                                     Franchise.. In
                                                                                                  In the
event   that  the  NFL     expands    its League
event that the NFL expands its League before 1999,   before          the Cleveland
                                                             1999, the   Cleveland NFL
                                                                                    NFL Franchise
                                                                                          Franchise will
                                                                                                     will
be    part of  that   expansion   ;  provided,     that
be part of that expansion; provided,, that at the time  at the  time  of such  expansion the NFL
                                                                         such expansion         NFL has
                                                                                                    has
determine
determinedd in    its sole
               in its        discretion that
                       sole discretion     that the
                                                the Stadium
                                                     Stadium will be completed in time to commence
                                                                                            commence
                                                 - 44 --
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 play during the 1999 football season; and provided, further,
  play during the 1999 football season; and provided, further, that
 Franchise will not commence play until that season. The partie
                                                                    that the
                                                                          the Clev
                                                                               Cleveland    NFL
                                                                                    eland NFL
  Franchise
 that        will not commence play until that season. The parties curre
       the Stadium will be an open air facility (as described in
                                                                    s   currently  contemplate
                                                                             ntly conte mplate
  that  the Stadium    will be an open air  facility ( as described
 Agreement) that will be completed in time for team play in the
                                                                      in  Section
                                                                         Secti      4.2
                                                                               on 4.2    of this
                                                                                        of   this
  Agreement) that will be completed in time for team play in the Leag
                                                                    League'
                                                                          ue'ss 1999
                                                                                 1999 seas
                                                                                       season.
                                                                                            on.
         Section 2.2n Expansion Franchise, The NFL will notify Cleve
 November Section   2.2. Expansion Franchise. The NFL will notify Cleveland
              15, 1997, if practicable, but in all events prior to November
                                                                                   land onon oror befor
                                                                                                   before   e
  November     15,  1997,   if practicable, but  in  all events
 determines that the Cleveland NFL Franchise will be an expa
                                                                  prior to November      15,
                                                                                        15,    1998,
                                                                                              1998  , if itit
                                                                                                         if
  determines   that   the  Cleveland    NFL  Franchise    will
 Cleveland NFL Franchise is an expansion franchise, the NFL will
                                                                be  an  expansion   franchise.
                                                                            nsion franc             If
                                                                                          hise. If the  the
  Cleveland NFL Franchise is an expansion franchise, the NFL will unde
 efforts to provide an opportunity to qualified ownership groups
                                                                              undertake     reasonable
                                                                                   rtake reaso     nable
 efforts to provide an opportunity to qualified ownership groups whose majo
 are residents of Northeastern Ohio to make application to the
                                                                            whos e    majority   holders
                                                                                           rity holde     rs
 are   residents   of  Northeastern     Ohio  to  make    application
 Cleveland NFL Franchise. Consideration will also be given to
                                                                        to the  NFL
                                                                               NFL     to
                                                                                      to   acquire
                                                                                          acqu   ire    the
                                                                                                       the
 Cleveland
 group
 group in
              NFLland
         in Cleve
                    Franchise.
            Cleveland   that
                         that includ
                                    Consideration
                                     es fema
                               includes      les and
                                         females
                                                    will minorities.
                                                         also be given to selec
                                                   and mino
                                                                            selecting
                                                                                 ting anan owne
                                                                                             ownership
                                                                                                   rship
                                                             rities.
         Sect ion 2.3.
         Section   2. 3. NFL
                          NFL Divis     ion. The
                                  Division.
                                                The Cleve   land NFL
                                                     Cleveland    NFL Fran
                                                                       Franchise   will be
                                                                           chise will   be in
                                                                                            in aa divisi
                                                                                                  division
 of
 of the
     the NFL
          NFL which
                 which includ
                                                                                                         on
                         includeses the
                                      the Pittsb urgh Steel
                                           Pittsburgh          ers and
                                                         Steelers  and the
                                                                        the Cinc
                                                                              Cincinnati
                                                                                  innati Beng     als. IfIf
                                                                                           Bengals.
 nece  ssary, the
 necessary,    the NFL
                   NFL will
                          will realig n the
                                realign  the divisi ons to
                                             divisions   to acco
                                                             accomplish  that.
                                                                 mplish that.
         Sect ion 2.4.
         Section    2.4. Expa    nsion Fran
                            Expansion        chise. IfIf the
                                        Franchise.        the Cleve land NFL
                                                               Cleveland   NFL Fran
                                                                                 Franchise   is an
                                                                                                 an
 expansion franchise that is awarded in connection with a broa                        chise is
 expansion franchise that is awarded in connection with a broader
 League, the criteria governing player selection and revenue shari
                                                                                expansion
                                                                           der expa nsion ofof the
                                                                                                the
 League,
 equa
           the
      lly amon
                criteria   governing player  selection  and  revenue    sharing  shall
                                                                             ng shall  be applied
                                                                                       be applied
 equally  among g all
                   all franc hises admi
                        franchises      tted to
                                    admitted  to the
                                                  the Leag
                                                      League  as part
                                                           ue as  part of
                                                                       of such
                                                                          such expa
                                                                                expansion.
                                                                                     nsion.
         Sect  ion 2.5.
         Section     2.5. Relo    cated Fran
                            Relocated           chise. IfIf the
                                           Franchise.,       the Cleve
                                                                   Cleveland    NFL Fran
                                                                         land NFL      Franchise        is to
                                                                                                            to be
                                                                                                               be aa
                                                                                             chise is
relocated team, (a) the NFL will notify the City of the identity of
 relocated   team,   ( a)  the  NFL   will notify the   City of
later than March 15 of the year in which the relocated team is to
                                                                 the  identity of  the
                                                                                   the   relocated
                                                                                        reloc            team
                                                                                               ated team not     not
 later than March 15 of the year in which the relocated team is to play
Cleveland. If an existing team is to be relocated to Cleveland,
                                                                                     play its
                                                                                           its firs
                                                                                                firstt seas
                                                                                                       season on in in
 Cleveland. If an existing team is to be relocated to Cleveland, the             the NFL
                                                                                       NFL must
                                                                                             must deterdetermine
                                                                                                              mine
in its sole discretion that the relocation is justified based on
 in its sole   discretion    that  the  relocation    is justified
relocation criteria. The City is opposed to relocation of a team
                                                                     based    on  application
                                                                                  appli  cation of  of   the
                                                                                                         the   NFL
                                                                                                               NFL
 relocation throu
home          criteria.   The Cityy isand
                                        opposed to relocation of a team that is supported
                                                                                  that  is  supp   orted by   by its
                                                                                                                  its
home city
        city throughgh fan
                        fan loyalt
                              loyalty and comp    etitive econ
                                            competitive    economic     support.
                                                                 omic supp          Moreover,
                                                                              ort. More    over, in  in no
                                                                                                         no even
                                                                                                              eventt
will the City accept, nor will the NFL permit, the relocation of an
will the City accept, nor will the NFL permit, the relocation of an exist
of that team's extant lease obligations without the consent of the
                                                                                  existing    team inin breac
                                                                                        ing team           breachh
of that team' s extant lease obligations without the consent of host                 host city.
                                                                                            city.
       Sect  ion 2.6.
        Section   2.6. Spec   ific Perfo
                        Specific          rmance. The
                                   Performance.         The City
                                                              City isis entitl
                                                                        entitled  to spec
                                                                               ed to specific  performance
                                                                                          ific perfo rmance
of the oblig ation s of the  NFL   to  deliv  er the
of the obligations of the NFL to deliver the Cleveland Cleve  land NFL NFL Fran
                                                                              Franchise   to Cleve
                                                                                              Cleveland    as
                                                                                   chise to         land as
provi ded in  2.1 of this Articl e II.  The    spec  ific perfo
provided in 2. 1 of this Article II. The specific performance rights and
                                                                rman     ce  rights  and reme
                                                                                          remedies     of the
                                                                                                          the
City                                                                                            dies of
City are
     are mons
          motor fully desc ribed in Articl
                      described        Articlee VIII of
                                                      of this Agre
                                                              Agreement.
                                                                      ement.
      Sect  ion 2.7.
       Section  2.7. Dete rmination of
                     Determination  of Com
                                       Commencement  Date of
                                           mencement Date of the
                                                             the Clev
                                                                 Cleveland  NFL
Fran                                                                  eland NFL
     chise.
Franchise.

         (a)
           a) IfIf the
                   the Team
                        Team Com     mitment Cond
                                Commitment            ition shall
                                               Condition    shall have been satis
                                                                               satisfied,   then the
                                                                                     fied, then   the NFL
                                                                                                      NFL
shall  place   an    NFL   franc hise in
shall place an NFL franchise in ClevelandCleve  land   to comm
                                                          commence
                                                                 ence play inin eithe
                                                                                eitherr the
                                                                                         the 1999
                                                                                              1999 or
                                                                                                    or the
                                                                                                       the
2000
2000 NFL NFL seas      on, as
                 season,     as deter mined in
                                determined    in sectio
                                                   sectionn ((b)
                                                              b) below
                                                                 below.. If
                                                                          If the Team
                                                                                   Team Com  Commitment
Cond                                                                                              mitment
       ition shall
Condition     shall notnot have
                            have been
                                  been satisf ied, the
                                        satisfied,   the NFL shall have no obligobligation    to place
                                                                                                 place an
                                                                                                        an
                                                                                       ation to
NFL franchise in Cleveland and this Agreement shall without further
NFLnull,
be
      franchiseand   in Cleveland   and this Agreement shall without further actio  actionn by
                                                                                             by any
                                                                                                any party
                                                                                                     party
be null, void,
           void, and of  of no
                             no force
                                force and
                                      and effec
                                           effect,t, exce
                                                     except             obligations
                                                          pt as to the oblig ations of of the
                                                                                          the NFL
                                                                                               NFL unde
                                                                                                    underr
                                                      - 5 --
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 Section 3.3
 Section     and Section
         3.3 and Section 5.
                         5.1,  which obligations
                            1, which obligations shall
                                                 shall survive
                                                       survive termination
                                                                termination of
                                                                            of this
                                                                                this
 Agreement.
 Agreement.


         (b)  1999 Commencement
          b) 1999  Commencement Date,
                                   Date. The
                                          The Cleveland
                                                Cleveland NFL
                                                            NFL Franchise
                                                                   Franchise will
                                                                                will commence
                                                                                     commence
 play  in the 1999 NFL season if the condition specified
 play in the 1999 NFL season if the condition  specified in
                                                          in( (a) is satisfied,
                                                               a) is satisfied, and
                                                                                 and either.
                                                                                       either
        (i)
         i)     On June
                On June 1,1, 1998,
                             1998, the
                                    the respective
                                        respective construction
                                                   construction management
                                                                management
                  consultants of
                consultants      of the the City
                                             City and
                                                    and the   NFL shall
                                                          the NFL     shall have
                                                                            have mutually
                                                                                    mutually
                 confirmed     that   the  critical path of Stadium    construction should
                confirmed that the critical path of Stadium construction             should
                result in
                result    in Stadium
                             Stadium completion
                                           completion nono later
                                                            later than
                                                                   than July
                                                                         July 31,
                                                                              31, 1999
                                                                                   1999((or
                                                                                          or
                ifif the  NFL or,
                      the NFL   or, ifif designated,
                                         designated, the     Cleveland NFL
                                                         the Cleveland     NFL Franchise,
                                                                                Franchise,
                and the
                and      the City
                              City shall
                                       shall have
                                               have agreed
                                                      agreed to to schedule
                                                                     schedule allall of
                                                                                     of the
                                                                                         the
                Franchise's
                Franchise'       pre-seaso
                              s pre-     seasonn games
                                                   games on on the
                                                                the road,
                                                                     road, September 1,1,
                                                                            September
                1999); or
                1999);     or

        (ii)
         ii)   If the
               If      June 1,1, 1998
                   the June      1998 condition
                                      condition is
                                                is not
                                                   not satisfied,
                                                       satisfied, the
                                                                  the parties'
                                                                      parties'
               respective construction
               respective construction management
                                       management consultants
                                                  consultants and
                                                              and aa third
                                                                     third
               construction management
               construction management consultant
                                       consultant chosen
                                                  chosen by
                                                         by the
                                                            the parties'
                                                                parties'
                respective consultants
               respective   consultants shall
                                         shall have
                                                 have mutually
                                                       mutually confirmed
                                                                  confirmed no
                                                                             no later
                                                                                later
                than  October    1,  1998   that    the
               than October 1, 1998 that the critical   critical path
                                                                  path ofof Stadium
                                                                            Stadium
                construction should
               construction   should result
                                      result inin Stadium
                                                  Stadium completion
                                                            completion byby July
                                                                            July 31,
                                                                                  31,
               1999   (or if the  NFL  or,  if  designate
               1999 ( or if the NFL or, if designated,d, the    the Cleveland.
                                                                     Cleveland• NFL
                                                                                NFL
               Franchise, and
               Franchise,    and the  City shall
                                  the City shall have
                                                   have agreed
                                                        agreed to  to schedule
                                                                      schedule all
                                                                               all of
               the Franchise'
               the  Franchise's   pre-seaso
                               s pre-            games on
                                      seasonn games      on the
                                                              the road,
                                                                   road, September
                                                                         September
               1,
               1, 1999);  or
                  1999); or

       (iii)
        iii)   If the Team
               If the  Team Commitment
                               Commitment Condition
                                                Condition isis satisfied
                                                               satisfied but
                                                                          but neither
                                                                                neither
               the condition
               the  condition specified
                                specified in
                                          in ((i) nor the
                                               i) nor  the condition
                                                           condition specified
                                                                       specified in
                                                                                 in ((ii)
                                                                                      ii)
               is  satisfied, then the
               is satisfied, then  the NFL
                                         NFL shall
                                                 shall place
                                                       place an
                                                              an NFL     franchise in
                                                                  NFL franchise       in
               Cleveland    to commenc    e play   in the 2000
               Cleveland to commence play in the 2000 season or,season    or, upon
                                                                              upon the
                                                                                    the
               mutual   agreement of
               mutual agreement      of the
                                        the parties,
                                              parties, thereafter.
                                                        thereafter.

       c) IfIf the
      (c)           determination made
               the determination  made pursuant
                                        pursuant to  section ((b)
                                                  to section      is that
                                                               b) is that the
                                                                          the Stadium
                                                                              Stadium is
                                                                                       is likely
                                                                                          likely
to be complete     d by  July 31, 1999  (or Septembe   r 1,  1999)
to be completed by July 31, 1999 ( or September 1, 1999) and the     and   the Stadium
                                                                               Stadium is    not
                                                                                         is not
Completed ((as
Completed          defined in
               as defined  in the
                              the Stadium
                                  Stadium Financing   Agreement) on
                                           Financing Agreement)      on or before
                                                                             before such
                                                                                    such date,
                                                                                          date,
then:
then:


       (i)
        I)     The City
               The City shall
                        shall cause
                              cause its
                                    its general
                                        general contractors
                                                contractors to
                                                            to pay the
                                                                   the NFL
               liquidated damages
               liquidated damages for
                                    for each
                                        each day
                                              day after the applicable
                                                  after the applicable Stadium
                                                                       Stadium
               completio    date ((which
               completionn date    which liquidated    damages shall
                                          liquidated damages      shall not
                                                                        not be
                                                                             be
               considered a
               considered   penalty) in
                          a penalty)    the following
                                     in the following amounts:
                                                      amounts:

               August 1,
               August 1, 1999                            $ 8,000
                                                           8, 000 a day ((If the applicable
                                                                          If the applicable
                                                         completio n date   is     31, 1999)
                                                         completion date is July 31,    1999)
               Septembe
               Septemberr 1999                           $10,000    day
                                                          10, 000 a day
               October 1999                              $20,000
                                                          20, 000 a day
                                                                    day
               Novembe
               Novemberr 1-20,
                         1- 20, 1999           -         $40,000    day; and
                                                          40, 000 a day;  and

                                                   -6
                                                    6-
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         (ii)     The
          ii)
                   The City
                  of
                         City shall
                              shall cause
                                    cause anan alternate
                                                alternate site
                                                           site to
                                                                to be
                                                                   be available
                                                                       available for
                                                                                   for play
                                                                                       play
                       NFL   games    in  the
                   of NFL games in the 1999    1999 season
                                                       season at at aa cost to the new new
                  franchise    no greater   than  the  per-game
                   franchise no greater than the per-game          cost  of
                                                                         of  the Stadium
                                                                                  Stadium
                  under    the  Lease;   provided    that such   alternate
                   under the Lease; provided that such alternate playing site playing   site
                  shall
                   shall be
                         be subject
                             subject to
                                      to NFL
                                         NFL approval
                                               approval ((Ohio
                                                           Ohio Stadium
                                                                  Stadium inin Columbus
                                                                                Columbus
                  is
                   is pre-appro  ved by
                      pre-approved        the NFL
                                      by the  NFL for
                                                    for the purposes
                                                             purposes of this section);
                  and
                  an



         (iii)
           iii)   The
                  The City
                        City shall
                             shall exert
                                   exert reasonab
                                         reasonablele efforts
                                                      efforts to assist
                                                                 assist the new
                                                                            new
                  franchise in marketing ticket sales at the alternate playing
                  franchise in marketing ticket sales at the alternate playing
                  site.
                  site.


         Section
         Section 2.8. Conditions to NFL Obligation. The NFL's obligations under this
                             Conditions to NFL Oblioatlon. The NFL' s obligations under
 Article
 Article IIII are
              are subject  to (i)
                  subject to  (i) the
                                  the City
                                       City having
                                            having entered
                                                   entered into,
                                                              into, and
                                                                    and not
                                                                        not being
                                                                            being inin material
                                                                                       material breach
 of, any of its obligations under its Implementing Agreements, and (ii) the City's having
 of, any of itstheobligations
 complete
 completedd the     Financing    under  its Implementing   Agreements,     and ( ii) the City' s having
                    Financing Arrangem       ents, and
                                  Arrangements,     and ( (iii)
                                                            iii) the
                                                                  the Team
                                                                      Team Commitm
                                                                             Commitment ent Condition
                                                                                             Condition
 having
 having beenbeen satisfied.
                  satisfied.

       Section 2.9. Notice of New Ownership. Notwithstanding anything aforesaid to
the
        Section 2.9.     Notice of New Ownership. Notwithstanding anything aforesaid to
the contrary,    the NFL
     contrary, the    NFL shall
                           shall disclose  the identities
                                 disclose the   identities of
                                                           of the
                                                              the proposed
                                                                  proposed New
                                                                             New Owner of the
Cleveland franchise to the City, in writing, promptly after the determinative vote by the
Cleveland
NFL           franchise to the City, in writing, promptly after the determinative vote by the
      owners. If the City objects to the proposed New Owner, the City shall save the
NFL
right
      owners.     If the City objects to the proposed New Owner, the City shall save the
right to  file aa written
      to file      written objection
                           objection with
                                      with the
                                             the Commiss    ioner stating
                                                  Commissioner     stating the
                                                                           the reasons
                                                                               reasons for the
objection; provided that any such objection shall not have a binding effect on the NFL.
objection; provided that any such objection shall not have a binding effect on the NFL.

                                              ARTICLE
                                              ARTICLE Ill
                                                      III

                    TEAM
                    TEAM NAME,
                         NAME, COLORS
                               COLORS,, RECORD
                                        RECORDSS AND HERITAG
                                                     HERITAGEE
       Section
       Section 3.1.
                3. 1. Browns Heritage Property to be Held in Trust The NFL will
                       Browns Heritage Property to be Held in Trust. The              will
cause  Modell and  the Trustee to enter into the Browns Holding Trust in accordan    with
cause Modell and the Trustee to enter into the Browns Holding Trust in accordance with
                                                                                  ce
the terms of which the Trustee shall assign certain Trust Property, including the Browns
the terms of which the Trustee shall assign certain Trust Property, including the Browns
Heritage Property, to the New Owner. The Browns Holding Trust is attached to this
Heritage Property, to the New Owner. The Browns Holding Trust is attached
Agreeme
Agreementnt as Exhibit
               Exhibit A.

        Section 3.2. Stadium Records. The NFL will obtain from Modell any and all
records
        Section   3.2. Stadium       Records.      The NFL will obtain from Modell any and all
records held
          held by
               by Modell
                   Modell relating
                             relating to  the operation
                                      to the  operationss and
                                                           and activities
                                                                 activities conducted
                                                                            conducted at Cleveland
                                                                                            Cleveland
Stadium. The NFL will provide to the City any and all information relating to the land
Stadium.
which   the
            The  NFL
             existing
                       will provide
                       Cleveland
                                     to  the City  any  and all information   relating to the land on
                                     Stadium    is  sited and
which the existing Cleveland Stadium is sited and the condition  the  condition   of the  foundatio
                                                                                     the foundation,n,
structures  and  fixtures   constitutin g  Cleveland
structures and fixtures constituting Cleveland Stadium.Stadium.

      Section
       Section    3. 3. Specific
                  3.3.  Specific Performa      nce. In
                                    Performance.      In accordanc
                                                         accordancee with
                                                                      with the
                                                                           the terms
                                                                               terms of the
Browns  Heritage  Trust, the City  is entitled to specific performan
Browns Heritage Trust, the City is entitled to specific performance  ce of the
                                                                           the obligationss of
                                                                               obligation
the Trustee to obtain from Modell the Browns Heritage Property and
the Trustee to obtain from Modell the Browns Heritage Property and to deliver    deliver the
Browns  Heritage  Property  to the  New   Owner   of the Cleveland NFL
Browns Heritage Property to the New Owner of the Cleveland NFL Franchise or to the
                                                                         Franchise
Pro
Pro Football
    Football Hall
             Hall of
                  of Fame.
                      Fame.

                                                    7
                                                    7-
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                                                     ARTICLE IV
                                                     ARTICLE IV

               CONSTRUCTION, FINANCING
               CONSTRUCTION, FINANCING AND
                                       AND LEASE
                                           LEASE OF
                                                 OF NEW
                                                    NEW STADIUM
                                                        STADIUM

       Section 4.
       Section   4.1.   Agreement to
                    1. Agreement    to Construct.  In consideration
                                        Construct. In consideration of
                                                                     of the
                                                                        the performance
                                                                            performance by
                                                                                         by
     NFL of
 the NFL
the      of its obligations under
            its obligations under this
                                   this Agreement,
                                        Agreement, the
                                                   the Stadium
                                                       Stadium Financing
                                                                 Financing Agreement,
                                                                            Agreement, the
                                                                                        the
        Holding Trust,
Browns Holding
Browns            Trust, the         and the
                             Lease and
                         the Lease         the Cooperative
                                               Cooperative Agreement
                                                              Agreement,, the the City
                                                                                  City will
                                                                                        will acquire
                                                                                             acquire
     construct aa new
and construct
and                     Stadium in
                  new Stadium    in the
                                     the City
                                          City in  accordance with
                                                in accordance     with the
                                                                       the terms
                                                                            terms of
                                                                                   of the
                                                                                       the Stadium
                                                                                            Stadium
           Agreement, subject
Financing Agreement,
Financing                          to the
                          subject to       consummation of
                                       the consummation      of the
                                                                the Financing
                                                                     Financing Arrangements
                                                                                 Arrangements to   to
pay the
pay the costs  thereof, to
         costs thereof,  to be owned by
                            be owned     by the  people of
                                            the people   of the  City.
                                                            the City.

         Section 4.
         Section     4.2.    Stadium. The
                        2. Stadium.              design of
                                            The design          the new
                                                            of the    new Stadium
                                                                            Stadium as    as provided
                                                                                              provided for  for in
                                                                                                                 in the
                                                                                                                     the
Stadium     Financing      Agreement      will include   (i)  a  masonry     facade
Stadium Financing Agreement will include ( i) a masonry facade acceptable to the City    acceptable        to  the City
and the
and         NFL, ((ii)
       the NFL,              bleacher area
                     ii) aa bleacher      area ofof approximately
                                                     approximately 10,     10,000     seats that
                                                                              000 seats         that substantially
                                                                                                        substantially
replicates the
replicates   the area
                   area in   Cleveland Stadium
                          in Cleveland    Stadium known
                                                      known as  as the"
                                                                     the "Dawg
                                                                          Dawg Pound",
                                                                                   Pound", ((iii)     approximately
                                                                                                 iii) approximately
72,000
72,        seats, of
    000 seats,          which approximately
                    of which     approximately 8,  8,000    will be
                                                      000 will    be club
                                                                       club seats
                                                                             seats andand 94 94 willwill be
                                                                                                         be inin suites
                                                                                                                 suites
that in
that  in the
         the aggregate
              aggregate accommodate             approximately 1,1,084
                             accommodate approximately                       persons((with
                                                                       084 persons                 suites varying
                                                                                           with suites      varying in in
size to
size  to hold   from 10
          hold from         persons to
                        10 persons     to 20
                                           20 persons
                                               persons in in aa single
                                                                 single suite),
                                                                         suite), and
                                                                                   and will
                                                                                          will substantially
                                                                                               substantially meet meet
                  requirements for
     program requirements
the program
the                                  for construction
                                         construction set  set forth
                                                                 forth as
                                                                        as generic
                                                                            generic stadium
                                                                                         stadium guidelines
                                                                                                       guidelines by  by
Heilmuth,    Obata    &   Kassabaum,       Inc., Sports    Facilities
Hellmuth, Obata & Kassabaum, Inc., Sports Facilities Group in its       Group     in its ""NFL     Stadium Facility
                                                                                           NFL Stadium          Facility
Program"
Program" dated         December 15,
              dated December                1994. If
                                      15, 1994.         an open
                                                     If an   open air air facility,
                                                                          facility, the
                                                                                     the Stadium
                                                                                           Stadium will   will have
                                                                                                                have aa
natural grass
natural             playing field.
           grass playing               At its
                               field. At    its option,
                                                option, thethe City
                                                                  City may
                                                                        may elect
                                                                               elect to to construct
                                                                                            construct aa domed  domed
Stadium or
Stadium     or aa domed      multiple function
                  domed multiple                  Stadium in
                                       function Stadium        in lieu  of an
                                                                   lieu of  an open
                                                                                 open airair Stadium.
                                                                                             Stadium. The    The City
                                                                                                                   City
will notify  the   NFL    of that  election   on  or  before    March
will notify the NFL of that election on or before March 26, 1996.         26,  1996.

       Section 4.3.
       Section 4. 3. Design   and Construction
                     Design and   Construction ofof Stadium.   The City
                                                    Stadium. The        will carry
                                                                   City will       out the
                                                                             carry out  the
design and
design       construction of
        and construction      the Stadium
                           of the  Stadium consistent
                                             consistent with
                                                        with the
                                                             the terms
                                                                 terms of
                                                                        of the
                                                                             the Stadium
                                                                                  Stadium
Financing Agreement    attached  as Exhibit
Financing Agreement attached as Exhibit B.  B.

        Section
        Section 4.4.        Sources of Funds.
                     4.4. Sources             Funds. Costs   Costs of  of constructing
                                                                          constructing the   the Stadium
                                                                                                  Stadium will will be
                                                                                                                    be paid
                                                                                                                        paid
from public
from           and private
      public and                funds as
                      private funds           described in
                                        as described                the Stadium
                                                                in the    Stadium Financing            Agreement. The
                                                                                      Financing Agreement.              The
City has   agreed     to  provide  certain     public      funds    to  construct   and
City has agreed to provide certain public funds to construct and finance the Stadium and    finance     the  Stadium    and
lease
lease it to        NFUNew Owner. Such
         to the NFL/New                                 financing consists
                                             Such financing            consists of a trustee
                                                                                         trustee issuing
                                                                                                     issuing andand selling
                                                                                                                     selling
Certificates of
Certificates   of Participation,
                   Participation, in in rental
                                          rental payments
                                                     payments to      to be
                                                                         be made
                                                                              made by the   the City
                                                                                                  City under     the lease
                                                                                                         under the    lease
of the Stadium,
of the  Stadium,, as       authorized in
                      as authorized        in Ordinance
                                              Ordinance No.       No. 305-96,
                                                                        305- 96, passed
                                                                                  passed by the      the Council
                                                                                                           Council of thethe
City on  March
City on March       8,   1996,   an interim      borrowing
                         1996, an interim borrowing                as   authorized
                                                                        authorized      by    Ordinance       No.
                                                                                              Ordinance No. 306- 96,306-96,
passed
passed by the      Council of the
              the Council        the City
                                      City on on March
                                                  March 8,     8, 1996,
                                                                   1996, toto pay   costs of the
                                                                              pay costs          the Stadium
                                                                                                       Stadium pending
                                                                                                                   pending
issuance
issuance of      the Certificates
             of the    Certificates of of Participation,
                                             Participation, the    the City
                                                                          City borrowing
                                                                               borrowing $ $10     10 million     from the
                                                                                                        million from     the
Cleveland     Development Partnership
Cleveland Development            Partnership I,    I, the
                                                       the City
                                                             City allocating
                                                                   allocating utilities      funds to
                                                                                 utilities funds      to this
                                                                                                          this project
                                                                                                               project and
                                                                                                                        and
advances made
advances      made in      anticipation of those
                        in anticipation                      transactions( (collectively,
                                                 those transactions             collectively, the   the ""City
                                                                                                           City Financial
                                                                                                                  Financial
Obligation").
Obligation").      It is expressly
                   It      expressly understood
                                        understood and        and agreed
                                                                      agreed that
                                                                                that ( (i)
                                                                                         i) the
                                                                                              the City's
                                                                                                   City' s obligation
                                                                                                             obligation to to
provide   financing for the
provide financing                 Stadium is
                             the Stadium        is limited
                                                     limited to  to its
                                                                     its obligations
                                                                         obligations to   to create
                                                                                               create andand service
                                                                                                               service the
                                                                                                                         the
City Financial Obligation
City Financial     Obligation and and ((ii)  the City
                                         ii) the    City shall
                                                            shall not
                                                                    not bebe deemed
                                                                              deemed ofr   or obligated
                                                                                                obligated to  to incur
                                                                                                                 incur any
cost or expense with     with respect to the construction, maintenance or operation of the
Stadium                      expressly provided
            except as expressly
Stadium except                               provided in this     this Agreement,
                                                                         Agreement, the Stadium    Stadium Financing
                                                                                                                 Financing
Agreement and
Agreement       and the     Lease. In
                       the Lease.       In addition,
                                              addition, the   the City
                                                                    City and
                                                                           and the
                                                                                 the NFLNFL expressly
                                                                                                 expressly agreeagree and
                                                                                                                        and

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 understand that
understand       that the
                       the City    shall not
                            City shall        be called
                                         not be   called upon
                                                          upon toto pay
                                                                      pay any
                                                                           any portion
                                                                               portion or
                                                                                        or advance
                                                                                            advance any
                                                                                                      any
funds   toward,    without  limitation,  relocation expenses,     funds  advanced
 funds toward, without limitation, relocation expenses, funds advanced by the NFL    by the  NFL (except
                                                                                                  (except
 upon abandonment
upon     abandonment of     of the
                                the project
                                     project as  provided in
                                              as provided   in the
                                                                the Stadium
                                                                      Stadium Financing
                                                                                Financing Agreement),
                                                                                            Agreement),
training   facilities,  the purchase     or  subsidy  of loges,    tickets, seat licenses
 training facilities, the purchase or subsidy of loges, tickets, seat licenses or any      or  any other
                                                                                                    other
expense     not   specifically   agreed   to
 expense not specifically agreed to therein. therein.

       Section
       Section 4.5.4. 5. NFLNFL Assessments.
                                  Assessments. Notwithstanding
                                                       Notwithstanding the the funding
                                                                                 funding arrangements
                                                                                          arrangements
described
described in
           in the  Stadium      Financing   Agreement,    if for  any reason    the
               the Stadium Financing Agreement, if for any reason the contributions  contributions to
                                                                                                    to be
                                                                                                        be
made   by  NFL     Enterprises,      L.P.   for  Stadium    construction
made by NFL Enterprises, L. P. for Stadium construction are not made by NFL  are   not  made    by   NFL
Enterprises, L.P.
Enterprises,          in immediately
               L. P. in                   available funds
                          immediately available      funds on
                                                            on or
                                                                or before
                                                                    before the
                                                                            the dates
                                                                                  dates provided
                                                                                         provided in
                                                                                                   in the
                                                                                                       the
Stadium  Financing      Agreement,      the  NFL   shall make    such  contributions
Stadium Financing Agreement, the NFL shall make such contributions by means of aa        by means    of
League assessment
League   assessment to      to the
                                the full   extent necessary
                                     full extent   necessary to  to satisfy
                                                                     satisfy the
                                                                              the obligations
                                                                                    obligations of
                                                                                                 of NFL
                                                                                                     NFL
Enterprises,  L.P.   under    the Stadium     Financing
Enterprises, L. P. under the Stadium Financing Agreement.Agreement.

        Section 4.6.
        Section     4.6. Lease
                          Lease of   Stadium. Simultaneously
                                  of Stadium.       Simultaneously with    with the
                                                                                 the execution
                                                                                     execution and  and delivery
                                                                                                         delivery
of this  Agreement,        the  NFL    and    the   City   will   enter
of this Agreement, the NFL and the City will enter into the form of lease   into  the   form     of   lease and
                                                                                                              and
management agreement
management         agreement ("("Lease")
                                   Lease") attached
                                               attached     to
                                                             to this
                                                                  this Agreement
                                                                          Agreement as   as Exhibit
                                                                                               Exhibit C. C.    In
                                                                                                                 In
accordance      with  Section   3  of  the  Lease,     the  NFL      will  assign
accordance with Section 3 of the Lease, the NFL will assign the Lease to the New    the  Lease      to  the  New
Owner
Owner of of the   Cleveland NFL
             the Cleveland     NFL Franchise,
                                     Franchise, and and cause
                                                          cause the the New
                                                                          New Owner
                                                                                 Owner to to sign    and deliver
                                                                                              sign and    deliver
such   written    instruments     as   are   necessary      and      appropriate
such written instruments as are necessary and appropriate to evidence ( a) the        to   evidence      (a)   the
assumption
assumption by   by the
                   the New
                        New Owner
                              Owner of of all
                                          all of
                                              of the
                                                  the terms
                                                      terms of  of the
                                                                   the Lease
                                                                          Lease andand all
                                                                                        all of
                                                                                             of the
                                                                                                the obligations
                                                                                                     obligations
and liabilities
and  liabilities of  lessee under
                 of lessee    under the
                                      the Lease,
                                           Lease, andand ((b)
                                                            b) the
                                                                 the agreement
                                                                      agreement by    by the
                                                                                          the New
                                                                                                New Owner
                                                                                                        Owner to to
          each and
perform each
perform                all of the  obligations    and   liabilities
                  and all of the obligations and liabilities of       of lessee
                                                                          lessee under
                                                                                   under thethe Lease.
                                                                                                  Lease.

       In
        In the
           the event
               event the   City determines
                      the City    determines to   to construct
                                                     construct aa domed
                                                                    domed Stadium
                                                                             Stadium oror aa domed
                                                                                             domed
multiple  purpose  Stadium    facility, the   NFL    and  the  City  shall negotiate
multiple purpose Stadium facility, the NFL and the City shall negotiate in good faith in good   faith
appropriate
appropriate modifications
              modifications to
                            to the
                                the Lease
                                      Lease that
                                             that reflect   the different
                                                    reflect the different available
                                                                           available uses,
                                                                                     uses, revenue
                                                                                            revenue
potential
potential and
           and expenses
               expenses ofof aa domed
                                domed facility.
                                          facility.

        Section
        Section 4.7.
                  4. 7. 30-Year    Commitment. Whether
                        30- Year Commitment.        Whether the
                                                              the Stadium
                                                                  Stadium is
                                                                           is open-air
                                                                              open- air or
                                                                                        or domed,
                                                                                           domed,
the NFL   will sign  and  deliver   a  lease and  will cause  the New   Owner   of
the NFL will sign and deliver a lease and will cause the New Owner of the Clevelandthe  Cleveland
NFL
NFL franchise
      franchise to     accept assignment
                  to accept      assignment ofof such
                                                  such lease
                                                         lease which
                                                                which shall
                                                                       shall contain
                                                                              contain covenants
                                                                                        covenants
equivalent
equivalent to
            to Sections
                Sections 9(a),
                           9( a), 9(b)
                                  9( b) and
                                         and 22(e)
                                             22( e) of
                                                    of the
                                                       the Lease.
                                                           Lease.



                                                 ARTICLE
                                                 ARTICLE V
                                                         V


                                    SETTLEMENT
                                    SETTLEMENT OF
                                               OF LITIGATION
                                                  LITIGATION


        Section    5. 1. Damages,
        Section 5.1.      Damages, The  The NFL     will cause
                                              NFL will   cause Modell
                                                                  Modell toto enter
                                                                              enter into
                                                                                     into the
                                                                                          the Termination
                                                                                               Termination
of  Lease which     provides    for  Modell  (i) to  pay   in a timely   manner,
of Lease which provides for Modell ( i) to pay in a timely manner, damages to       damages     to the
                                                                                                   the City
                                                                                                         City
in  the amount
in the   amount of        9. 3 million
                    of $$9.3             in four
                                million in  four equal
                                                    equal annual
                                                             annual installments
                                                                       installments of of $2,325,000
                                                                                           $2, 325, 000 onon
December    30   in  each    of the  years  1996,    1997,    1998   and   1999
December 30 in each of the years 1996, 1997, 1998 and 1999 by wire transfer to theby  wire  transfer  to the
following  account: City
following account:        City ofof Cleveland
                                     Cleveland active
                                                   active account
                                                             account at  at Society
                                                                             Society Bank
                                                                                        Bank ( (KeyCorp),
                                                                                                 KeyCorp),
Cleveland,  Ohio,     ABA    #041001039,     Account     #8000068      (or
Cleveland, Ohio, ABA # 041001039, Account # 8000068 ( or such other account such  other  account that
                                                                                                    that the
                                                                                                         the
City
City may  designate in
      may designate         written notice
                         in written          to the
                                      notice to  the NFL
                                                      NFL andand to
                                                                  to Modell
                                                                      Modell atat their respective Notice
                                                                                  their respective    Notice
Addresses), (ii)
Addresses),         to pay
              ( ii) to   pay to    the City
                              to the         by wire
                                       City by    wire transfer
                                                         transfer toto the   following account:
                                                                        the following    account: City
                                                                                                     City of
                                                                                                           of
                                                      -9
                                                       9 --
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  Cleveland active
 Cleveland     activeaccount
                       account at    Society Bank
                                 at Society   Bank((KeyCorp
                                                     KeyCorp),), Cleveland,
                                                                  Cleveland, Ohio,
                                                                              Ohio,ABA#      041001039,
                                                                                      ABA #0410010       39,
  Account     #8000068     (or  such    other  account
 Account # 8000068 ( or such other account the City may the  City  may designate
                                                                        designate inin written
                                                                                        written notice
                                                                                                 notice to to
  the  NFL    and to  Modell    at  their  respective  Notice  Addresse   s), within
 the NFL and to Modell at their respective Notice Addresses), within 30 days following30  days   following
  receipt by
 receipt   by the  NFL of
               the NFL       documentation providing
                          of documentation       providing evidence
                                                            evidence reasonably
                                                                       reasonably satisfactory
                                                                                      satisfactory toto the
                                                                                                         the
  NFL of
 NFL            actual City
            the actual
        of the           City administrative
                               administrative costs
                                                 costs and
                                                       and expenses
                                                            expenses( (in   an amount
                                                                         in an  amount notnot to
                                                                                               to exceed
                                                                                                   exceed
  $500,000     and the
   500, 000)) and    the actual
                          actual legal
                                   legal and
                                          and other
                                              other professional
                                                     professional fees
                                                                    fees and
                                                                         and expenses
                                                                              expenses( (inin an
                                                                                              an amount
                                                                                                   amount
  not to
 not      exceed$$1,750,00
       to exceed                 0), respectively
                     1, 750, 000),    respectively incurred
                                                    incurred in
                                                              in connection
                                                                  connection with
                                                                               with the
                                                                                     the effort
                                                                                          effort to
                                                                                                  to retain
                                                                                                     retain
 the  Cleveland Browns
 the Cleveland     Browns in     Cleveland.
                              in Cleveland.

       Section 5.
       Section  5.2.  Releases. On
                  2. Releases.    On the
                                     the date
                                         date of  signing of
                                               of signing  of this
                                                               this Agreement
                                                                    Agreement the
                                                                                the NFL
                                                                                    NFL will
                                                                                         will
 cause  the Releasing Parties to execute the  Releases
 cause the Releasing Parties to execute the Releases in  in the
                                                             the forms
                                                                  forms attached
                                                                        attached as
                                                                                  as Exhibit
                                                                                     Exhibit
 E.
 E.


          Section 5.5.3.
          Section         3. NFL      Guaranty. IfIf for
                               NFL Guaranty.              for any
                                                               any reason
                                                                      reason the  the payments
                                                                                       payments to     to be
                                                                                                           be made
                                                                                                                 made by by
 Modell    to  the   City  pursuant    to  paragraph     s
 Modell to the City pursuant to paragraphs ( b) and ( c) of(b)  and    (c)  of Section
                                                                               Section 44 of   of the
                                                                                                   the Termination
                                                                                                        Termination of    of
 Lease( (as
 Lease           described in
           as described       in clause
                                 clause( (ii)    of Section
                                             ii) of  Section 5.5.1    hereof) are
                                                                  1 hereof)       are not
                                                                                       not timely
                                                                                             timely made,
                                                                                                       made, the       NFL
                                                                                                                  the NFL
 shall pay
 shall  pay to     the City
              to the    City upon
                             upon demand
                                   demand such   such amount
                                                        amount owed owed to to the
                                                                                the City.
                                                                                      City. IfIf necessary,
                                                                                                 necessary, the   the NFL
                                                                                                                       NFL
 shall make
shall  make such such payment
                         payment toto the
                                       the City
                                             City byby means
                                                       means of  of aa League
                                                                        League assessment
                                                                                    assessment to     to the
                                                                                                         the full
                                                                                                               full extent
                                                                                                                    extent
 necessary to
necessary            enable the
                 to enable         NFL to
                              the NFL     to pay
                                               pay such
                                                     such amount
                                                            amount owed owed to  to the
                                                                                     the City.
                                                                                           City. In In addition,
                                                                                                       addition, in  in the
                                                                                                                        the
event    that   the   payments    to
event that the payments to be made by be   made      by Modell
                                                        Modell to  to the
                                                                       the City
                                                                             City pursuant
                                                                                   pursuant to    to paragraph
                                                                                                     paragraph( (a)   a) of
                                                                                                                          of
Section 44 of
Section        of the    Termination of
                    the Termination     of Lease
                                            Lease ((as     described in
                                                       as described        in clause
                                                                              clause ((i) i) of  Section    5.  1
                                                                                             of Section 5.1 hereof)hereof)
are  not timely
are not    timely made,
                      made, the    NFL shall
                              the NFL     shall cooperate
                                                  cooperate withwith thethe City
                                                                             City inin causing,
                                                                                       causing, and  and shall
                                                                                                           shall useuse its
                                                                                                                         its
best   efforts    to cause,   Modell   to  make     such   payments      .  Without
best efforts to cause, Modell to make such payments. Without limitation of the         limitation       the foregoing,
                                                                                                             foregoing,
in appropriate
in appropriate circumstances
                      circumstances( (as        determined by
                                          as determined        by the
                                                                    the NFL),
                                                                          NFL), thethe NFL
                                                                                        NFL shall
                                                                                                shall withhold
                                                                                                        withhold funds
                                                                                                                     funds
sufficient to
sufficient         discharge Modell'
             to discharge       Modell's    obligations to
                                         s obligations      to the    City under
                                                               the City     under paragraph
                                                                                      paragraph( (a)   a) of
                                                                                                           of Section 44
                                                                                                              Section
of the    Terminati     on  Lease    from    any
of the Termination Lease from any payments due      payments      due to  to Modell
                                                                             Modell from from funds
                                                                                                 funds in in the
                                                                                                             the NFL'
                                                                                                                    NFL's s
possession and
possession              shall pay
                  and shall    pay such
                                    such funds
                                            funds to    the City
                                                     to the   City inin discharge
                                                                         discharge of   of Modell's
                                                                                            Modell' s obligations.
                                                                                                         obligations.


                                                    ARTICLE VI
                                                    ARTICLE VI

                                       ADDITIONAL AGREEMENTS
                                       ADDITIONAL AGREEMENTS

      Section 6.
      Section    6.1.
                   1. NFL
                       NFL toto Direct
                                 Direct Negotiati  ons with
                                         Negotiations   with Owners.
                                                              Owners. Upon
                                                                       Upon execution
                                                                             execution of
                                                                                        of this
                                                                                           this
Agreeme  nt, the
Agreement,       City will
             the City  will not
                            not solicit, negotiate    enter into
                                         negotiate or enter      agreements with
                                                            into agreements with other
                                                                                 other owners
                                                                                       owners
of NFL
of     franchises to
   NFL franchises    to relocate  their franchises
                        relocate their   franchises to
                                                    to Cleveland.
                                                       Cleveland.

        Section 6.2.
        Section        Super Bowl.
                 6.2. Super    Bowl. In     the event
                                        In the          the City
                                                event the        constructs aa domed
                                                            City constructs              Stadium and
                                                                                domed Stadium      and
meets   the
meets the NFL's
            NFL' s other
                    other site selection criteria
                          site selection   criteria for hosting
                                                        hosting a Super
                                                                   Super Bowl,
                                                                           Bowl, the   Commissioner
                                                                                   the Commiss   ioner
will recomme
will recommend nd Cleveland
                  Cleveland as as a site
                                    site for
                                          for a Super
                                                 Super Bowl    within the
                                                         Bowl within  the first
                                                                          first three
                                                                                three years  after the
                                                                                       years after the
domed
domed Stadium
         Stadium is   constructed.
                   is constructed.


       Section
       Section 6.3.
                6.3. NFL Experien
                          Experience.ce. The
                                           The NFL willwill use
                                                            use its
                                                                its best efforts      locate in
                                                                          efforts to locate   in
Cleveland  as
Cleveland as    a  permanen t installatio n  the  NFL
                   permanent installation the NFL theme theme park knownknown as the the ""NFL
                                                                                            NFL
Experienc e" that
Experience"       has been
             that has been staged
                           staged in  the past
                                   in the   past as
                                                 as a temporary
                                                      temporary installatio
                                                                   installationn at Super Bowl
                                                                                           Bowl
events.
events.




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                                                         10 -
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          Section 6.4.
          Section 6.4. Municipal
                       Municipal Football.
                                 Football.                   The NFL
                                                            The     NFL shall
                                                                          shall contribute,
                                                                                  contribute, or  or cause
                                                                                                      cause NFLNFL
  Charities  to contribute    , $100,000   each      year in the
 Charities to contribute, $ 100, 000 each year in the years 1996, years   1996, 1997
                                                                                   1997 and
                                                                                          and 1998
                                                                                                1998 to tothe
                                                                                                           the City
                                                                                                               City
  in cash  or, if agreed   to   by the  City, in  equipmen    t, for  use   in the
 in cash or, if agreed to by the City, in equipment, for use in the Cleveland Muny Football
                                                                                    Cleveland     Muny     Football
 Association     programs. The
  Association programs.          The contribution
                                       contribution for     1996 shall
                                                        for 1996    shall be
                                                                           be made
                                                                               made within
                                                                                        within thirty
                                                                                                 thirty( (30)
                                                                                                         30) days
                                                                                                              days
  following the
 following   the signing
                  signing and
                            and delivery
                                   delivery of
                                             of this   Agreement, and
                                                 this Agreement,       and the
                                                                             the contributions
                                                                                  contributions for for 1997
                                                                                                         1997 and
                                                                                                               and
  1998  shall  be  made    on   or  before  the   first day  of February
 1998 shall be made on or before the first day of February inin each             each ofofthose
                                                                                           those years.
                                                                                                    years. Upon
                                                                                                             Upon
  granting of
 granting   ofthe   Cleveland NFL
               the Cleveland      NFL Franchise,
                                        Franchise, the  the NFL
                                                             NFL will
                                                                   will use
                                                                        use good
                                                                              good faith
                                                                                     faith efforts
                                                                                           efforts toto cause
                                                                                                        cause the
                                                                                                                the
  New Owner
 New    Owner of  of the   Cleveland NFL
                      the Cleveland       NFL Franchise
                                                  Franchise to       support Cleveland
                                                                to support      Cleveland municipal
                                                                                               municipal youth
                                                                                                             youth
  football programs
 football  programs at      levels mutually
                        at levels    mutually agreeable
                                                 agreeable to      the City
                                                               to the    City and
                                                                               and the
                                                                                    the New
                                                                                         New Owner.
                                                                                                Owner.
          Section 6.
          Section 6.5.  Construction Monitoring.
                     5. Construction Monitoring. The
                                                 The NFL
                                                     NFL shall
                                                         shall contribute
                                                               contribute to
                                                                           to the
                                                                               the City
                                                                                   City
 $30,000     annually for
  30, 000 annually     for three
                            three years
                                    years to
                                           to fund
                                               fund the
                                                     the cost
                                                          cost of
                                                                of monitoring
                                                                   monitoring compliance
                                                                               compliance during
                                                                                             during
 construct  ion of the  Stadium     by contractor
 construction of the Stadium by contractors s workingworking on
                                                              on the
                                                                  the Stadium
                                                                      Stadium Project
                                                                                Project with
                                                                                        with equal
                                                                                              equal
 employment opportunity,
 employment     opportunity, affirmative
                               affirmative action
                                            action and
                                                    and minority
                                                         minority and
                                                                  and female
                                                                       female business
                                                                              business enterprise
                                                                                        enterprise
 participation requirements
 participation  requirements applicable
                                applicable to    City of
                                             to City     Cleveland public
                                                      of Cleveland  public improvement
                                                                            improvement projects.
                                                                                          projects.


                                                ARTICLE VII
                                                ARTICLE VII

                            REPRESENTATIONS AND
                            REPRESENTATIONS AND AGREEMENTS
                                                AGREEMENTS

         7.1.
         7.    Representations of
            1. Representations of the  City.
                                   the City.

               (a)
                a)     Organization and
                       Organization         Standing. The
                                        and Standing.  The City
                                                            City is
                                                                  is aa municipal
                                                                        municipal corporation
                                                                                   corporation duly
                                                                                                duly
 organized, validly
organized,   validly existing
                     existing and
                               and in
                                    in good
                                       good standing
                                             standing under
                                                       under the
                                                              the laws
                                                                    laws of
                                                                         of the
                                                                            the State
                                                                                 State of Ohio and
                                                                                       of Ohio   and
has  full power  and  authority  to own,  lease, and
has full power and authority to own, lease,           operate its
                                                  and operate  its properties
                                                                     properties and
                                                                                and to
                                                                                     to carry
                                                                                        carry on
                                                                                               on its
                                                                                                  its
operation  s as  now  being   conducted    and  to carry out the   transactio ns
operations as now being conducted and to carry out the transactions contemplated  contempla   ted by
                                                                                                  by
this Agreement.
this Agreement.

                  (b)
                   b)      Power and
                          Power     and Authority:
                                         Authority; Binding
                                                      Binding Obligations.
                                                               Obligations. The The execution,
                                                                                     execution, delivery
                                                                                                   delivery
and   performan
and performance     ce of
                       of this
                          this Agreement
                                Agreement by      the City
                                              by the        has been
                                                      City has  been duly
                                                                      duly and
                                                                            and validly
                                                                                  validly authorized
                                                                                          authorized andand
approved by
approved     by all   necessary action
                 all necessary      action of
                                            of the
                                               the City.
                                                    City. The
                                                            The City
                                                                 City has
                                                                      has full
                                                                           full power andand authority
                                                                                                authority to
                                                                                                          to
execute and
execute     and deliver
                    deliver andand perform
                                      perform itsits obligations
                                                      obligations under
                                                                    under this
                                                                             this Agreement
                                                                                    Agreement and   and toto
consummate the
consummate        the transactions
                       transactions contemplated
                                        contemplated hereby.
                                                          hereby. This
                                                                     This Agreement
                                                                          Agreement has   has been
                                                                                                 been duly
                                                                                                       duly
executed and
executed    and delivered
                   delivered by  by the
                                     the City
                                         City and
                                               and the    terms hereof
                                                     the terms   hereof constitute
                                                                         constitute valid
                                                                                       valid and
                                                                                               and binding
                                                                                                    binding
obligation  s  of
obligations of thethe  City,   enforceab  le against   the  City in accordance with
                               enforceable against the City in accordance          with its
                                                                                        its terms
                                                                                              terms except
                                                                                                    except
as the
as  the same
         same maymay be be limited
                             limited by   bankruptcy, insolvency,
                                       by bankruptcy,    insolvency, reorganiz     ation, moratorium
                                                                       reorganization,     moratorium or  or
other laws
other  laws relating
              relating to        affecting generally
                            or affecting
                         to or             generally the
                                                       the enforcement
                                                            enforcement of of creditors' rights and the
                                                                               creditors'   rights and  the
application of
application    of general
                  general principles
                              principles of  equity.
                                          of equity.

                (c)
                  c)      No  Conflict. Neither
                          No Conflict.     Neither the execution
                                                           execution and   and delivery
                                                                                 delivery of this Agreement
                                                                                                   Agreement
by the
by  the City nor the      performance by
                     the performance           the City
                                           by the              the specific
                                                     City of the      specific transactions    contemplated
                                                                                 transactions contemplated
hereby
hereby to   be performed
         to be  performed by   by the   City ((i)
                                    the City      will violate
                                               i) will  violate any
                                                                  any provision
                                                                         provision of the
                                                                                        the City'
                                                                                            City'ss Charter
                                                                                                    Charter or
other  constituen    t documen    ts; (ii) violate   any   provisions
other constituent documents; ( ii) violate any provisions of law           of law oror any
                                                                                       any judgment,
                                                                                            judgment, order,
                                                                                                        order,
injunction, decree,
injunction,  decree, rule,
                         rule, regulation
                                regulation or or ruling
                                                   ruling ofof any      governmental authority,
                                                                any governmental          authority, which
                                                                                                     which isis
applicable   to  the   City or  its  assets   or  properties
applicable to the City or its assets or properties; ( iii) will,; (iii) will, with
                                                                              with or without
                                                                                       without the   giving of
                                                                                                 the giving  of
notice
notice or  the passage
        or the  passage of     time, or
                            of time,   or both,   conflict with
                                           both, conflict    with or result
                                                                        result in  any breach
                                                                                in any  breach of any
                                                                                                    any of the
                                                                                                           the
                                                    -11-
                                                     11 -
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      or conditions
terms or
terms    conditions of, or constitute
                    of, or constitute a default under
                                      a default under any
                                                      any agreement
                                                          agreement to
                                                                    to which
                                                                       which the
                                                                             the City
                                                                                 City is
                                                                                      is
              which the
a party or by which the City
                        City or
                             or its
                                its assets are bound.
                                    assets are bound.

               (d)
                d)      Consents.
                        Consents.   No
                                    No consent,    approval, permit
                                         consent, approval,   permit or
                                                                     or authorization
                                                                         authorization of, or
declaration  to or                 governmental  or regulatory
declaration to or filing with any governmental or regulatory authority, or
                   filing with any                              authority, or other third party
                                                                              other third party
is required
   required for  the execution
            for the   execution and  delivery by the City of this Agreement.
                                 and delivery by the City of this Agreement.

                (e)
                 e)    Compliance
                        Compliance with
                                      with Law.    The City
                                            Law. The     City has
                                                              has complied
                                                                    complied and and isis complying
                                                                                          complying inin
all respects with,
all respects   with, and     not in
                     and is not  in default
                                    default under
                                             under or   in violation
                                                     or in violation of,
                                                                       of, the
                                                                           the terms
                                                                                terms of all
                                                                                           all licenses
                                                                                               licenses
and  all applicable
and all              statutes, laws,
         applicable statutes,  laws, rules,  regulations, and
                                      rules, regulations,   and ordinances
                                                                 ordinances of  of any
                                                                                    any governmental
                                                                                         governmental
        whether federal,
body, whether              state or local, other  than  any  noncompliance,        violation
                  federal, state or local, other than any noncompliance, violation or default    default
which                have material
        would not have
which would     not        material adverse
                                     adverse effect
                                               effect on   the City's
                                                       on the   City' s ability  to consummate
                                                                        ability to   consummate the the
               contemplated by
transactions contemplated
transactions                    by this Agreement
                                   this Agreement.

              (f)
               f)    Compliance    with Agreement.
                      Compliance with                 The City
                                         Agreement. The   City has
                                                               has complied
                                                                   complied with, and is not
in default under, or in
in                   in violation     the terms
                        violation of, the terms of this Agreement.
                                                of this Agreement.

                 (g)
                  g)      Litigation. Except
                          Litigation.    Except forfor the
                                                       the pending
                                                           pending actions
                                                                     actions described
                                                                               described in  in the
                                                                                                the Releases,
                                                                                                    Releases,
the City
the City is
          is not
             not subject
                  subject toto any   judgment,      award,   order, writ,
                                any judgment, award, order, writ, injunction,            arbitration decision
                                                                           injunction, arbitration   decision
or decree   affecting    the City's  ability  to  consummate      the transactions
or decree affecting the City' s ability to consummate the transactions contemplated by contemplated     by this
                                                                                                           this
Agreement, and
Agreement,             there   is  no  litigation,   action,  suit, claim,   proceeding
                and there is no litigation, action, suit, claim, proceeding or                or investigation
                                                                                                 investigation
pending
pending or,    to the
           or, to       City' s knowledge,
                   the City's                    threatened against
                                 knowledge, threatened         against the
                                                                         the City
                                                                              City in
                                                                                    in any   federal, state
                                                                                       any federal,   state or
                                                                                                             or
local             before   any    administrative     agency   or arbitrator   or before
local court, or before any administrative agency or arbitrator or before any other tribunal           tribunal
duly
duly authorized
      authorized to  to resolve    disputes, which
                        resolve disputes,       which would
                                                         would affect   the City's
                                                                affect the   City' s ability
                                                                                     ability to
                                                                                              to consummate
                                                                                                 consummate
    transactions      contemplated       by  this
the transactions contemplated by this Agreement.
the                                                Agreement.

                 (h)
                   h)     Bankruptcy.
                          Bankruptcy. No    insolvency proceedings
                                         No insolvency   proceedings of of any
                                                                           any character,
                                                                               character, including
                                                                                           including
without  limitation, bankruptcy,
without limitation,     bankruptcy, receivership,
                                     receivership, reorganization,
                                                    reorganization, composition
                                                                      composition or
                                                                                   or arrangement
                                                                                      arrangement
with creditors,
with  creditors, voluntary
                      voluntary oror involuntary,
                                     involuntary, affecting
                                                   affecting the
                                                              the City
                                                                   City are
                                                                          are pending
                                                                               pending or,
                                                                                         or, to  the
                                                                                              to the
knowledge
knowledge of       the City,
              of the    City, threatened,
                              threatened, and   the City
                                           and the   City has
                                                          has not
                                                               not made
                                                                   made anyany assignment
                                                                                assignment for
                                                                                             for the
                                                                                                 the
benefit of  creditors    or taken  any action in contemplation   of, or which  would constitute
benefit of creditors or taken any action in contemplation of, or which would constitute the      the
basis for, the institution
basis                          of which
                  institution of  which insolvency
                                        insolvency proceedings.
                                                     proceedings.

        Section 7.2.
        Section     7. 2. Obligation
                          Obligation ofof City
                                           City toto Deliver
                                                      Deliver Documents.
                                                                Documents.             The City
                                                                                       The         will execute
                                                                                              City will execute
                                          the   execution     and     delivery
and deliver simultaneously with the execution and delivery of this Agreement, its
and   deliver   simultaneously     with                                             of  this   Agreement,      its
Implementing       Agreements. The
 Implementing Agreements.            The obligation
                                             obligation of      the City
                                                            of the      City to  to sign
                                                                                      sign andand deliver
                                                                                                    deliver itsits
Implementing
Implementing     Agreements
                 Agreements      and
                                 and  instruments
                                       instruments      is subject
                                                           subject    to:
                                                                      to:  ((i) the   NFL    having
                                                                             i) the NFL having executedexecuted
and                this Agreement
      delivered this
and delivered            Agreement andand itsits Implementing         Agreements, ( (ii)
                                                  Implementing Agreements,                      Modell having
                                                                                           ii) Modell     having
signed
signed and
         and delivered the               Agreements, and
                          the Browns' Agreements,          and ((iii)
                                                                 iii) Covington
                                                                       Covington &     & Burling,   counsel
                                                                                          Burling, counsel to   to
the
the NFL
     NFL and    to NFL
           and to         Enterprises, L.P.,
                     NFL Enterprises,    L. P., having     delivered to
                                                 having delivered            the City
                                                                         to the     City its
                                                                                         its opinion,
                                                                                              opinion, in   form
                                                                                                         in form
and  substance     satisfactory to th    City,  as  to the  due  authorization         and
and substance satisfactory to the City, as to the due authorization and execution by the     execution    by  the
NFL
NFL of of this   Agreement and
           this Agreement            the Lease,
                               and the      Lease, the the due
                                                             due authorization
                                                                     authorization and    and execution
                                                                                                 execution by  by
Enterprises     of   the  Stadium   Financing        Agreement        and
Enterprises of the Stadium Financing Agreement and the enforceability of this  the    enforceability     of  this
Agreement, the
Agreement,     the Lease and     the Stadium
                            and the   Stadium Financing
                                                   Financing Agreement
                                                                Agreement in       in accordance
                                                                                      accordance with their their
terms.
terms.




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                                                       12 --
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         Section 7.7.3.
         Section        Representations and
                    3. Representations  and Warranties
                                            Warranties of
                                                       of NFL.
                                                          NFL%

                (a)
                a)      Organization and
                        Organization    and Standing.   The NFL
                                             Standing. The   NFL isis an
                                                                      an unincorporated
                                                                          unincorporated not-
                                                                                          not-for-
                                                                                              for-
        association and
 profit association
profit                 and has    full power
                            has full   power and    authority toto own,
                                               and authority       own, lease,
                                                                         lease, and
                                                                                and operate
                                                                                      operate its
                                                                                                its
             and to
 properties and
properties            carry on
                   to carry on its
                                its business
                                     business as   now being
                                                as now  being conducted
                                                                 conducted and
                                                                            and to
                                                                                 to carry
                                                                                    carry out
                                                                                          out the
                                                                                               the
               contemplated by
 transactions contemplated
transactions                   by this
                                    this Agreement.
                                         Agreement.

                (b)
                 b)       Power and
                          Power           Authority; Binding
                                    and Authority:     Binding Obligations.
                                                                 Obligations. TheThe execution,
                                                                                       execution, delivery
                                                                                                     delivery
       performance of
 and performance
and                   of this
                           this Agreement
                                 Agreement by   by the   NFL have
                                                    the NFL    have been
                                                                      been duly
                                                                            duly and
                                                                                   and validly
                                                                                        validly authorized
                                                                                                   authorized
      approved by
 and approved
and               by all
                     all necessary
                          necessary action       of the
                                         action of   the NFL.
                                                          NFL. The
                                                                 The NFL
                                                                       NFL has
                                                                           has full
                                                                                 full power
                                                                                      power and and authority
                                                                                                    authority
     execute and
 to execute
to                    deliver and
               and deliver              perform its
                                  and perform       its obligations
                                                        obligations under
                                                                        under this
                                                                                this Agreement
                                                                                      Agreement and   and toto
 consummate the
consummate       the transactions       contemplated hereby.
                      transactions contemplated             hereby. This
                                                                       This Agreement
                                                                            Agreement has    has been
                                                                                                   been duly
                                                                                                         duly
 executed and
executed          delivered by
            and delivered       by the   NFL and
                                    the NFL     and the
                                                      the terms
                                                           terms thereof
                                                                  thereof constitute
                                                                           constitute valid
                                                                                        valid andand binding
                                                                                                      binding
 obligations of
obligations  of the
                 the NFL,                      against the
                               enforceable against
                     NFL, enforceable                   the NFL
                                                             NFL inin accordance
                                                                      accordance withwith its
                                                                                           its terms
                                                                                                terms except
                                                                                                      except
 as the
as   the same
          same may
                may be be limited     by bankruptcy,
                             limited by    bankruptcy, insolvency,
                                                           insolvency, reorganization,
                                                                         reorganization, moratorium
                                                                                             moratorium or or
 other  laws relating    to or   affecting  generally    the  enforcement    of  creditor's
other laws relating to or affecting generally the enforcement of creditor' s rights and the   rights and  the
 application of
application                   principles of
                 general principles
             of general                       equity.
                                           of equity.

                    (c)
                     c)      No   Conflict≤. Neither
                              No Conflict.       Neither thethe execution
                                                                 execution and and delivery
                                                                                    delivery ofof this
                                                                                                   this Agreement
                                                                                                        Agreement
 by   the   NFL   nor    the  consummation         of  the   specific  transactions
by the NFL nor the consummation of the specific transactions contemplated hereby       contemplated       hereby (i)
                                                                                                                  (i)
 will violate
will    violate any       provision of
                  any provision       of thethe NFL
                                                  NFL Constitution
                                                          Constitution and and Bylaws
                                                                                 Bylaws or  or other     constituent
                                                                                                other constituent
documents,( (ii)
documents,              violate any
                   ii) violate        provisions of
                                 any provisions       of law
                                                          law oror any
                                                                   any judgment,
                                                                         judgment, order,
                                                                                      order, injunction,
                                                                                              injunction, decree,
                                                                                                             decree,
         regulation or
 rule, regulation
rule,                       ruling of  any    governmental        authority,
                        or ruling of any governmental authority, which is      which   is applicable
                                                                                          applicable to  to the
                                                                                                            the NFL
                                                                                                                NFL
or its
or   its assets
          assets or     properties,( (iii)
                   or properties,           will, with
                                      iii) will,  with or
                                                        or without    the giving
                                                             without the    giving of
                                                                                    of notice
                                                                                       notice or
                                                                                               or the
                                                                                                   the passage
                                                                                                        passage of of
time, or
time,     or both,
              both, conflict
                      conflict with   or   result  in  any    breach   of   any  of
                                with or result in any breach of any of the terms or the  terms   or conditions
                                                                                                     conditions of,
or constitute
or   constitute aa default      under any
                       default under     any mortgage,
                                               mortgage, agreement
                                                               agreement or   or other
                                                                                 other instrument
                                                                                        instrument to  to which
                                                                                                          which the
                                                                                                                 the
NFL is
NFL            party   or  by  which   the   NFL    or  its  assets   are   bound,
         is aa party or by which the NFL or its assets are bound, or ( iv) except    or (iv) except as as provided
                                                                                                           provided
in Section
in   Section 4. 4.5,   will result
                  5, will   result in
                                   in the    creation of
                                       the creation           any liens
                                                          of any   liens upon
                                                                           upon the
                                                                                  the NFL'
                                                                                      NFL's   assets.
                                                                                            s assets.

                (d)
                 d)      Consents. No
                         Consents.     No consent,
                                           consent, approval,
                                                     approval, permit
                                                               permit or or authorization
                                                                             authorization of,
                                                                                             of, or
                                                                                                 or
declaring  to  or  filing with any  governmental   or regulatory  authority,  or other third
declaring to or filing with any governmental or regulatory authority, or other third party    party
is required
is required for
              for the    execution and
                    the execution    and delivery
                                          delivery by
                                                   by the
                                                       the NFL
                                                           NFL ofof this
                                                                    this Agreement
                                                                          Agreement or or for
                                                                                           for the
                                                                                                the
consummation of
consummation      of the   specific transactions
                       the specific               contemplated hereby.
                                    transactions contemplated   hereby.

                 (e)
                  e)    Compliance with
                        Compliance      with Law. The
                                                    The NFL
                                                          NFL has    complied and
                                                                has complied     and is
                                                                                      is complying
                                                                                         complying in in
all respects
all                        is not
                      and is
                with, and
    respects with,            not in  default under
                                  in default   under or
                                                      or in
                                                         in violation
                                                            violation of,
                                                                       of, the
                                                                           the terms
                                                                                terms ofof all
                                                                                           all licenses
                                                                                               licenses
and all
and   all applicable
          applicable statutes,  laws, rules,
                      statutes, laws,   rules, regulations, and ordinances
                                               regulations, and   ordinances of    any governmental
                                                                                of any  governmental
body, whether
body,   whether federal,    state or local,
                   federal, state            other than
                                      local, other than any
                                                         any noncompliance,       violation or default
                                                              noncompliance, violation           default
         would not have a material
which would
which                                    adverse effect
                             material adverse     effect on
                                                         on the NFL's    ability to consummate
                                                                 NFL' s ability     consummate the
                contemplated by
transactions contemplated
transactions                         this Agreement.
                                 by this  Agreement.

              (f)
               f)    Compliance    with Agreement.
                     Compliance with                  The NFL
                                         Agreement. The   NFL has
                                                              has complied  with, and
                                                                   complied with, and is
                                                                                      is not
                                                                                         not
in         under, or in
   default under,
in default              violation of, the
                     in violation     the terms
                                          terms of this Agreement.
                                                of this Agreement.

                (g)
                 g)      Litigation.   The NFL
                         Litigation. The   NFL is not
                                                   not subject
                                                       subject to any judgment,
                                                                         judgment, award,
                                                                                     award, order,
writ,              arbitration decision
      injunction, arbitration
writ, injunction,                decision or decree
                                             decree that would preclude
                                                    that would  preclude thethe performance
                                                                                performance of its
                                                                                                 its
obligations    under this
obligations under              Agreement, and
                        this Agreement,           there is no
                                             and there      no litigation,
                                                                 litigation, action,
                                                                              action, suit,
                                                                                       suit, claim,
                                                                                             claim,

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proceeding                   pending or,
              investigation pending
           or investigation
proceeding or                             to the
                                      or, to the NFL's
                                                  NFL' s knowledge,   threatened against
                                                          knowledge, threatened             the
                                                                                   against the
       the NFL's
NFL or the         assets in any federal, state
           NFL' s assets in any federal, state   or local
                                                    local court, or before
                                                                    before  any administrative
                                                                                administrative
agency
agency  or arbitrator or before  any  other  tribunal  duly  authorized  to  resolve disputes,
           arbitrator or before any other tribunal duly authorized to resolve disputes,
which would preclude   the NFL from  consummating      the transactions
which would preclude the NFL from consummating the transactions contemplated
                                                                         contemplated by this
                                                                                           this
Agreement.
Agreement.


                (h)
                  h)     Bankruptcy.
                         Bankruptcy. No  No insolvency
                                             insolvency proceedings
                                                            proceedings ofof any
                                                                             any character,
                                                                                 character, including
                                                                                             including
without  limitation,   bankruptcy,   receivership,    reorganization,   composition  or
without limitation, bankruptcy, receivership, reorganization, composition or arrangement arrangement
with  creditors, voluntary
with creditors,      voluntary oror involuntary,
                                    involuntary, affecting      the NFL
                                                     affecting the   NFL areare pending    or, to
                                                                                 pending or,        the
                                                                                                to the
knowledge     of  the  NFL,  threatened,    and   the  NFL   has not  made   any
knowledge of the NFL, threatened, and the NFL has not made any assignment for the assignment    for the
         of creditors
benefit of
benefit     creditors oror taken
                           taken any
                                  any action   in contemplation
                                       action in   contemplation of,
                                                                   of, or which would
                                                                       or which  would constitute   the
                                                                                        constitute the
basis  for, the  institution  of such  insolvency     proceedings.
basis for, the institution of such insolvency proceedings.

         Section 7. 4. Obligation
         Section 7.4.  Obligation off
                                  of NFL to Deliver
                                      FL to Deliver Documents.
                                                    Documents.


                 (a)
                  a)       The NFL
                           The     NFL shall
                                           shall  execute
                                                  execute     and
                                                              and  deliver, simultaneously
                                                                                  simultaneously with  with thethe
execution    and   delivery    of  this  Agreement,      its Implementing      Agreements;
 execution and delivery of this Agreement, its Implementing Agreements; provided that            provided     that
 the fully
the  fully executed
            executed LeaseLease shall        be delivered
                                      shall be   delivered in  in escrow
                                                                  escrow pending
                                                                              pending satisfaction
                                                                                         satisfaction of  of the
                                                                                                               the
condition   in  Section    3.4(k)     of the  Stadium     Financing
condition in Section 3. 4( k) of the Stadium Financing Agreement.    Agreement.        The     NFL   will
                                                                                                     will  cause
NFL
NFL Enterprises,       L. P. to
       Enterprises, L.P.      to execute
                                  execute and  and deliver,
                                                    deliver, simultaneously
                                                               simultaneously with with the     execution and
                                                                                         the execution        and
delivery   of this  Agreement,         the  Stadium   Financing    Agreement.
delivery of this Agreement, the Stadium Financing Agreement. The obligations of the  The   obligations     of  the
NFL
NFL to to sign   and deliver
          sign and     deliver itsits Implementing
                                        Implementing Agreements
                                                           Agreements and and to to cause
                                                                                    cause Enterprises
                                                                                               Enterprises to    to
execute
execute and      deliver the
           and deliver    the Stadium
                                Stadium Financing
                                             Financing    Agreement
                                                          Agreement    is
                                                                       is   subject
                                                                            subject  to:
                                                                                     to: ((i)  the City   having
                                                                                            i) the City having
signed
signed    and
          and    delivered its
                delivered     its Implementing
                                     Implementing Agreements,
                                                       Agreements, ((ii) ii) Modell
                                                                              Modell having        signed and
                                                                                        having signed         and
delivered   the   Browns     Agreements,        and  (iii) Cleveland   Tomorrow
delivered the Browns Agreements, and ( iii) Cleveland Tomorrow having evidenced its   having     evidenced      its
agreement
agreement to       lead the
               to lead          campaign for
                          the campaign         for the
                                                   the marketing
                                                          marketing ofof premium
                                                                           premium seating
                                                                                       seating at     the New
                                                                                                   at the   New
Stadium and
Stadium    and caused       Cleveland Development
                 caused Cleveland          Development Partnership
                                                             Partnership II toto deliver
                                                                                 deliver its
                                                                                          its commitment
                                                                                               commitment to    to
loan  the City
loan the         $10,000,000        to  pay  costs  of  construction
           City $ 10, 000, 000 to pay costs of construction of the New of   the  New Stadium.
                                                                                       Stadium.

            (b)
             b)   Upon
                  Upon the  request of
                        the request of the
                                       the City,
                                           City, to
                                                 to be
                                                    be made on or
                                                       made on   or before
                                                                     before the date the
                                                                            the date the
City consummates
City              the Financing
     consummates the             Arrangements, the
                       Financing Arrangements,     the NFL  will sign
                                                       NFL will   sign and   deliver the
                                                                        and deliver  the
Cooperative Agreement.

        Section
        Section 7.5.
                  7. 5.              Agreement. This
                           Entire Agreement.         This Agreement
                                                           Agreement and         the Implementing
                                                                           and the     Implementing
Agreements    contain   all the  agreements   between    the  City  and  the
Agreements contain all the agreements between the City and the NFL and may   NFL    and  may not be
modified  orally or  in any   other manner   other  than  by an   agreement    in
modified orally or in any other manner other than by an agreement in writing signedwriting signed byby
the NFL
the  NFL and
          and the   City, respectively,
               the City,   respectively, or
                                         or their  respective successors
                                            their respective    successors in in interest
                                                                                  interest or,
                                                                                            or, in
                                                                                                in the
case
case of
      of a  waiver or
         a waiver   or other   forbearance by
                        other forbearance    by one
                                                 one party
                                                      party of
                                                             of its
                                                                its rights
                                                                    rights under    this Agreement,
                                                                            under this   Agreement,
by
by an
    an instrument
       instrument in    writing signed
                    in writing   signed by the forbearing
                                        by the  forbearing party.
                                                             party.


                                                ART1C LE VIII
                                                ARTICLE  VIII


                                                 REMEDIES
                                                 REMEDIES


      Section
      Section 8.1.   Specific Performance.
               8. 1. Specific Performance.      The NFL
                                                The  NFL acknowledges
                                                          acknowledges and and agrees
                                                                               agrees that
                                                                                       that
the damages
the damages incurred
             incurred by the City
                      by the City as a result
                                  as a result of
                                              of any
                                                 any breach
                                                     breach of  the obligations
                                                             of the             of the
                                                                    obligations of the NFL
                                                                                       NFL

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 under
 under Sections
       Sections 2.1,
                 2. 1, 3.1,
                       3. 1, 4.6 and 4.7
                             4.6 and 4.7 of this Agreemen
                                         of this Agreementt are
                                                            are not
                                                                not readily
                                                                    readily ascertain
                                                                            ascertainable,
                                                                                      able, that
 money damages or other legal relief will not adequately compensate the City for any
 money damages or other legal relief will not adequately compensate the City for any
 such breach, and that the City is entitled to injunctive relief compelling the specific
 such breach, and that the City is entitled to injunctive relief compelling the
 performan
 performance  of those
           ce of those obligation
                          obligationss under
                                       under this Agreemen
                                                  Agreement. t.

         Section 8.2. Other Remedies. The NFL or the City, as the case may be, may
          Section     8. 2. Otheror Remedies.      The NFL law or the City, as the case may be, may
 pursue
 pursue allall remedies
                remedies now now or hereafter
                                      hereafter existing
                                                 existing at
                                                           at law or
                                                                   or in
                                                                       in equity
                                                                          equity to collect
                                                                                      collect all
                                                                                              all amounts
                                                                                                  amounts
 due   or  to   become      due  under   this  Agreemen    t
 due or to become due under this Agreement and to enforce the and  to  enforce    the performa
                                                                                       performancence and
observance of any obligation of either party under this Agreement. No remedy conferred
 observance of any obligation of either party under this Agreement. No remedy conferred
upon or reserved to the City by this Agreement is intended to be exclusive of any other
 upon or reserved or
available
                         to the City by this Agreement is intended to be exclusive of any other
 available remedy
             remedy or remedies
                            remedies, , but
                                        but each  and every
                                            each and    every such
                                                                such remedy
                                                                      remedy shall
                                                                                shall be cumulativ
                                                                                          cumulativee and
                                                                                                       and
shall   be   in   addition   to every   other   remedy    given   under
 shall be in addition to every other remedy given under this Agreement     this Agreeme     nt or now or
hereafter existing at law, in equity or by statute. No delay or omission to exercise any
 hereafterpower
right
              existing at law, in equity or by statute. No delay or omission to exercise any
       or power accruing
 right or            accruing upon
                                upon anyany default
                                              default shall
                                                       shall impair
                                                              impair that
                                                                      that right
                                                                            right or power or shall
                                                                                                  shall be
construed      to  be a  waiver  thereof,
construed to be a waiver thereof, but any  but       such
                                                any such right
                                                            right and
                                                                  and power
                                                                        power may
                                                                                may be exercised from
time to time and as often as may be deemed expedient. In order to entitle the City to
time to time and as often as may be deemed expedient. In order to entitle the City to
exercise any remedy reserved to it, it shall not be necessary to give any notice, other
exercise any remedy reserved to it, it shall not be necessary to give any notice,
than   any notice
than any     notice required
                      required byby law
                                     law or  for which
                                         or for  which express
                                                         express provision
                                                                   provision is made
                                                                                  made herein.
                                                                                          herein.
        Section
        Section 8.3.
                  8. 3. Governin
                          Governingg Law.
                                       Law. This
                                              This Agreemen
                                                    Agreementt shall
                                                                  shall be construed
                                                                            construed under and in
accordan   ce with the   laws of  the State  of  New  York  (without
 accordance with the laws of the State of New York ( without regard to the conflict of laws
principles
principles thereof,
            thereof, except
                       except to   the extent
                               to the  extent that
                                                that the
                                                     the laws
                                                         laws of
                                                               of the
                                                                   the State
                                                                        State of New
                                                                                 New York
                                                                                       York impose
                                                                                            impose
obligation s on or  create  liability of the City  that are  not consisten
obligations on or create liability of the City that are not consistent t withwith its powers
                                                                                      powers under
                                                                                              under
its
its Charter
    Charter and
             and the
                  the laws
                        laws of the
                                 the State
                                      State of Ohio.
                                                Ohio.

         Section
         Section 8.4.
                    8.4. Agreeme
                          Agreement nt to
                                       to Pay
                                          Pay Attorney
                                               Attorneys's' Fees
                                                            Fees and
                                                                  and Expense
                                                                       Expenses. s. In
                                                                                    In the event
 that in connection with any dispute arising under the terms of this Agreement either party
 that in connection with any dispute arising under the terms of this Agreement either party
hereto should initiate suit or other judicial proceeding against the other party hereto to
 hereto should initiate suit or other judicial proceeding against the other party hereto to
enforce its rights hereunder, to the extent permitted by law, the prevailing party in any
 enforce   its rights hereunder, to the extent permitted by law, the prevailing party in any
such suit or proceeding shall be entitled to receive from the non-prevailing party to the
 such suit or proceeding shall be entitled to receive from the non- prevailing party to the
suit or proceeding, in addition to any other amounts to which the prevailing party may
suit  or proceeding,    in addition to any other amounts to which the prevailing party may
be entitled,
be  entitled, the
               the amount
                    amount of
                            of all
                               all court
                                   court costs
                                         costs and
                                               and reasonab
                                                    reasonablele attorneys
                                                                 attorneys'' fees and expenses
incurred by such prevailing party in connection with the suit or proceeding.
incurred by such prevailing party in connection with the suit or proceeding.
        Section
        Section 8.5.     No Waiver.
                  8. 5. No  Waiver. No No failure
                                           failure by
                                                   by either
                                                       either party
                                                              party to this Agreeme
                                                                            Agreement
                                                                                    nt to insist
upon   the strict  performan  ce  by  the  other
upon the strict performance by the other of any   of  any provision
                                                           provision of this
                                                                          this Agreeme
                                                                               Agreementnt shall
                                                                                           shall
constitute a waiver of its right to strict performance and no express waiver by one party
constitute a waiver of its right to strict performance and no express waiver by one party
shall be deemed to apply to any other existing or subsequent right to remedy the failure
shall be deemed to apply to any other existing or subsequent right to remedy the failure
by
by the
   the other
        other party
              party toto observe
                         observe or
                                 or comply
                                     comply with
                                              with any
                                                   any provision
                                                        provision hereof.




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         Section 8.8.6.
         Section        Notice of
                    6. Notice  of Default
                                  Default Each
                                          Each party       notify the
                                                     shall notify
                                               party shall         the other
                                                                       other ifif itit becomes
                                                                                       becomes
aware of
aware         occurrence of
          the occurrence
      of the               of any
                              arty default under this
                                   default under  this Agreement
                                                       Agreement or    of any
                                                                    or of any fact,  condition or
                                                                               fact, condition or
      which, with
event which,
event          with the
                     the giving
                         giving of
                                 of notice     passage of
                                            or passage
                                    notice or             of time
                                                              time or
                                                                   or both,
                                                                       both, would
                                                                              would become
                                                                                      become aa
default.
default.


CITY OF
CITY    CLEVELAND, OHIO
     OF CLEVELAND, OHIO                               NATIONAL FOOTBALL
                                                      NATIONAL FOOTBALL LEAGUE
                                                                        LEAGUE



By
By   r                                                    By
                                                          By
                                                               Wor./
               ayor
               ayor                                                Commissi ner
                                                                   Commissi ner


And
And By   VD.--
    By . 04,.
            u.
           Director of
           Director of Parks,
                       Parks,
            Recreation and
            Recreation     Properties
                       and Properties




                              within instrument
                          The within
                          The        instrument is
                                                is hereby approved
                                                   he by•approved
                          as
                          as    to
                                to   legal
                                     legal   f
                                             f.       and c.
                                                      and c rrectness
                                                             rectness

                                         , 19•
                                           19' ..




                                Director of L
                                Director of L- w, City • ffr leveland
                                               w, City       leveland
                                                      ty"




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                                                    16
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                                  FISCAL
                                  FISCAL OFFICER
                                         OFFICER''SS CERTIFIC ATE
                                                     CERTIFICATE


            The undersign
           The    undersigned,ed, being    the fiscal
                                    being the   fiscal officer
                                                        officer of
                                                                 of the
                                                                    the City
                                                                        City of
                                                                             of Cleveland
                                                                                 Cleveland,, Ohio,
                                                                                             Ohio, certifies
                                                                                                     certifies
   that the moneys required to meet the obligations of the City during the year 1996 under
    that the moneys required to meet the obligations of the City during the year 1996 under
   the foregoing Franchise Commitment Agreement have been appropriated lawfully by the
    the foregoing
   Council          Franchise     Commitment       Agreement      have beenor appropriated   lawfully by the
    Council of  the City
             of the  City for
                           for that
                               that purpose    and are
                                     purpose and     are in
                                                          in the
                                                              the treasury
                                                                  treasury or in
                                                                               in the
                                                                                   the process
                                                                                       process of
                                                                                                of collection
                                                                                                   collection
   to  the credit
   to the   credit of    an appropria
                     of an               te fund,
                               appropriate    fund, free
                                                      free from
                                                             from anyany previous
                                                                         previous     encumbra  nce.
                                                                                      encumbrance.      This
                                                                                                         This
   Certificate   is given   in  complianc   e  with  Sections     5705.41
   Certificate is given in compliance with Sections 5705.41 and 5705.44     and    5705.44 of
                                                                                            of the
                                                                                               the Revised
                                                                                                    Revised
   Code.
   Code.




   Dated:
   Dated:       June 12
                June  12              , 1996
                                        1996
                                                                          eZeldi
                                                                       Director
                                                                       Director of
                                                                                of,Finance
                                                                                   F nance




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                                                     17 --
